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5/8/23, 9:03 PM - Messages and calls are end-to-end encrypted. No one outside of
this chat, not even WhatsApp, can read or listen to them. Tap to learn more.
5/8/23, 9:03 PM - Hector Manager created group "Asunto Delias"
5/8/23, 9:03 PM - Hector Manager added you
5/8/23, 9:03 PM - Hector Manager: Buenas noches
5/8/23, 9:03 PM - Hector Manager: En este grupo vamos a ponernos al.dia
5/8/23, 9:03 PM - Hector Manager: De lo que cada quien sabe sobre el asunto que
todos tenemos en comun
5/8/23, 9:03 PM - Hector Manager: Lo que hasta ahorita se sabe por media de Ofelia
5/8/23, 9:04 PM - Hector Manager: Es que mañana va ser la reunion
5/8/23, 9:04 PM - Hector Manager: Solo esperamos la.hora
5/8/23, 9:04 PM - Hector Manager: El abogado aconseja que no nos paremos en Delias
ya
5/8/23, 9:04 PM - Hector Manager: Pero igual eso lo vamos a platicar mañana
5/8/23, 9:04 PM - Rosendo: Buenas noches
5/8/23, 9:05 PM - Rosendo: Esperemos la hora de reunion.
5/8/23, 9:05 PM - Hector Manager: Si alguien quiere agregar a alguien mas paseme su
numero
5/8/23, 9:06 PM - Rosendo: Ni por el cheque pendiente
5/8/23, 9:06 PM - Hector Manager: Eso es lonque vamos a preguntar mañana
5/8/23, 9:06 PM - Hector Manager: El abogado teme que algunos nos doblemos y mas si
nos poneen a la.sra enfrente
5/8/23, 9:06 PM - Hector Manager: Y el dice que tenemos.mucho de ganar
5/8/23, 9:10 PM - Rosendo: 9562781846 Lourdes
5/8/23, 9:20 PM - +1 (956) 356-0451: Buenas noches al pendiente. Gracias
5/8/23, 9:24 PM - Hector Manager added Lourdes
5/8/23, 9:39 PM - +1 (956) 715-4571: 9566000207 Mauricio
5/8/23, 9:40 PM - Hector Manager: Ya esta agregado
5/8/23, 9:58 PM - Adan: This message was deleted
5/8/23, 10:02 PM - Adan: Etor. Ay te mande dos. Agreges
5/8/23, 10:02 PM - Hector Manager: Ok
5/8/23, 10:09 PM - +1 (956) 715-4571: 9565109964 Gabi
5/8/23, 10:11 PM - Hector Manager added +1 (775) 507-1717 and +1 (956) 510-9964
5/8/23, 10:14 PM - +1 (956) 600-0207: Falta Elias
5/8/23, 10:14 PM - Hector Manager: Pasalo
5/8/23, 10:15 PM - +1 (956) 600-0207: 9565983675
5/8/23, 10:16 PM - Hector Manager added +1 (956) 598-3675
5/8/23, 10:19 PM - Hector Manager added Ofelia and +1 (956) 252-9033
5/8/23, 10:47 PM - Hector Manager added +1 (956) 639-6104
5/9/23, 8:56 AM - Ofelia:
https://maps.apple.com/?address=619%20S.%2012th%20St.%20Edinburg%20Texas
5/9/23, 8:56 AM - Ofelia: Buenos dias ahi esta la direcsion alas 2.30
5/9/23, 8:57 AM - Ofelia:
https://maps.apple.com/?address=619%20S.%2012th%20St.%20Edinburg%20Texas
5/9/23, 8:58 AM - +1 (956) 715-4571: 👍
5/9/23, 8:59 AM - +1 (956) 510-9964: Ok
5/9/23, 8:59 AM - Ofelia: Law office of Richard Alamia 619 S. 12th St. Edinburg
Texas
5/9/23, 8:59 AM - Ofelia: 2:30
5/9/23, 9:01 AM - +1 (956) 598-3675: Ok
                                                                     EXHIBIT

                                                                       A-7
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5/9/23, 9:01 AM - +1 (956) 639-6104: Es hoy
5/9/23, 9:02 AM - +1 (956) 510-9964: Si, 2:30 🕑
5/9/23, 9:03 AM - +1 (956) 639-6104: 🙏
5/9/23, 9:03 AM - Ofelia: Buenos días para el abogado tienen que llevar en un papel
escrito su nombre su número de teléfono su dirección y cuántos años trabajaron en
delia’s para que se llenen los papeles mas rapido y ahi se va explicar todo el
proceso
5/9/23, 9:04 AM - +1 (956) 252-9033: Ok
5/9/23, 9:08 AM - +1 (956) 600-0207: Ok
5/9/23, 9:09 AM - Hector Manager: 10-4
5/9/23, 9:09 AM - Hector Manager: Por favor confirmen todos
5/9/23, 9:10 AM - +1 (956) 510-9964: ☑
5/9/23, 9:11 AM - +1 (956) 252-9033: Ok
5/9/23, 9:15 AM - Rosendo: Ya dijo.
5/9/23, 9:16 AM - Lourdes: Listo
5/9/23, 9:19 AM - Ofelia: Co.vcf (file attached)
5/9/23, 9:19 AM - Hector Manager: Quien es?
5/9/23, 9:19 AM - +1 (956) 598-3675: Ok
5/9/23, 9:20 AM - Hector Manager added +1 (956) 510-5974
5/9/23, 9:20 AM - Ofelia: Se llama conchita
5/9/23, 9:20 AM - Hector Manager: Hay que agregar los que faltan
5/9/23, 9:21 AM - +1 (956) 252-9033: Agrega a Melecio porfa Hector 956 6090308
5/9/23, 9:22 AM - Hector Manager added +1 (956) 609-0308
5/9/23, 9:34 AM - +1 (956) 356-0451:
5/9/23, 9:35 AM - +1 (956) 609-0308: Yasta
5/9/23, 9:37 AM - +1 (956) 510-5974: Conchita 956 5105974
5/9/23, 9:54 AM - +1 (775) 507-1717 started a call
5/9/23, 10:00 AM - +1 (956) 356-0451: Una disculpa A la persona que nos marcó le
digo que no se oyó nada
5/9/23, 1:14 PM - Ofelia added +1 (956) 354-6177
5/9/23, 1:15 PM - Ofelia added .olga Perez
5/9/23, 4:12 PM - Hector Manager: Alguien va ir por el cheke de los dias trabajados?
5/9/23, 4:13 PM - +1 (956) 732-2011: si
5/9/23, 4:13 PM - +1 (956) 510-9964: Yo
5/9/23, 4:13 PM - +1 (956) 598-3675: Yo para pagarle al abogado
5/9/23, 4:13 PM - +1 (956) 510-9964: Juany tamb
5/9/23, 4:14 PM - Ofelia: Voy a esperar k lo depositen
5/9/23, 4:14 PM - +1 (956) 510-9964: No lo van a depositar, Ofe
5/9/23, 4:14 PM - +1 (956) 510-9964: Tienes q ir por el y cambiarlo
5/9/23, 4:14 PM - +1 (956) 732-2011: si asi dijeron
5/9/23, 4:14 PM - Ofelia: En serio
5/9/23, 4:14 PM - +1 (956) 732-2011: hay k ir x el
5/9/23, 4:15 PM - +1 (956) 510-9964: Si, ma
5/9/23, 4:22 PM - Rosendo: Si
5/9/23, 4:53 PM - Lourdes: Yo si voy a ir también
5/9/23, 4:54 PM - +1 (956) 510-9964: No firmen nada
5/9/23, 4:56 PM - +1 (956) 609-0308: Vamos todos a una hora en la mañana
5/9/23, 4:57 PM - +1 (956) 609-0308: Ya sé alas 9 o 10
5/9/23, 4:58 PM - +1 (956) 510-5974: Estaria bien todos juntos
5/9/23, 4:58 PM - +1 (956) 510-9964: Pues vayan un grupo en la mañana y otro en la
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tarde
5/9/23, 4:58 PM - +1 (956) 510-9964: Bueno yo x qe ya trabaje mañana
5/9/23, 4:59 PM - +1 (956) 510-9964: Y nos avisan como esta el asunto
5/9/23, 5:17 PM - .olga Perez: Pues avisan. Si van air
5/9/23, 5:18 PM - +1 (956) 609-0308: El que valla en la mañana o la que valla en la
mañna me avisa para or
5/9/23, 5:32 PM - .olga Perez: Q cren. Que les mandaron, a los supervisores una
carta confidencial adonde dise, que todos , los que salimos por ningún motivo,
podremos de volver a trabajar, ahí ni aplicando por oras empresas , por ningún lado
5/9/23, 5:33 PM - .olga Perez: Y Don Armando, ya Esta. Fuera. Hoy salió
5/9/23, 5:33 PM - +1 (956) 598-3675: Ok
5/9/23, 5:34 PM - Hector Manager: Si me acabo de enterar tambien
5/9/23, 5:34 PM - +1 (956) 510-9964: A bueno, para q se den cuenta, qe no les
importantamos
5/9/23, 5:34 PM - +1 (956) 510-9964: Así qe vamos con todo
5/9/23, 5:36 PM - .olga Perez: Si. Vamos. Asta donde lleguemos.
5/9/23, 5:40 PM - +1 (956) 598-3675: STK-20230509-WA0000.webp (file attached)
5/9/23, 5:44 PM - Ofelia added +1 (956) 438-6958
5/9/23, 5:52 PM - Ofelia: Aver kien va ir para k m avisen por su cheque para ir
juntos 🤣
5/9/23, 9:36 PM - +1 (956) 715-4571: 9566598958 Lazaro me pidió que lo agreguen no
pudo ir por el trabajo... Mañana temprano c presenta.
5/9/23, 9:47 PM - +1 (956) 609-0308: El que valla delias por el cheke temprano me
avisa
5/9/23, 9:48 PM - Ofelia: Mele yo y china vamos air temprano
5/9/23, 9:50 PM - Hector Manager added Lazaro
5/9/23, 9:53 PM - +1 (956) 510-5974: Yo voy tambien esta bien alas 10
5/9/23, 10:04 PM - +1 (956) 609-0308: Alas 10
5/9/23, 10:05 PM - +1 (956) 609-0308: Alas 9
5/9/23, 10:05 PM - +1 (956) 609-0308: China ofelia alas 9 afuera
5/9/23, 10:06 PM - Ofelia: Okey
5/9/23, 10:07 PM - +1 (956) 510-5974: Ok ala 9
5/9/23, 10:14 PM - +1 (956) 609-0308: Yasta
5/9/23, 10:14 PM - +1 (956) 609-0308: 9
5/9/23, 10:14 PM - +1 (956) 609-0308: Afuera
5/10/23, 8:26 AM - +1 (956) 609-0308: Van ir alas 9
5/10/23, 8:26 AM - +1 (956) 609-0308: Ya voy
5/10/23, 8:35 AM - Hector Manager: Yo voy hasta como la 1
5/10/23, 8:35 AM - +1 (956) 715-4571: Ai avisan que les dicen...
5/10/23, 8:35 AM - +1 (956) 715-4571: Yo ire n la tarde
5/10/23, 8:38 AM - Lourdes: <Media omitted>
A quien les llegó este mensaje ?
5/10/23, 8:39 AM - Lourdes: Ya nos están esperando 😳
5/10/23, 8:39 AM - +1 (956) 609-0308: Ya vamos
5/10/23, 8:39 AM - +1 (956) 356-0451: Hector estaría bien que agregaras a los
abogados al grupo par estar todos enterados de lo que pase a y yo no tengo línea de
celular por falta de pago
5/10/23, 8:40 AM - +1 (956) 598-3675: Yo ya boy
5/10/23, 8:40 AM - +1 (956) 609-0308: Alas 9 afuera
5/10/23, 8:40 AM - +1 (956) 598-3675: Ok
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5/10/23, 8:40 AM - +1 (956) 598-3675: Llevan los uniformes
5/10/23, 8:43 AM - .olga Perez: <Media omitted>
5/10/23, 8:43 AM - .olga Perez: Si nos lo mandaron
5/10/23, 8:44 AM - +1 (956) 715-4571: Ai me avisan que les dicen.. chavos
5/10/23, 8:44 AM - Hector Manager: Si a todos yo creo
5/10/23, 8:44 AM - Hector Manager: Voy a checar si tienen wazap
5/10/23, 8:44 AM - +1 (956) 356-0451: Ami no no tengo línea
5/10/23, 8:45 AM - Hector Manager: Y pusiste otro telefono para cuando te hable el
abogado para la declaracion?
5/10/23, 8:47 AM - +1 (956) 356-0451: Al rato voy a pagar los 600 de ellos y voy a
dar el tuyo si me das permiso
5/10/23, 8:48 AM - +1 (956) 356-0451: Debo 200 en el celular son 5 líneas
5/10/23, 8:48 AM - Hector Manager: Ok
5/10/23, 8:48 AM - Hector Manager: Claro
5/10/23, 8:48 AM - +1 (956) 356-0451: Ok gracias
5/10/23, 8:49 AM - .olga Perez: Pues. Cuando Ballan aver Que les disen
5/10/23, 9:03 AM - +1 (956) 609-0308: Ya llegue aquí ay alguien
5/10/23, 9:03 AM - +1 (956) 438-6958: 😟
5/10/23, 9:04 AM - +1 (956) 609-0308: Ay ay alguien aquí con vida
Como titanic
5/10/23, 9:04 AM - Hector Manager: Dale
5/10/23, 9:04 AM - Hector Manager: Sin miedo al exito
5/10/23, 9:04 AM - .olga Perez: Jajajajajajajajajajaja
5/10/23, 9:04 AM - +1 (956) 609-0308: No ay jefes
5/10/23, 9:04 AM - +1 (956) 252-9033: Tienes modo
5/10/23, 9:05 AM - +1 (956) 609-0308: Como que no quieren dar la cara
5/10/23, 9:05 AM - Hector Manager: Pss no
5/10/23, 9:05 AM - .olga Perez: Claro que no estarán
5/10/23, 9:05 AM - +1 (956) 609-0308: <Media omitted>
5/10/23, 9:05 AM - +1 (956) 252-9033: Jajaja
5/10/23, 9:05 AM - +1 (956) 609-0308: Ignoren lo sucio del vidrio
5/10/23, 9:05 AM - +1 (956) 252-9033: No hay nadie
5/10/23, 9:05 AM - +1 (956) 609-0308: No
5/10/23, 9:06 AM - .olga Perez: Hoooo 🤔
5/10/23, 9:07 AM - Hector Manager: Tal ves estamos esperando mucho de ellos y nomas
nos dan el cheke de las horas y ya
5/10/23, 9:07 AM - +1 (956) 356-0451: An de estar trabajando como cocineros en otras
tiendas jajajaja
5/10/23, 9:07 AM - +1 (956) 609-0308: Jajaja
5/10/23, 9:10 AM - .olga Perez: Ok como que es raro yo pase ayer y estaban todos
ahí
5/10/23, 9:12 AM - +1 (956) 609-0308: Ya salió bétito
5/10/23, 9:12 AM - +1 (956) 609-0308: This message was deleted
5/10/23, 9:12 AM - +1 (956) 609-0308: Seva se va y se fue
5/10/23, 9:18 AM - +1 (956) 609-0308: Entro una señora y salió rápido
5/10/23, 9:18 AM - +1 (956) 510-9964: Ok
5/10/23, 9:23 AM - +1 (956) 732-2011: ami
5/10/23, 9:23 AM - +1 (956) 356-0451: A ti que
5/10/23, 9:24 AM - .olga Perez: Pero. No firmen. Ninguna hoja
5/10/23, 9:24 AM - +1 (956) 732-2011: ami tambien m llego el mensaje
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5/10/23, 9:24 AM - +1 (956) 356-0451: Nomas te lo dieron y ya
5/10/23, 9:25 AM - +1 (956) 510-9964: Perfecto 👌
5/10/23, 9:26 AM - +1 (956) 609-0308: Es
Quiere. Que firme
5/10/23, 9:26 AM - +1 (956) 609-0308: Les dije que no
5/10/23, 9:26 AM - Hector Manager: Pero que firmes una hoja o de recibido nomas
5/10/23, 9:27 AM - +1 (956) 609-0308: De seguros
5/10/23, 9:27 AM - +1 (956) 609-0308: Y de la entrega de cueles
5/10/23, 9:27 AM - +1 (956) 609-0308: Cheke
5/10/23, 9:27 AM - +1 (956) 732-4557: De que seguro hablas.?
5/10/23, 9:27 AM - .olga Perez: No. Ninguna hoja
5/10/23, 9:28 AM - +1 (956) 252-9033: No firmen
5/10/23, 9:28 AM - +1 (956) 252-9033: Están haciendo firmar
5/10/23, 9:29 AM - .olga Perez: No firmen. Nada. Nadie te ase firmar.
5/10/23, 9:29 AM - +1 (956) 732-4557: No hay que especular, los que ya entraron que
nos digan si les pidieron firmar la hoja de entrega de cheque o les piden firmar
otra cosa.?
5/10/23, 9:29 AM - +1 (956) 609-0308: No firme
5/10/23, 9:29 AM - +1 (956) 609-0308: Pedí Michelle les dije semen mis horas
5/10/23, 9:29 AM - Hector Manager: Que?
5/10/23, 9:30 AM - +1 (956) 252-9033: Están haciendo firmar
5/10/23, 9:30 AM - +1 (956) 609-0308: Piden firmen nada del seguro de trabajo
5/10/23, 9:31 AM - +1 (956) 609-0308: No firmen nada
5/10/23, 9:31 AM - +1 (956) 609-0308: También piden que firmes la entrega de tu
cheke
5/10/23, 9:31 AM - +1 (956) 609-0308: No firmen nada
5/10/23, 9:32 AM - Hector Manager: Si no firmen nada, eso del seguro es muy raro,
cuando hacia la hoja de despido nunca tuve que hacer una de eso
5/10/23, 9:32 AM - +1 (956) 609-0308: No entramos 3 y no los dejamos
5/10/23, 9:32 AM - +1 (956) 598-3675: No firmen
5/10/23, 9:32 AM - +1 (956) 510-9964: Haber Elias que piden que firmen
5/10/23, 9:33 AM - +1 (956) 598-3675: PTT-20230510-WA0004.opus (file attached)
5/10/23, 9:33 AM - +1 (956) 598-3675: PTT-20230510-WA0005.opus (file attached)
5/10/23, 9:34 AM - Hector Manager: Ok
5/10/23, 9:38 AM - .olga Perez: Ok. No firmaron pero diles dieron el, cheque
5/10/23, 9:39 AM - .olga Perez: Sorry. Que si les dieron el cheque, aún que , no
firmaron?
5/10/23, 9:39 AM - +1 (956) 609-0308: Si
5/10/23, 9:40 AM - .olga Perez: Hooo. Ok
5/10/23, 9:41 AM - +1 (956) 252-9033: No lo quieren dar
5/10/23, 9:41 AM - +1 (956) 252-9033: Quieren q firmemos
5/10/23, 9:41 AM - +1 (956) 609-0308: No
5/10/23, 9:41 AM - +1 (956) 609-0308: No formes
5/10/23, 9:42 AM - +1 (956) 609-0308: Dile que son tus horas
5/10/23, 9:42 AM - +1 (956) 609-0308: Así le dije yo
5/10/23, 9:42 AM - +1 (956) 252-9033: Ya le dije
5/10/23, 9:42 AM - Ofelia: No los dieron
5/10/23, 9:42 AM - +1 (956) 609-0308: Si
5/10/23, 9:42 AM - +1 (956) 252-9033: Dijo q iba ablar así abogado
5/10/23, 9:42 AM - +1 (956) 252-9033: Y nos tiene esperando
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5/10/23, 9:42 AM - +1 (956) 609-0308: Si a nosostros también
5/10/23, 9:42 AM - Ofelia: No a nosotras no estan ablandole asus abogados
5/10/23, 9:42 AM - +1 (956) 609-0308: Avísenle al abogado
5/10/23, 9:43 AM - +1 (956) 609-0308: Que nos están amenazando por la entrega del
cheke
5/10/23, 9:44 AM - Hector Manager: La esta haciendo de emocion
5/10/23, 9:44 AM - Hector Manager: El cheke lo tiene que entregar
5/10/23, 9:47 AM - +1 (956) 639-6104: No me acuerdo q x comento el abogado q
dijéramos q ai no nos entregan el cheque vamos ir a reportarlos
5/10/23, 9:47 AM - +1 (956) 639-6104: No es el work force
5/10/23, 9:47 AM - Hector Manager: Pero si lo tiene que entregar
5/10/23, 9:48 AM - Hector Manager: Solo esta queriendo meter miedo
5/10/23, 9:48 AM - Ofelia: Ya dice k no firmen nada
5/10/23, 9:48 AM - Hector Manager:
5/10/23, 9:49 AM - +1 (956) 510-5974: Pero estan firmando cuando les dan el cheke o
no
5/10/23, 9:49 AM - Hector Manager: Nada
5/10/23, 9:49 AM - +1 (956) 609-0308: No no firmes
5/10/23, 9:49 AM - +1 (956) 609-0308: Nada
5/10/23, 9:50 AM - +1 (956) 510-5974: 👍
5/10/23, 9:50 AM - +1 (956) 598-3675: El cheque si lo están dando solo que quieren
que firme
5/10/23, 9:50 AM - +1 (956) 252-9033: Si
5/10/23, 9:50 AM - +1 (956) 252-9033: Elias ya viniste
5/10/23, 9:50 AM - +1 (956) 598-3675: Pero si no quieres
Pues no vas a firmar
5/10/23, 9:50 AM - +1 (956) 598-3675: Y no debes de firmar nada
5/10/23, 9:51 AM - +1 (956) 598-3675: Si
5/10/23, 9:51 AM - +1 (956) 598-3675: Ya fue y entregué los uniformes
5/10/23, 9:51 AM - +1 (956) 598-3675: Me los pidieron
5/10/23, 9:51 AM - +1 (956) 510-5974: Pero si no firmas te van a dar el cheke
5/10/23, 9:51 AM - +1 (956) 252-9033: Yo también los entregue
5/10/23, 9:51 AM - +1 (956) 598-3675: Si te lo dan
5/10/23, 9:51 AM - Hector Manager: Si
5/10/23, 9:51 AM - +1 (956) 252-9033: Pero quieren q firmes para entregarlo
5/10/23, 9:52 AM - +1 (956) 609-0308: <Media omitted>
5/10/23, 9:53 AM - +1 (956) 609-0308: <Media omitted>
5/10/23, 9:53 AM - +1 (956) 252-9033: Quieren q firmemos dos hojas una no se supo
explicar y la otra solo dice nuestro nombre
5/10/23, 9:53 AM - +1 (956) 609-0308: Pueden agravar a jesse y a Luisito
5/10/23, 9:53 AM - +1 (956) 609-0308: Porfavor
5/10/23, 9:53 AM - +1 (956) 252-9033: Para los cheques
5/10/23, 9:55 AM - +1 (956) 598-3675: PTT-20230510-WA0008.opus (file attached)
5/10/23, 9:55 AM - Hector Manager added +1 (956) 377-6769 and +1 (956) 438-2231
5/10/23, 9:56 AM - +1 (956) 639-6104: 😱
5/10/23, 9:56 AM - Hector Manager: Pero hay veces que eso pasa no?
5/10/23, 9:56 AM - Ofelia: Vaya al junior
5/10/23, 9:56 AM - +1 (956) 598-3675: Si
5/10/23, 9:57 AM - +1 (956) 639-6104: A un primo q despidieron ya tiene meses su
ultimo cheque cuando fue a cambiarlo en barrí no se lo feriaron tampoco q no se
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podía como q ellos a de reportar o no se
5/10/23, 9:57 AM - +1 (956) 639-6104: Junior te pide los papeles y huellas para
cambiarlo
5/10/23, 9:58 AM - +1 (956) 356-0451: Y a los que tenían depósito directo si les
depositaron o no
5/10/23, 9:58 AM - Hector Manager: No
5/10/23, 9:58 AM - +1 (956) 438-2231: No
5/10/23, 9:58 AM - Ofelia: No
5/10/23, 10:01 AM - +1 (956) 252-9033: PTT-20230510-WA0009.opus (file attached)
5/10/23, 10:01 AM - +1 (956) 252-9033: Sin firmar nada
5/10/23, 10:02 AM - +1 (956) 732-2011: yo tengo deposito directo y no m llego
5/10/23, 10:03 AM - +1 (956) 510-5974: No lo van a depositar nos van a dar en cheke
5/10/23, 10:04 AM - +1 (956) 438-2231: Que recomendo el abogado no han hablado con
el?
5/10/23, 10:05 AM - +1 (956) 609-0308: No formen porque ayer dijo el abogado
firmando pierden los derechos
5/10/23, 10:52 AM - +1 (956) 609-0308: <Media omitted>
5/10/23, 10:52 AM - +1 (956) 609-0308: Ya estoy aquí
5/10/23, 10:55 AM - Hector Manager: Fuiste a pagar?
5/10/23, 11:01 AM - +1 (956) 598-3675: Quien pudo cobrar el cheque y donde
5/10/23, 11:02 AM - .olga Perez: <Media omitted>
5/10/23, 11:03 AM - .olga Perez: Amis,compañeras
Feliz día
5/10/23, 11:03 AM - +1 (956) 609-0308: Ya
5/10/23, 11:04 AM - +1 (956) 609-0308: Ya ferie el cheke tbien
5/10/23, 11:04 AM - +1 (956) 609-0308: Banco
5/10/23, 11:04 AM - +1 (956) 609-0308: Ya pague la mitad
5/10/23, 11:07 AM - +1 (956) 438-6958: Yo también ya fui con el abogado
5/10/23, 11:08 AM - +1 (956) 252-9033: Aque ir hoy a dar la mitad para que pueda
mandar la hoja el abogado
5/10/23, 11:09 AM - +1 (956) 609-0308: Ay que dar la mitad hoy para que él pueda
mandar la hoja y poner en la carta Aquien va representar
5/10/23, 11:20 AM - .olga Perez: Si.
5/10/23, 11:55 AM - +1 (956) 510-5974: Ya voy por mi gran cheke
5/10/23, 12:21 PM - +1 (956) 598-3675: <Media omitted>
5/10/23, 12:26 PM - +1 (956) 252-9033: Donde andas Elías
5/10/23, 1:20 PM - +1 (956) 510-5974: Alguien sabe si esta abierto con en abogado
estoy hablando pero no contestan
5/10/23, 1:21 PM - Hector Manager: Tal ves ande en su hora de comida
5/10/23, 1:21 PM - Lourdes: Si aquí estamos
5/10/23, 1:22 PM - +1 (956) 609-0308: Si esta Abierto
5/10/23, 1:22 PM - Lourdes: Dice que después de las 4
5/10/23, 1:22 PM - Lourdes: Van a un juicio ahorita
5/10/23, 1:22 PM - Lourdes: Que le llamen
5/10/23, 1:23 PM - Hector Manager: Ah que bien pensaba ir ahorita
5/10/23, 1:24 PM - Lourdes: Si tienen la tarjeta de el?
5/10/23, 1:25 PM - Hector Manager: Del abogado no
5/10/23, 1:25 PM - Hector Manager: Pasa la foto
5/10/23, 1:26 PM - +1 (956) 598-3675: Ya fui a dar la mitad el abogado me preguntó
que si había firmado y lojico le comenté q no
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5/10/23, 1:27 PM - Lourdes: <Media omitted>
5/10/23, 1:27 PM - Lourdes: Marquen al cell
5/10/23, 1:27 PM - +1 (956) 598-3675: <Media omitted>
5/10/23, 1:27 PM - +1 (956) 598-3675: <Media omitted>
5/10/23, 1:33 PM - +1 (956) 377-6769: Entonces está cerrado con el abogado
5/10/23, 1:48 PM - +1 (956) 609-0308: <Media omitted>
5/10/23, 1:48 PM - +1 (956) 609-0308: Agreguen a Mike
5/10/23, 2:07 PM - Hector Manager added +1 (956) 313-8224 and +1 (956) 685-2140
5/10/23, 2:11 PM - +1 (956) 313-8224: Gracias
5/10/23, 6:01 PM - +1 (956) 356-0451: Ya Page al abogado
5/10/23, 6:04 PM - Hector Manager: Yo tambien
5/10/23, 6:06 PM - +1 (956) 715-4571: Igual yo... le pregunté que cuando manda los
papeles...
5/10/23, 6:07 PM - Hector Manager: Que paguen todos
5/10/23, 6:07 PM - Hector Manager: La mitad de perdido
5/10/23, 6:07 PM - +1 (956) 715-4571: dijo que asta que no le paguen la mitad TODOS
lo los manda chavos (a)
5/10/23, 6:08 PM - Rosendo: Ya ya
5/10/23, 6:08 PM - +1 (956) 313-8224: yo tengo cita el viernes y tambien pagare ese
dia
5/10/23, 6:08 PM - +1 (956) 715-4571: So entre más pronto paguemos mejor... yo c k
es difícil para muchos esto pagar esta cantidad d dinero...
5/10/23, 6:08 PM - +1 (956) 715-4571: Pero tenemos que buscarle la manera...
5/10/23, 6:09 PM - +1 (956) 715-4571: Asi c valla lo más pronto posible la
Demanda...
5/10/23, 6:11 PM - +1 (956) 600-0207: Yo mañana
5/10/23, 6:12 PM - +1 (956) 510-5974: Ya fui hoy
5/10/23, 6:25 PM - Ofelia changed this group's icon
5/10/23, 6:26 PM - Ofelia: china.vcf (file attached)
5/10/23, 7:09 PM - Lourdes: Yo ya fui hoy
5/10/23, 9:36 PM - +1 (775) 507-1717: Yo fui a pagar hoy la mitad.
5/11/23, 6:36 AM - +1 (956) 356-0451: Hector sabes cual es la página de paychex
para sacar recibos de pago
5/11/23, 6:40 AM - +1 (956) 356-0451: O cualquiera que sepa de la pagina los está
pidiendo el abogado ok gracias
5/11/23, 7:04 AM - Hector Manager: Necesitas descargar la aplicacion de paycheck
5/11/23, 7:04 AM - Hector Manager: Metes los datos
5/11/23, 7:05 AM - +1 (956) 715-4571: No pueden entrar ya lo trate de hacer y t pide
una clave de la compañía...
5/11/23, 7:05 AM - Hector Manager: A mi no
5/11/23, 7:05 AM - +1 (956) 715-4571: NO PODRÁS ENTRAR.
5/11/23, 7:05 AM - +1 (956) 715-4571: tu si entrastes? No
5/11/23, 7:05 AM - +1 (956) 715-4571: Yo no pude
5/11/23, 7:06 AM - Hector Manager: Si yo si
5/11/23, 7:11 AM - +1 (956) 600-0207: Para que los Esta pidiendo yo no tengo ninguno
5/11/23, 7:21 AM - Hector Manager: Lo mas seguro es para ver cuanto nos quitaban y
hacer el calculo por.todos los años
5/11/23, 7:22 AM - +1 (956) 356-0451: Ayer que fui a pagar el abogado me dijo que si
podría sacarlos lo hiciera..pero que si NO..NO hay problema
5/11/23, 7:22 AM - +1 (956) 356-0451: Si
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5/11/23, 7:23 AM - Rosendo: Ayer cuando fui a pagar le di un estimado de lo q ganaba
semanalmente y ya saco la cuenta de todo el año.
5/11/23, 7:23 AM - +1 (956) 356-0451: Que bueno
5/11/23, 7:24 AM - +1 (956) 356-0451: Yo no tengo más que 2
5/11/23, 9:22 AM - +1 (956) 356-0451: Hector ya bajé la aplicación de paychex a
hora que como me meto
5/11/23, 9:23 AM - Hector Manager: Dale en create account y te va pedir tu jombre
direccion ss
5/11/23, 9:24 AM - +1 (956) 356-0451: Pide usuario y contraseña
5/11/23, 9:25 AM - Hector Manager: En la parte de abajo dice try out
5/11/23, 9:25 AM - +1 (956) 356-0451: Ok
5/11/23, 9:26 AM - Hector Manager: Luego en sign up
5/11/23, 9:48 AM - +1 (956) 356-0451: Ya pude entrar pero nomas ay del 2020 en
adelanté
5/11/23, 9:49 AM - Hector Manager: Te pido todos?
5/11/23, 9:49 AM - Hector Manager: Pidio
5/11/23, 9:50 AM - +1 (956) 356-0451: Dijo que era bueno tenerlos ...pero que si NO
no había problema
5/11/23, 9:50 AM - +1 (956) 356-0451: Pero yo solo con la aplicacion me aparecen del
2020 a la fecha
5/11/23, 2:53 PM - .olga Perez: Ya en la mañana. Listo
5/11/23, 5:13 PM - Ofelia: Chicos buenas tardes ya entregue los 300 m dijo k si
entregamos el dinero en una semana meteria los papeles yo se k es dificil pero hay k
tratar primero dios todo va salir bien
5/11/23, 5:14 PM - +1 (956) 609-0308: Yo también ya pague ayer
5/11/23, 5:14 PM - +1 (956) 609-0308: Entre más rápido mejor
5/11/23, 5:15 PM - +1 (956) 598-3675: Ya lo entrege ayer
5/11/23, 5:16 PM - Ofelia: Asi es
5/11/23, 5:17 PM - +1 (956) 313-8224:
5/11/23, 5:17 PM - +1 (956) 715-4571: Cuantos Faltan?
5/11/23, 5:18 PM - +1 (956) 313-8224: yo mañana tengo mi primera cita y voi a pagar
de una vez
5/11/23, 5:19 PM - Ofelia: Somos como 10 los k an dado
5/11/23, 5:19 PM - +1 (956) 356-0451: Yo ya Page los 600
5/11/23, 5:20 PM - +1 (956) 685-2140: Yo también ya pagué
5/11/23, 5:20 PM - Hector Manager: Yo tambien todo
5/11/23, 5:20 PM - +1 (956) 600-0207: Yo hoy
5/11/23, 5:31 PM - +1 (956) 510-5974: Si yo fui ayer apagar
5/11/23, 8:25 PM - Adan: PTT-20230511-WA0002.opus (file attached)
5/11/23, 8:25 PM - Adan: PTT-20230511-WA0005.opus (file attached)
5/11/23, 8:25 PM - Adan: PTT-20230511-WA0004.opus (file attached)
5/11/23, 8:26 PM - +1 (956) 609-0308: Vez a sanjuan que te lo cambien
5/11/23, 8:26 PM - Adan: PTT-20230511-WA0003.opus (file attached)
5/11/23, 8:27 PM - +1 (956) 510-5974: Dicen k por la 10 enfrente de la michoacana
pero te estan cobrando 15 dolar
5/11/23, 8:34 PM - +1 (956) 510-9964: Vaya a barri, solo lo verifican y tardan como
10 minutos y se lo pagan
5/11/23, 8:39 PM - Adan: PTT-20230511-WA0006.opus (file attached)
5/11/23, 8:40 PM - +1 (956) 510-9964: Mmmmm
5/11/23, 8:40 PM - +1 (956) 510-9964: Pero ya intento en otros barris?
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5/11/23, 8:40 PM - Adan: PTT-20230511-WA0007.opus (file attached)
5/11/23, 8:41 PM - +1 (956) 510-9964: Intente en el Barri de la 10 y la Jackson en
McAllen
5/11/23, 9:11 PM - +1 (956) 598-3675: <Media omitted>
5/11/23, 9:11 PM - .olga Perez: Hee. Que. Se cambie alguien , alguien que tenga
cuenta en el banco solo endiósalo ósea firmase lo     Y ya
5/11/23, 9:13 PM - .olga Perez: Y luego kien es el que está trabajando kien mando
el video
5/11/23, 9:13 PM - +1 (956) 598-3675: Después de andar en la oscuridad y no me
quieren pagar
5/11/23, 9:13 PM - +1 (956) 510-9964: Como, no se le caían las salsaS, para qe lo
hubieran suspendido @elias 😅
5/11/23, 9:13 PM - Ofelia: 😂😂
5/11/23, 9:13 PM - +1 (956) 356-0451: Cuando éramos felices y no lo sabíamos
5/11/23, 9:16 PM - +1 (956) 598-3675: <Media omitted>
5/11/23, 9:17 PM - +1 (956) 598-3675: <Media omitted>
5/11/23, 9:18 PM - +1 (956) 598-3675: <Media omitted>
5/11/23, 9:20 PM - Hector Manager: Es video es prueba de las condiciones de trabajo
5/11/23, 9:20 PM - Hector Manager: Guardalo
5/11/23, 9:20 PM - +1 (956) 598-3675: Claro que si
5/11/23, 9:20 PM - +1 (956) 598-3675: Tengo muchos
5/11/23, 9:22 PM - +1 (956) 510-9964: Lo bueno 👍
5/11/23, 9:23 PM - Hector Manager: Esos dias a nosotros Lupita nos dijo que nos
pusieramos ancortar la verdura
5/11/23, 9:23 PM - Hector Manager: Eufemia le dijo que no
5/11/23, 9:37 PM - +1 (956) 510-9964: Sin luz, a nosotros tamb ahi no importaba si
nos contábamos, y lo hicimos
5/11/23, 9:38 PM - Adan: PTT-20230511-WA0008.opus (file attached)
5/11/23, 9:38 PM - +1 (956) 715-4571: GUARDEN TODOS ESOS VÍDEOS... nos va a
favorecer n la Demanda.
5/11/23, 9:38 PM - +1 (956) 598-3675: Ese día abrí y cerre solo
5/11/23, 9:39 PM - +1 (956) 510-9964: No creo, preguntele
5/11/23, 9:40 PM - +1 (956) 598-3675: Y por si fuera poco yo llevé lámparas para
trabajar
5/11/23, 9:40 PM - +1 (956) 510-9964: Usted no tiene cuenta en l banco? Con el app
lo puede depositar
5/11/23, 9:56 PM - +1 (956) 600-0207: Y aun así te no te valió para quedarte Elias
5/11/23, 9:58 PM - +1 (956) 598-3675: No ni modo en tres días metí 36 horas pensando
q IVA salir bien el cheque
5/11/23, 10:25 PM - .olga Perez: Si. Guerden esos videos. Son muy. Buenos ayudarán
mucho
5/12/23, 10:22 AM - +1 (956) 313-8224: Buenos dias!! ya estube con el abogado y ya
pague el dinero
5/12/23, 10:22 AM - Hector Manager:
5/12/23, 10:23 AM - +1 (956) 356-0451:
5/12/23, 10:24 AM - .olga Perez: 👍
5/12/23, 10:24 AM - Ofelia: K bueno gracias a dios y adelante lo k dios quiera
5/12/23, 10:25 AM - +1 (956) 313-8224:
5/12/23, 10:26 AM - +1 (956) 609-0308: Cabo de ir con el abogado faltan varios por
pagar
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5/12/23, 10:31 AM - Ofelia: Quien sabe
5/12/23, 10:31 AM - +1 (956) 609-0308: Ay que pagar
5/12/23, 10:31 AM - +1 (956) 609-0308: Para darle marcha esto
5/12/23, 10:31 AM - +1 (956) 609-0308: Orita que está caliente esto
5/12/23, 10:32 AM - .olga Perez: China. Ya
5/12/23, 10:32 AM - Hector Manager: Los que faltan cuando creen que puedan pagar?
5/12/23, 10:33 AM - +1 (956) 609-0308: O digan quien no quiere entrar
5/12/23, 10:33 AM - Ofelia: China iva air hoy m parese
5/12/23, 10:33 AM - .olga Perez: Ya pago
5/12/23, 10:34 AM - Ofelia: A okey
5/12/23, 10:43 AM - .olga Perez: Adan en. El banco. De America puedes cambiar
El.cheque
5/12/23, 11:10 AM - .olga Perez: China. Ya
5/12/23, 11:12 AM - Adan: PTT-20230512-WA0004.opus (file attached)
5/12/23, 11:12 AM - .olga Perez: 👍
5/12/23, 11:25 AM - +1 (956) 732-2011: yo voy alrato a dejalo
5/12/23, 11:25 AM - +1 (956) 732-2011: dejarlo
5/12/23, 12:50 PM - +1 (956) 685-2140: Yo apenas cobre hoy el cheque si lo cobre
5/12/23, 12:56 PM - +1 (956) 732-2011: ya fuimos a pagar al abogado
5/12/23, 1:05 PM - +1 (956) 598-3675: PTT-20230512-WA0005.opus (file attached)
5/12/23, 1:17 PM - +1 (956) 356-0451:
5/12/23, 1:36 PM - +1 (956) 600-0207: 👍
5/12/23, 2:00 PM - +1 (956) 510-9964: Al rato pasamos
5/12/23, 11:57 PM - Adan: PTT-20230512-WA0006.opus (file attached)
5/13/23, 1:37 AM - .olga Perez: 👍
5/13/23, 12:45 PM - Hector Manager: Buenas tardes compañeros, por favor hay que
hacer el sacrificio para hacer el pago, con la gracia de Dios se nos va multiplicar
5/13/23, 12:45 PM - Hector Manager: Quien falta de pagar?
5/13/23, 12:46 PM - Hector Manager: Creen que para el Lunes puedan hacer el pago?
5/13/23, 12:50 PM - Hector Manager: Tambien debemos tener prudencia sobre a quien le
platicamos la situacion que estamos teniendo, sabemos que tarde o temprano los
dueños lo van a saber pero no tienen que saber que problemas personales tenemos
5/13/23, 12:51 PM - Hector Manager: Eso ellos lo pueden aprovechar y atacarnos
sabiendo que andamos deviles animicamente y mas economicamnete
5/13/23, 12:51 PM - +1 (956) 609-0308: Mejor que digan quien no le va entrar
5/13/23, 12:52 PM - Hector Manager: En mi opinion los que pagaron para el Lunes
pagaron y darle con los que estamos
5/13/23, 12:53 PM - +1 (956) 609-0308: Delias ya debe de saber porque por algo no
quisiésemos firmar y tuvimos que decir que tenemos abogado para que nos pudiera dar
el cheke y no firmar
5/13/23, 12:53 PM - Hector Manager: Tienes razon ya deben estar esperando la noticia
entonces para que alargar mas
5/13/23, 12:53 PM - +1 (956) 609-0308: Pores ay que pagar ahora que el problema está
caliente
5/13/23, 12:54 PM - Hector Manager: El Lunes se le va decir al abogado que le de
para dela te con los que estamos
5/13/23, 12:54 PM - +1 (956) 609-0308: Yo estoy de acuerdo
5/13/23, 12:54 PM - Hector Manager: @19562921162 te parece bien?
5/13/23, 1:03 PM - +1 (956) 685-2140: Yo no sé por qué dijeron que tenían abogado
fue un error ellos ya saben y se se van a preparar
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5/13/23, 1:03 PM - Ofelia: Si esta bien no se cuantis somos
5/13/23, 1:03 PM - Ofelia: Cuantos somos
5/13/23, 1:03 PM - Ofelia: Deja y le pregunto a valde y k para el lunes meta los
papeles
5/13/23, 1:04 PM - +1 (956) 609-0308: Si de una vez
5/13/23, 1:04 PM - +1 (956) 609-0308: Con lo que tenemos
5/13/23, 1:04 PM - Lourdes: Yo si la mitad y se me olvidó preguntarle al abogado si
con eso se podía empezar o hasta que le lleve la otra parte?
5/13/23, 1:05 PM - +1 (956) 609-0308: Con la mitad puede empezar él dijo
5/13/23, 1:05 PM - +1 (956) 609-0308: Ya los que estamos
5/13/23, 1:05 PM - Lourdes: Ok gracias por la aclaración
5/13/23, 1:10 PM - +1 (956) 600-0207: Pero pagar todo o solo los 300
5/13/23, 1:11 PM - Hector Manager: Solo con 300 empieza todo
5/13/23, 1:11 PM - Ofelia: Los 300 y con eso meteria los papeles
5/13/23, 1:14 PM - +1 (956) 377-6769: Yo también ya di el pago
5/13/23, 1:15 PM - Ofelia: K bueno luisito primero dios 🙏
5/13/23, 1:20 PM - .olga Perez: Hola, buen día
Ya casi todos, dimos el pago
Dijo que la semana que entra metía la papelería.
No nos desesperemos
También sabemos que va a tardar no están. Fácil y rápido….
5/13/23, 2:04 PM - +1 (956) 313-8224:
5/15/23, 3:26 PM - +1 (956) 715-4571: Siempre que c hiso?
5/15/23, 3:26 PM - +1 (956) 715-4571: No escucho Nada..
5/15/23, 3:26 PM - +1 (956) 715-4571: Alguien Falta d Pagar?
5/15/23, 3:34 PM - +1 (956) 356-0451: Que pasa buenas tardes
5/15/23, 3:34 PM - +1 (956) 356-0451: Ánimo
5/15/23, 3:35 PM - +1 (956) 715-4571: C esta Enfriando el Pedo...
5/15/23, 3:35 PM - +1 (956) 510-9964: Aun faltan de pagar algunos
5/15/23, 3:36 PM - +1 (956) 510-9964: Yo fui y no se miraba la lista completada
5/15/23, 3:36 PM - +1 (956) 510-9964: Le hablamos al abogado para saber quien falta?
5/15/23, 3:36 PM - +1 (956) 510-9964: Digo sin presión, pero para saber si contamos
con ellos o no?
5/15/23, 3:37 PM - +1 (956) 609-0308: Que quite alos que faltan
5/15/23, 3:37 PM - +1 (956) 609-0308: Nosotros hacemos es el esfuerzo
5/15/23, 3:38 PM - +1 (956) 609-0308: Como para esperar a otros ya pasó una semana
5/15/23, 3:38 PM - +1 (956) 609-0308: Se va enfriar
5/15/23, 3:38 PM - +1 (956) 510-9964: Eso si
5/15/23, 3:38 PM - +1 (956) 313-8224: ahora es cuando
5/15/23, 3:38 PM - +1 (956) 510-9964: Dejen hablo
5/15/23, 3:38 PM - +1 (956) 510-9964: Al abogado
5/15/23, 3:38 PM - +1 (956) 609-0308: Den luz verde para que quite alos que faltan
5/15/23, 3:39 PM - +1 (956) 715-4571: Ya pasaron 15 días k caminamos y Nada.
5/15/23, 3:39 PM - +1 (956) 715-4571: Sigue todo parkiado
5/15/23, 3:40 PM - +1 (956) 510-9964: El abogado
5/15/23, 3:40 PM - +1 (956) 510-9964: Esta en corte
5/15/23, 3:40 PM - +1 (956) 510-9964: Me habla alrato
5/15/23, 3:41 PM - +1 (956) 510-9964: Para decirme quien falta
5/15/23, 3:43 PM - Rosendo: Buena tarde, si los q no han pagado y no dicen q los
esperemos, entonces a darle nosotros.
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5/15/23, 3:44 PM - +1 (956) 598-3675: Ok
5/15/23, 3:46 PM - +1 (956) 510-9964: En cuanto me hable les aviso
5/15/23, 3:50 PM - +1 (956) 356-0451: Podríamos hacer esto
Quiénes falten de pagar digamosle al abogado que empiece , y en pocos días, los
compañeros que falten se pongan al corriente con el pago de inicio. Y así todos
estamos dentro . Vamos apoyarnos en esperarlos pero con el abogado enterado y así
todos juntos luchemos el caso.
Den opiniones
5/15/23, 3:59 PM - +1 (956) 715-4571: 👍 me gusta la Idea
Si entramos todo mucho mejor.
5/15/23, 4:03 PM - +1 (956) 732-2011: 👍
5/15/23, 4:08 PM - Rosendo: Pero q digan quienes son los q faltan, para saber.
5/15/23, 4:09 PM - +1 (956) 313-8224:
5/15/23, 4:13 PM - +1 (956) 356-0451: Así es hagan presencia para poder apoyarnos
5/15/23, 4:16 PM - .olga Perez: Ezequiel, tienes razón,
5/15/23, 4:17 PM - +1 (956) 510-5974: 👍
5/15/23, 4:17 PM - +1 (956) 356-0451: Jaja soy Esquivel
5/15/23, 4:17 PM - .olga Perez: Haa. Pues tienes razón 👍
5/15/23, 4:18 PM - +1 (956) 356-0451: Gracias
5/15/23, 4:18 PM - +1 (956) 356-0451: Recuerden el logo...del chat
5/15/23, 5:01 PM - Ofelia: Pues me dijo k esta semana metia los papeles el viernes k
le able y dijo k casi todos ya le abian dado el dinero
5/15/23, 5:03 PM - Ofelia: Yo le dije k con los k estubieramos metiera la demandas
5/15/23, 5:03 PM - Hector Manager: Excelente
5/15/23, 5:11 PM - +1 (956) 356-0451:
5/15/23, 5:19 PM - Ofelia: Asi es primero dios por delante
5/16/23, 11:57 AM - +1 (956) 510-9964: PTT-20230516-WA0000.opus (file attached)
5/16/23, 12:02 PM - +1 (956) 598-3675: Ok
5/16/23, 12:03 PM - +1 (956) 600-0207: Pues ya antes de que pase más tiempo
5/16/23, 12:04 PM - +1 (956) 609-0308: Ok
5/16/23, 12:04 PM - +1 (956) 609-0308: Pero ojalá la mande el viernes la carta ✍
5/16/23, 12:04 PM - +1 (956) 609-0308: Antes de que se valla otra semana más
5/16/23, 12:05 PM - Ofelia: Esta bien entre mas pronto mejor
5/16/23, 12:07 PM - +1 (956) 510-9964: El Viernes sale
5/16/23, 12:08 PM - +1 (956) 356-0451: Ok
5/16/23, 12:09 PM - .olga Perez: Ok
5/16/23, 12:09 PM - +1 (956) 313-8224: ok
5/16/23, 12:09 PM - +1 (956) 609-0308: Y los que no quieren dar el anticipo pos que
los saquen
5/16/23, 12:10 PM - +1 (956) 609-0308: Porque no más no tienen parados y no se puede
avanzar
5/16/23, 12:10 PM - +1 (956) 609-0308: El miércoles que me dieron el último cheke de
delias ese día lo cambié y derecho con el abogado
5/16/23, 12:11 PM - +1 (956) 609-0308: Uno ase un esfuerzo
5/16/23, 12:11 PM - +1 (956) 609-0308: Grande porque dinero no tenemos
5/16/23, 12:11 PM - +1 (956) 609-0308: Y para estar parados por otros que no hacen
la lucha
5/16/23, 12:11 PM - +1 (956) 510-9964: Así es
5/16/23, 12:12 PM - +1 (956) 510-9964: Bueno pero ya no depende de nosotros, si
ellos quieren seguir adelante
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5/16/23, 12:12 PM - +1 (956) 609-0308: No soy injusto con los demás pero tampoco se
me hace justo que por unos cuantos estemos de teteniedo esto
5/16/23, 12:12 PM - +1 (956) 510-9964: Y si, no pues los qe estamos
5/16/23, 12:12 PM - +1 (956) 510-9964: Bueno y todos los q fuimos estamos en el
chat?
5/16/23, 12:13 PM - +1 (956) 510-9964: Ahí nos fallo
5/16/23, 12:13 PM - +1 (956) 609-0308: O que opinan ustedes por los días pasan y ya
vamos para otra semana
5/16/23, 12:14 PM - +1 (956) 510-9964: Anotar x nuestra cuenta, los conctatos que
fuimos con el abogado, pero bueno somos adultos y cada quien sabe su responsabilidad
5/16/23, 12:51 PM - Hector Manager removed +1 (775) 507-1717
5/16/23, 12:51 PM - Hector Manager removed +1 (956) 639-6104
5/16/23, 2:54 PM - Hector Manager added +1 (775) 507-1717
5/16/23, 9:20 PM - Adan: Ya. Porque. Se. En frian. Las. Cosas
5/16/23, 9:40 PM - .olga Perez: Aquí en. Andan eliminando?
5/16/23, 9:46 PM - Rosendo: Cambiaron de numero de telefono.
5/16/23, 10:02 PM - .olga Perez: Ok
5/17/23, 3:14 PM - +1 (956) 685-2140: Qué onda cómo están , que saben qué hay de
nuevo
5/17/23, 3:53 PM - .olga Perez: Jajajaja. Nombre. Nada asta el viernes más bien,
Asta el lunes .Aver que ??
5/19/23, 7:55 AM - +1 (956) 313-8224: Buenos Dias. hoy es el dia!! primero Dios
nos va ir bien a todos hay que acharle buena vibra !
5/19/23, 7:58 AM - +1 (956) 510-5974: Buenos dias claro k si 🙏🙏
5/19/23, 8:13 AM - +1 (956) 510-9964:
5/19/23, 8:13 AM - +1 (956) 510-9964: Buenos dias, haber si alguien puede hablar con
los abogados
5/19/23, 8:13 AM - +1 (956) 510-9964: Solo para confirmar
5/19/23, 8:29 AM - +1 (956) 510-9964: Y también tengamos una copia de la carta
5/19/23, 8:35 AM - +1 (956) 609-0308: Buenos días 🌞
5/19/23, 8:35 AM - +1 (956) 609-0308: Ay que pedir copia de la carta ✍
5/19/23, 8:41 AM - Rosendo: Siboara verificar los nombres.
5/19/23, 8:42 AM - +1 (956) 510-9964: Así es
5/19/23, 8:42 AM - +1 (956) 510-9964: Si alguien puede
5/19/23, 8:42 AM - +1 (956) 510-9964: Llame
5/19/23, 8:42 AM - +1 (956) 510-9964: Y avisenos
5/19/23, 8:42 AM - +1 (956) 510-9964: Xfavor
5/19/23, 9:29 AM - .olga Perez: Buenos días
5/19/23, 12:16 PM - +1 (956) 715-4571: Oyes chavos el abogado les habla para
entrevistarlo? De cuánto tiempo tenía en la compañía y todo ese show...
5/19/23, 12:17 PM - +1 (956) 715-4571: AMI NUNCA ME HABLO?
5/19/23, 12:18 PM - +1 (956) 598-3675: A mí tampoco
5/19/23, 12:18 PM - +1 (956) 356-0451: No
5/19/23, 12:18 PM - +1 (956) 510-5974: No ami no me hablo
5/19/23, 12:18 PM - +1 (956) 715-4571: Y ves k dijo que según nos marcaría acada uno
d nosotros
5/19/23, 12:18 PM - +1 (956) 715-4571: ??
5/19/23, 12:18 PM - Hector Manager: Va ser despues de que metio la carta
5/19/23, 12:18 PM - Hector Manager: Para tener un promedio de cada quien
5/19/23, 12:19 PM - Ofelia: El dia que fuimos y anotamos nuestro nombre ahí pusimos
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los años que teníamos trabajando
5/19/23, 12:19 PM - +1 (956) 600-0207: A mi tampoco
5/19/23, 12:20 PM - +1 (956) 598-3675: Ami no me digo q los anotara los años
5/19/23, 12:20 PM - +1 (956) 510-5974: Ha mi cuando le di el dinero me pregunto
cuantos años tenia como cuanto ganaba al año
5/19/23, 1:04 PM - .olga Perez: Si cuando le diste el pago, pregunta los años de
trabajo
Pero si algunos pusimos en la hoja ,cuando nos reunimos aya con ellos.
5/19/23, 1:06 PM - .olga Perez: Creo que cuando ya sea, la demanda , y le contesten
ya nos llamará!!!!
5/19/23, 4:14 PM - +1 (956) 510-9964: Acabo de hablar con el Abogado
5/19/23, 4:14 PM - +1 (956) 510-9964: Valde
5/19/23, 4:14 PM - +1 (956) 715-4571: ?
5/19/23, 4:14 PM - +1 (956) 510-9964: Dice qe ya enviaron la carta
5/19/23, 4:14 PM - +1 (956) 715-4571: Que show
5/19/23, 4:14 PM - +1 (956) 715-4571: X k esto pedo cada vez lo veo más lejos
5/19/23, 4:14 PM - +1 (956) 510-9964: Qe delias la estaría recibiendo lunes o martes
5/19/23, 4:15 PM - +1 (956) 510-9964: Y ahí ellos tienen 30 días, para responder
5/19/23, 4:16 PM - +1 (956) 510-9964: El abogado recomienda
5/19/23, 4:16 PM - +1 (956) 510-9964: Discreción
5/19/23, 4:16 PM - +1 (956) 510-9964: Qe ya no comentemos nada de q si los vamos a
demandar y asi
5/19/23, 4:17 PM - +1 (956) 510-9964: Xqe todo eso puede ser evidencia y ser
utilizado en nuestra contra
5/19/23, 4:17 PM - +1 (956) 510-9964: Así qe solo esperar a qe Delias conteste
5/19/23, 4:18 PM - +1 (956) 356-0451: Ok estoy de acuerdo con el abogado y se ara
justicia
5/19/23, 4:18 PM - +1 (956) 510-9964: Así es
5/19/23, 4:22 PM - .olga Perez: ??? Y te dijo en que forma nos afectaría. A
nosotros???
5/19/23, 4:23 PM - .olga Perez: Upsssss??
5/19/23, 4:23 PM - +1 (956) 510-9964: No, me dijo
5/19/23, 4:23 PM - +1 (956) 510-9964: Pero pueden marcarle
5/19/23, 4:24 PM - +1 (956) 510-9964: Valde Morin Abogado.vcf (file attached)
5/19/23, 4:24 PM - .olga Perez: Pues. Es muy importante preguntar eso , ono?
5/19/23, 4:24 PM - +1 (956) 510-9964: Claro
5/19/23, 4:24 PM - +1 (956) 510-9964: Ahí esta el contacto
5/19/23, 4:24 PM - .olga Perez: Thanks
5/19/23, 4:27 PM - Hector Manager: Es porque al llegar a un arreglo vamos a firmar
una clausula donde dice que no podemos hablar sobre el arreglo y hasta que no
podemos pararnos en uno de los Delias
5/19/23, 4:33 PM - .olga Perez: Hoo      Pues,
5/19/23, 4:34 PM - .olga Perez: Ni modo, bueno mientras. No sea nada más, esta bien
5/19/23, 5:17 PM - +1 (956) 313-8224:
5/19/23, 5:48 PM - +1 (956) 609-0308: Muy bien o
5/22/23, 11:42 AM - +1 (956) 609-0308: Buenos días
5/22/23, 11:42 AM - +1 (956) 609-0308: Alguien sabe si se envió la carta ✍
5/22/23, 12:00 PM - +1 (956) 510-5974: Buenos dias a todos
5/22/23, 12:00 PM - +1 (956) 313-8224: STK-20230522-WA0000.webp (file attached)
5/22/23, 12:00 PM - +1 (956) 598-3675: Buenos días yo ni e tenido la entrevista
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5/22/23, 12:19 PM - .olga Perez: Buenos días    Ahora si, en el Nombre de Dios que
nos agarre confesados, jajajajaaja.. y aver Que sale
5/22/23, 12:19 PM - +1 (956) 609-0308: Ya se mando la carta
5/22/23, 12:21 PM - +1 (956) 313-8224: STK-20211015-WA0002.webp (file attached)
5/22/23, 12:43 PM - +1 (956) 510-9964: Se envio el viernes, hoy o mañana tiene qe
llegar ala oficina de Delias
5/22/23, 12:43 PM - +1 (956) 510-9964: El abogado dijo q en cuanto
5/22/23, 12:43 PM - +1 (956) 510-9964: Contesten
5/22/23, 12:43 PM - +1 (956) 510-9964: Nos avisa
5/22/23, 12:43 PM - +1 (956) 510-9964: Entonces iremos a la entrevista para ajustar
lo de cada uno
5/22/23, 12:44 PM - +1 (956) 609-0308: Gracias
5/22/23, 12:45 PM - +1 (956) 598-3675: Ok
5/22/23, 12:46 PM - +1 (956) 313-8224: ok Gracias!
5/22/23, 1:05 PM - .olga Perez: 👍
5/23/23, 4:55 PM - .olga Perez: Hola hola
5/23/23, 4:56 PM - .olga Perez: Buena tarde
5/23/23, 5:06 PM - Hector Manager: Buenas tarde
5/23/23, 5:08 PM - +1 (956) 313-8224: STK-20230523-WA0000.webp (file attached)
5/23/23, 5:09 PM - +1 (956) 356-0451: Hola que tal Buenas Tardes
5/23/23, 5:19 PM - +1 (956) 510-5974: Hola buenas tardes a todos
5/23/23, 5:19 PM - +1 (956) 609-0308: Hola buenas tardes
5/24/23, 2:51 PM - .olga Perez: Good afternoon. Guys,
5/24/23, 2:51 PM - .olga Perez: 🖐🖐🖐🖐
5/24/23, 2:52 PM - +1 (956) 715-4571: Buenas Tardes 👍
5/24/23, 2:56 PM - +1 (956) 313-8224: STK-20230524-WA0000.webp (file attached)
5/24/23, 3:07 PM - +1 (956) 510-5974: Buenas tardes
5/26/23, 10:39 AM - .olga Perez: STK-20230526-WA0001.webp (file attached)
5/26/23, 10:39 AM - .olga Perez: Good morning 🌞😃☀
5/26/23, 10:58 AM - +1 (956) 598-3675: Buenos dias
5/26/23, 11:01 AM - +1 (956) 510-5974: Buenos dias
5/26/23, 2:09 PM - +1 (956) 313-8224: STK-20230526-WA0002.webp (file attached)
5/26/23, 6:33 PM - +1 (956) 510-9964: Buenas Tardes!
5/26/23, 6:33 PM - +1 (956) 510-9964: No hay más, más q esperar
5/28/23, 9:18 AM - .olga Perez: Buenos días 🌞☀🖐
Arriba. A desayunar
Jajaja. Con esta lluviesita se antoja estar dormidos
5/28/23, 9:19 AM - .olga Perez: <Media omitted>
5/28/23, 9:22 AM - Hector Manager: Buenos días, que tengan un bendecido dia
compañeros
5/28/23, 9:24 AM - +1 (956) 510-5974: K tengan un excelente dia 🙏
5/28/23, 3:14 PM - Adan: Ya. Saben. Q. Del.   ias. Ba cambiar. Nombre. Porai. Supe
no. Se. Será berdad
5/28/23, 6:43 PM - +1 (956) 313-8224: STK-20230528-WA0001.webp (file attached)
5/28/23, 6:44 PM - +1 (956) 598-3675: <Media omitted>
5/28/23, 6:44 PM - +1 (956) 598-3675: Puro ver peliculas
5/29/23, 12:24 PM - .olga Perez: good morning everyone, blessings and have a great
day
5/29/23, 12:27 PM - +1 (956) 598-3675: Good morning , have a great day
5/29/23, 12:29 PM - +1 (956) 313-8224: STK-20230529-WA0001.webp (file attached)
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5/29/23, 1:23 PM - +1 (956) 598-3675: https://www.tiktok.com/t/ZTRoNnQhf/?t=2
5/29/23, 1:25 PM - +1 (956) 732-2011: compañeros alguien save d algun trabajo
5/29/23, 1:29 PM - Ofelia: Edis tacos estan contratando
5/29/23, 1:56 PM - +1 (956) 732-2011: ofelia en cual
5/29/23, 2:08 PM - Ofelia: Tienes k ir aplicar al d la nolana y jacson y ahi t
mandam adonde esten nesesitando
5/30/23, 11:41 AM - .olga Perez: Hola. Buenos días
5/30/23, 11:42 AM - +1 (956) 510-5974: Buenos dias como estan todos
5/30/23, 11:43 AM - +1 (956) 510-9964: Bien
5/30/23, 11:43 AM - +1 (956) 510-9964: Acabo de hablar cn el abogado
5/30/23, 11:44 AM - +1 (956) 609-0308: Buenos días
5/30/23, 11:44 AM - +1 (956) 510-9964: No han contestado, solo sabe qe si recibieron
la carta, porque una fue certificada
5/30/23, 11:45 AM - +1 (956) 313-8224: STK-20230530-WA0000.webp (file attached)
5/30/23, 2:25 PM - +1 (956) 598-3675: <Media omitted>
5/30/23, 2:54 PM - +1 (956) 600-0207: Con razón pedia otra cachucha y me decían que
ya no Ania
5/30/23, 2:54 PM - +1 (956) 598-3675: Y le regale al guacho 2
5/30/23, 2:55 PM - +1 (956) 600-0207: Yo ayer tire la mia Ala basura donde pertenece
5/30/23, 2:55 PM - +1 (956) 598-3675: Yo las boy a vender en la pulga
5/30/23, 2:56 PM - +1 (956) 600-0207: A 3 por 1
5/30/23, 2:56 PM - +1 (956) 598-3675: Si
5/30/23, 3:05 PM - +1 (956) 715-4571: 😄
5/30/23, 3:30 PM - +1 (956) 313-8224: STK-20230530-WA0002.webp (file attached)
5/30/23, 3:32 PM - +1 (956) 598-3675: <Media omitted>
5/30/23, 3:37 PM - +1 (956) 598-3675: <Media omitted>
5/30/23, 4:20 PM - +1 (956) 600-0207: Jajajaajajajaj
5/30/23, 4:20 PM - +1 (956) 600-0207: No mns Elias
5/30/23, 4:25 PM - +1 (956) 510-5974: Oigan en k tienda era eso como trabajan 😃
5/30/23, 4:26 PM - +1 (956) 598-3675: La 10
5/30/23, 4:26 PM - +1 (956) 252-9033: No
5/30/23, 4:26 PM - Rosendo: Me imagino q eran los dias de diciembre.
5/30/23, 4:26 PM - +1 (956) 252-9033: Misión
5/30/23, 4:26 PM - Rosendo: Era en pandemia
5/30/23, 4:26 PM - Rosendo: Por los cubrebocas
5/30/23, 4:27 PM - +1 (956) 598-3675: Si en diciembre mcallen
5/30/23, 9:19 PM - Ofelia: 😂😂nadamas los bonitos recuerdos quedaron
5/31/23, 10:17 PM - +1 (956) 598-3675: https://www.tiktok.com/t/ZTRoDWSnV/?t=2
6/1/23, 3:23 PM - .olga Perez: Hola chicos
6/1/23, 3:23 PM - .olga Perez: Buena tarde
6/1/23, 3:23 PM - Hector Manager:    ♂
6/1/23, 3:27 PM - +1 (956) 510-5974: Buenas tardes
6/1/23, 3:27 PM - +1 (956) 313-8224: STK-20230601-WA0001.webp (file attached)
6/1/23, 3:36 PM - +1 (956) 598-3675: <Media omitted>
6/1/23, 4:09 PM - +1 (956) 600-0207: <Media omitted>
Aquí están contratando
6/1/23, 4:09 PM - +1 (956) 598-3675: Ya les calo el trabago
6/1/23, 4:09 PM - +1 (956) 510-5974: 😂👍
6/1/23, 4:10 PM - +1 (956) 313-8224: se los va a cargar el 🤡🤡🤡🤡🤡🤡🤡🤡🤡
6/1/23, 4:10 PM - +1 (956) 313-8224: mas bien se los esta cargando el 🤡🤡🤡🤡🤡
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6/1/23, 4:11 PM - +1 (956) 600-0207: Yo creo Que si por que nunca avían puesto un
anuncio así en 10 años que estuve allí
6/1/23, 4:13 PM - +1 (956) 598-3675: <Media omitted>
6/1/23, 4:13 PM - +1 (956) 313-8224: yo les estbe disiendo por años pero como no era
idea de la pinche Sofia desia que no !!   ♂ ♂
6/2/23, 2:11 PM - .olga Perez: <Media omitted>
6/2/23, 2:14 PM - .olga Perez: <Media omitted>
6/2/23, 2:15 PM - .olga Perez: Hola, ya un mes de nuestra renuncia.      😂😂digo.
Nuestra salida.
6/2/23, 2:17 PM - +1 (956) 598-3675: https://www.tiktok.com/t/ZTRo9jBHM/
6/2/23, 2:40 PM - +1 (956) 510-5974: Buenas tardes animo 👍🙏
6/2/23, 2:46 PM - +1 (956) 598-3675: https://www.tiktok.com/t/ZTRo9jAcs/
6/2/23, 2:48 PM - +1 (956) 313-8224: STK-20230602-WA0006.webp (file attached)
6/2/23, 5:49 PM - Hector Manager: This message was deleted
6/3/23, 10:33 AM - .olga Perez: Good morning
Buen sábado, <This message was edited>
6/3/23, 10:34 AM - +1 (956) 313-8224: STK-20230603-WA0001.webp (file attached)
6/3/23, 10:35 AM - +1 (956) 510-5974: Hola buenos dias
6/3/23, 11:29 AM - +1 (956) 598-3675: <Media omitted>
6/4/23, 11:27 AM - +1 (956) 313-8224: STK-20230528-WA0001.webp (file attached)
6/4/23, 11:29 AM - +1 (956) 598-3675: <Media omitted>
6/4/23, 12:01 PM - .olga Perez: Good day
6/4/23, 12:02 PM - .olga Perez: <Media omitted>
6/4/23, 12:05 PM - Ofelia: Hola buenos dias
6/4/23, 5:37 PM - +1 (956) 609-0308: SABÍAN QUE SI DELIAS CAMBIA DE NOMBRE
LA DEMANDA NO PROSEDE
6/4/23, 5:37 PM - +1 (956) 609-0308: INFÓRMENSE
6/4/23, 5:50 PM - +1 (956) 510-9964: ??
6/4/23, 5:50 PM - Hector Manager: Son diferentes casos, la demanda se metio cuando
fue Delias, si el negocio cambia de nombre una de las rasones es por banca rota y si
eso pasa los inmuebles pagan
6/4/23, 5:51 PM - +1 (956) 609-0308: Ay que presionar al abogado ir averlo
6/4/23, 5:52 PM - +1 (956) 313-8224: tienes razon ahi que ir todos
6/4/23, 5:52 PM - +1 (956) 609-0308: Nesecitamos movernos urg
6/4/23, 5:55 PM - Hector Manager: Pero de donde sacaron que van a cambiar el nombre?
6/4/23, 5:55 PM - Hector Manager: Yo no he visto nada y ya busque
6/4/23, 5:55 PM - +1 (956) 252-9033: Ya lo están anunciando
6/4/23, 5:55 PM - +1 (956) 252-9033: El cambio de nombre
6/4/23, 5:56 PM - +1 (956) 609-0308: El abogado dise que se quiere esperar un mes
para respuestas por la carta que mando
6/4/23, 5:56 PM - +1 (956) 609-0308: Mejor que meta la demanda de una vez
6/4/23, 5:56 PM - +1 (956) 609-0308: Ya
6/4/23, 5:57 PM - +1 (956) 510-9964: Eso sii
6/4/23, 5:57 PM - +1 (956) 609-0308: Los que puedan ir averlo mañana
6/4/23, 5:58 PM - +1 (956) 609-0308: Para que meta la demanda
6/4/23, 5:58 PM - +1 (956) 609-0308: Ahora que todavía sellama DELIAS
6/4/23, 5:59 PM - +1 (956) 510-9964: Pues quien pueda ir
6/4/23, 6:00 PM - +1 (956) 510-9964: Haga el comentario
6/4/23, 6:00 PM - +1 (956) 510-9964: Haber el que aconseja
6/4/23, 6:14 PM - Rosendo: Acuerdense dijo q eran 30 dias para q contestaran la
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demanda la empresa apenas van hacer 2 semanas, si no contestaban en 30 dias, se iba
a ir a federal la demanda y podria tardar meses.
6/4/23, 6:15 PM - +1 (956) 609-0308: Es mejor que lo aga federal
Antes que sea demasiado
Tarde
6/4/23, 6:38 PM - Ofelia: Mele yo able con el el viernes y dijo k todavia no
contestaban pero m dijo lo k dice Rosendo k tenemos k esperar los 30 dias k dice y
si no se mete la demanda y ni importa el tiempo k pase para poder ponerla
6/4/23, 6:39 PM - +1 (956) 609-0308: Pero si se declara en banca rota o cambia de
nombre antes ya valimos
6/4/23, 6:47 PM - Ofelia: No porque ellos tienen propiedades y se agarran d ahi
6/4/23, 6:53 PM - +1 (956) 313-8224: STK-20230604-WA0002.webp (file attached)
6/4/23, 7:07 PM - Ofelia: Don Armado verda k si
6/4/23, 7:13 PM - +1 (956) 313-8224: asi es !!
6/4/23, 7:32 PM - +1 (956) 600-0207: Acuérdense que las propiedades se cambian de
nombre y estamos demandando a delias no alas hijas y no creo que cambie de nombre si
no lo cambio cuando debió averlo cambiado menos ahora esa es mi opinión
6/4/23, 7:33 PM - Hector Manager: Los restaurantes no estan a nombre de ellas
6/4/23, 7:33 PM - Hector Manager: Estan a nombre de Delias
6/4/23, 7:33 PM - Hector Manager: Hay que relajarse
6/4/23, 7:35 PM - Ofelia: Asi es hector ahi k tener mucha Fe dios va estar con
nosotros y no hay k desanimarnos y mientras estemos unidos
6/4/23, 7:36 PM - +1 (956) 438-6958: Yo pienso lo mismo recuerden que una demanda no
se gana en un día eso son meses y de la noche a la mañana no lo van a cambiar solo
por miedo a una demanda ellos preferirían pagar más que hacer eso además Delias ya
es conocido así desde muchos años no creo que 😦 piensen en eso que innoven es otra
cosa en cuestiones de colores
6/4/23, 8:10 PM - +1 (956) 609-0308: Alo mejor el abogado de ellos les aconsejo que
cambien de nombre
Pos como somos muchos lo que demandamos
6/4/23, 8:10 PM - +1 (956) 609-0308: O que opinan
6/4/23, 8:15 PM - .olga Perez: Hola chicos. Y chicas      Yo creo que tengamos
trankilidad, y esperemos. Aver Que pasa,
Si le cambian Ono !!!el nombre eso, es otro rollo,
La demanda, la debieron Aver resibido, dos semana después de que salimos, así que ,
no creo que cambiaran solo por eso,!! Pues tal vez no se imaginaron que aria
Os algo!!!!
6/4/23, 8:17 PM - .olga Perez: Asi que. Pues, solo esperemos , asta que contesten,
Y cómo disen puede tardar un mes o meses , pero abra respuesta , eso es seguro.
6/5/23, 4:02 AM - +1 (956) 438-6958:
6/5/23, 4:04 PM - .olga Perez: <Media omitted>
6/5/23, 5:20 PM - +1 (956) 313-8224: STK-20230529-WA0001.webp (file attached)
6/5/23, 5:21 PM - +1 (956) 510-5974: 🙏👍
6/5/23, 5:30 PM - +1 (956) 356-0451:    todo saldrá bien primero Dios
6/7/23, 5:45 PM - .olga Perez: Adonde. Están todos.
No, se vio nadie hoy buena tarde gente,
6/7/23, 5:45 PM - +1 (956) 715-4571: R
6/7/23, 5:46 PM - +1 (956) 598-3675: Yo boy saliendo de trabajar
6/7/23, 6:25 PM - +1 (956) 313-8224: STK-20230607-WA0002.webp (file attached)
6/7/23, 6:26 PM - +1 (956) 510-9964: Alguien le dijo al Abogado, lo del supuesto
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cambio de nombre de Delias?
6/7/23, 6:26 PM - +1 (956) 510-9964: U ah hablado con el?
6/7/23, 6:26 PM - +1 (956) 715-4571: Veo esto muy FRÍO 🥶
6/7/23, 6:27 PM - +1 (956) 715-4571: Lastima de mis $600 😄
6/7/23, 6:27 PM - +1 (956) 510-9964: Ya sw
6/7/23, 6:27 PM - +1 (956) 510-9964: Se
6/7/23, 6:27 PM - +1 (956) 715-4571: Tenemos k ponernos d acuerdo un día cuando
puedamos ir la mayoria asus oficinas
6/7/23, 6:27 PM - +1 (956) 715-4571: Y ver k honda que a pasado
6/7/23, 6:27 PM - +1 (956) 510-9964: Se me hace muy raro q Delgar no conteste
6/7/23, 6:27 PM - +1 (956) 510-9964: Yo puedo Martes
6/7/23, 6:28 PM - +1 (956) 715-4571: Para ponerle un pokito d aprecion
6/7/23, 6:28 PM - +1 (956) 510-9964: Uh después de las 3 pm
6/7/23, 6:28 PM - +1 (956) 715-4571: K vea k nos interesa
6/7/23, 6:28 PM - +1 (956) 715-4571: X k si lo dejamos así como vamos 🤨
6/7/23, 6:28 PM - +1 (956) 715-4571: Nomas no llegaremos a NADA
6/7/23, 6:29 PM - +1 (956) 510-9964: Así es
6/7/23, 6:29 PM - +1 (956) 510-9964: Yo le hable la semana pasada
6/7/23, 6:29 PM - +1 (956) 510-9964: Y aun nada
6/7/23, 6:30 PM - +1 (956) 313-8224: nomas digan dia y hora y vamos con ese hijo de
su 🤬🤬🤬🤬🤬🤬
6/7/23, 6:30 PM - +1 (956) 313-8224: STK-20230607-WA0003.webp (file attached)
6/7/23, 6:30 PM - +1 (956) 715-4571: Ir y preguntarle aver abogado que sigue!!!
6/7/23, 6:30 PM - +1 (956) 715-4571: Que vea la intención d nosotros como tiene
MUCHOS casos
6/7/23, 6:30 PM - +1 (956) 715-4571: Pues ntre menos le pongamos precion
6/7/23, 6:30 PM - +1 (956) 715-4571: Pues NUNCA ara nada
6/7/23, 6:31 PM - +1 (956) 510-9964: Tranquilo, podemos ir y preguntar, yonle hable
la semana antepasada
6/7/23, 6:31 PM - +1 (956) 510-9964: Pero ustedes saben qe son 30 dias
6/7/23, 6:31 PM - Hector Manager: Si y apenas vam 15
6/7/23, 6:32 PM - Hector Manager: Usyedes creen que los abogados de delias van
actuar como asuatados y responder lo mas pronto posible
6/7/23, 6:32 PM - Hector Manager: Ellos van a pelear como gatos boca arriba y van a
querer alargar lo mas posible
6/7/23, 6:33 PM - +1 (956) 510-9964: Así es
6/7/23, 6:34 PM - +1 (956) 313-8224: exactamente!!
6/7/23, 6:35 PM - Hector Manager: No hay que entrar en desesperacion, creo que todos
sabiamos que esto es largo y el que es porque no escucho
6/7/23, 6:36 PM - +1 (775) 507-1717: Correcto.
6/7/23, 6:37 PM - Hector Manager: Bien dice el viejo y conocido refran el que nace
para tamal se lo lleva la corriente
6/7/23, 6:37 PM - Hector Manager: Ahh no verdad
6/7/23, 6:37 PM - Hector Manager: La idea es esa
6/7/23, 6:37 PM - Hector Manager: 🤣🤣🤣
6/7/23, 6:37 PM - +1 (775) 507-1717: 👍
6/7/23, 6:38 PM - +1 (956) 510-5974: 😂😂
6/7/23, 6:41 PM - +1 (956) 510-9964: null
6/7/23, 6:41 PM - +1 (956) 510-9964: Pues yo ya voi a empezar mi negocio
6/7/23, 6:41 PM - +1 (956) 510-9964: Cuantos van a qerer
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6/7/23, 6:41 PM - +1 (956) 510-9964: 😅
6/7/23, 6:45 PM - .olga Perez: Jajajaja tranquilos. Mi gente
Todavía falta como dos semanas, ya que terminen las dos semanas, entonces ya nos
bamos a preguntarle
Al abogado no creen?😁😁
6/7/23, 6:46 PM - .olga Perez: Y entonces bamos todos
6/7/23, 6:46 PM - Hector Manager: Asi es
6/7/23, 6:47 PM - +1 (956) 313-8224: STK-20230607-WA0004.webp (file attached)
6/7/23, 6:48 PM - +1 (956) 510-5974: Pero tambien hay precionar al abogado para k
ves k nos interesa
6/7/23, 6:56 PM - .olga Perez: Sip ,cada uno le puede llamar,    Es sugerencia pero
pues creo que terminando las semanas ,que faltan pues ya . Entonces ya todos nos
reunimos y vamos. Aver Que susede, o acontece,y ya depende lo que nos diga. Pues .
Actuamos no creen?? Por ahora no hay respuesta y asta que. Ellos quieran van a
contestar , pues eso mismo nos va a desir el abogado..
6/7/23, 6:57 PM - .olga Perez: Up’s. Eso creó yo!!!!!!!!!
6/7/23, 9:26 PM - +1 (956) 609-0308: De que puerco 🐖
6/7/23, 9:27 PM - +1 (956) 609-0308: A cómo
6/7/23, 9:31 PM - +1 (956) 510-9964: Puerco y camaron
6/8/23, 5:16 PM - +1 (956) 510-9964: A alguien le ah caido
6/8/23, 5:16 PM - +1 (956) 510-9964: Correspondencia
6/8/23, 5:16 PM - +1 (956) 510-9964: De delias
6/8/23, 5:16 PM - +1 (956) 510-9964: A su casa
6/8/23, 5:16 PM - +1 (956) 510-9964: ?
6/8/23, 5:17 PM - +1 (956) 598-3675: No
6/8/23, 5:17 PM - +1 (956) 510-9964: <Media omitted>
6/8/23, 5:18 PM - +1 (956) 510-9964: Andan mandando los talones de cheque
6/8/23, 5:19 PM - +1 (956) 598-3675: Ok los de direc deposit
6/8/23, 5:20 PM - +1 (956) 510-9964: Aja
6/8/23, 5:20 PM - +1 (956) 600-0207: Para que
6/8/23, 5:20 PM - +1 (956) 510-9964: No lo se
6/8/23, 5:21 PM - +1 (956) 600-0207: Yo pensé que ya eran los chekes ya me lo quiero
ir a gastar jajaja
6/8/23, 5:21 PM - +1 (956) 510-9964: Tanta amabilidad de su parte, no creen
6/8/23, 5:22 PM - +1 (956) 600-0207: Esta raro
6/8/23, 5:23 PM - +1 (956) 600-0207: Sera Que Que ya van a ceder o Que
6/8/23, 5:24 PM - +1 (956) 510-9964: Tienen hasta el día 20
6/8/23, 5:24 PM - +1 (956) 510-9964: Dice el Abogado. Estoy hablando con el
6/8/23, 5:25 PM - +1 (956) 600-0207: Ok y que dice el abogado de lo que te mando
delias para que es
6/8/23, 5:25 PM - +1 (956) 510-9964: Y lo qe muchos decían, de q si cambian de
Nombre (Razón social) igual se demanda
6/8/23, 5:26 PM - +1 (956) 510-9964: Por qe están queriendo cubrir el otro nombre,
osea q x dnd le busquen ellos igual podemos
6/8/23, 5:26 PM - +1 (956) 510-9964: Ganar
6/8/23, 5:27 PM - +1 (956) 510-9964: Si el dia 20 no hay respuesta el día 21 se va
la Demanda Pública
6/8/23, 5:27 PM - +1 (956) 510-9964: Y haber quien se apunta para ir a Telemundo
6/8/23, 5:28 PM - Hector Manager: Dijo el abogado?
6/8/23, 5:28 PM - +1 (956) 510-9964: Siii
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6/8/23, 5:28 PM - +1 (956) 510-9964: Acabo de colgar con el
6/8/23, 5:29 PM - +1 (956) 510-9964: Tu que opinas @19568009450 de q están enviando
los talones de cheques
6/8/23, 5:29 PM - Hector Manager: Esto lo hacen los negocios para borrar los records
de demandas nuevo nombre cero demandas
6/8/23, 5:29 PM - Hector Manager: Lonque pasa es que las aseguradoras te cobran
mucho si eres muy demandado
6/8/23, 5:30 PM - +1 (956) 252-9033: Yo voy pero puedo después de las tres
6/8/23, 5:30 PM - Hector Manager: Es algo normal lo han echo con gente que se va y
no recoge algun talon olvidado
6/8/23, 5:30 PM - +1 (956) 510-9964: Pues será que van a ceder?
6/8/23, 5:31 PM - Hector Manager: Sabemos que no les gusta ser foco de atencion
6/8/23, 5:31 PM - +1 (956) 510-9964: Así es
6/8/23, 5:31 PM - +1 (956) 510-9964: Tienen 12 días nada más,
6/8/23, 5:32 PM - Rosendo: A todo los exempleados, les envian los talones de cheques
pendientes por entregar, la w2, es normal q lo envien
6/8/23, 5:33 PM - +1 (956) 600-0207: Pero pues cada vez que pagan te dan los talones
por que enviártelos otra vez si nosotros ya los tenemos
6/8/23, 5:33 PM - Hector Manager: Ya lo abriste?
6/8/23, 5:34 PM - +1 (956) 510-9964: Es un talon de mayo
6/8/23, 5:34 PM - +1 (956) 510-9964: 😅
6/8/23, 5:34 PM - Rosendo: Se le s envia a los q no lo recogieron.
6/8/23, 5:34 PM - +1 (956) 600-0207: Ok
6/9/23, 1:00 PM - +1 (956) 313-8224: <Media omitted>
Viernesss ...... y el cuerpo lo sabe ...... 🙃
6/9/23, 1:00 PM - +1 (956) 313-8224: STK-20230524-WA0000.webp (file attached)
6/9/23, 2:14 PM - +1 (956) 598-3675: <Media omitted>
6/9/23, 2:16 PM - .olga Perez: Buenas tardes 💁♀
6/11/23, 9:12 AM - .olga Perez: <Media omitted>
6/11/23, 9:14 AM - Hector Manager: STK-20230611-WA0001.webp (file attached)
6/11/23, 9:14 AM - Hector Manager: Gur morning
6/11/23, 9:15 AM - +1 (956) 510-5974: Hola buenos dias a todos
6/11/23, 9:18 AM - +1 (956) 598-3675: <Media omitted>
6/11/23, 10:18 AM - +1 (956) 313-8224: STK-20230611-WA0002.webp (file attached)
6/12/23, 11:11 AM - Ofelia: Buenos dias a todo el grupo
6/12/23, 11:12 AM - Rosendo: Buen dia.
6/12/23, 11:12 AM - Hector Manager: Buenos dias
6/12/23, 11:13 AM - Ofelia: Acabo d ablar con valde y ya estan preparando la demanda
para ka otra semana por si no hay respuesta esta semana para k sepan
6/12/23, 11:13 AM - Hector Manager: Excelente
6/12/23, 11:13 AM - +1 (956) 609-0308: Excelente
6/12/23, 11:13 AM - Ofelia: Pueden ablarle para para saber
6/12/23, 11:14 AM - +1 (956) 356-0451: Ok gracias
6/12/23, 11:14 AM - +1 (775) 507-1717: Gracias 👍.
6/12/23, 11:15 AM - Ofelia: Y ahi k confiar en dios k todo va salir bien y sabemos k
alamejor va tardar no ahi k desesperarnos vamos a tener mucha Fe
6/12/23, 11:16 AM - Hector Manager: Primero Dios asi sera
6/12/23, 11:17 AM - +1 (956) 313-8224: STK-20230526-WA0002.webp (file attached)
6/12/23, 11:17 AM - +1 (956) 313-8224: STK-20230529-WA0001.webp (file attached)
6/12/23, 11:19 AM - +1 (956) 598-3675: <Media omitted>
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6/12/23, 11:44 AM - +1 (956) 510-5974: Hola a todos buenos dias vendiciones 🙏🙏
6/12/23, 1:38 PM - +1 (956) 732-2011: 👍
6/12/23, 2:46 PM - .olga Perez: Ok.   Está bien,
Que tengan buen día 🌞🌞☀☀☀☀
6/12/23, 3:13 PM - .olga Perez: Ho, también para tener quien, están, adentro por si
preguntan los abogados, o nos pregunten a nos otros,
Los nombres de las que se quedaron, adentro
6/12/23, 5:42 PM - +1 (956) 438-6958:   🙏
6/12/23, 5:51 PM - +1 (956) 313-8224:
6/13/23, 9:55 AM - .olga Perez: Buenos. Días. A todos. ☀🌞☀🌞☀
6/13/23, 9:56 AM - +1 (956) 598-3675: <Media omitted>
6/13/23, 9:58 AM - +1 (956) 313-8224: STK-20230613-WA0000.webp (file attached)
6/13/23, 9:59 AM - +1 (956) 732-2011: STK-20230613-WA0001.webp (file attached)
6/13/23, 11:26 AM - +1 (956) 510-5974: <Media omitted>
6/13/23, 5:20 PM - +1 (956) 313-8224: This message was deleted
6/13/23, 5:22 PM - +1 (956) 313-8224: Marvin Ceballos
Jose Enríquez
Alberto Cortez
Guadalupe guerrero
Graciela villa
Alejandro Alcalá
Maricela Cisneros
Jose torres
Bernardo Lara
Yesenia Lara
Marcos Méndez
Henry Martínez
Brandon Martínez
Guadalupe franco
Santiago Martínez
Pedro
6/13/23, 5:24 PM - Ofelia: K paso y esos
6/13/23, 5:24 PM - +1 (956) 356-0451: Buenas tardes eso que significa
6/13/23, 5:26 PM - +1 (956) 313-8224: Buenas tardes el abogado me pidio una lista de
todos los que estan en la misma condicion en la tienda de Pharr
6/13/23, 5:26 PM - Ofelia: A okey
6/13/23, 5:26 PM - +1 (956) 313-8224: de los que se vieron con el hoy se la podrian
dar por favor
6/13/23, 5:27 PM - +1 (956) 510-9964: ????
6/13/23, 5:30 PM - +1 (956) 510-9964: Se vieron con quien? Disculpe
6/13/23, 5:31 PM - +1 (956) 510-9964: Ya no entendí
6/13/23, 5:32 PM - Ofelia: Ya contestaron y valde queria a ablar para enseñarles la
hoja
6/13/23, 5:32 PM - +1 (956) 510-9964: Oki
6/13/23, 5:33 PM - +1 (956) 356-0451: Yo no estaba enterado de eso
6/13/23, 5:33 PM - +1 (956) 313-8224: con el abogado
6/13/23, 5:33 PM - Ofelia: Apenas fue ase rato alas 5
6/13/23, 5:34 PM - Ofelia: Fue algo rápido
6/13/23, 5:34 PM - +1 (956) 356-0451: Que bien
6/13/23, 5:34 PM - +1 (956) 356-0451: Esperemos alguna respuesta positiva
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6/13/23, 5:35 PM - Ofelia: Alrato van a poner aber k dijieron yo no pude ir estába
trabajando
6/13/23, 5:35 PM - +1 (956) 600-0207: Gracia a dios ojala sea algo bueno
6/13/23, 5:35 PM - +1 (956) 609-0308: No entiendo
6/13/23, 5:38 PM - +1 (956) 356-0451: Bueno vamos a esperar a quien fue nos de
razón
6/13/23, 5:39 PM - .olga Perez: Listo ya le dije. Ya tiene la lista
6/13/23, 5:40 PM - +1 (956) 313-8224:
6/13/23, 5:41 PM - +1 (956) 313-8224: STK-20230613-WA0006.webp (file attached)
6/13/23, 5:41 PM - +1 (956) 356-0451: Esos nomas son los de pharr
6/13/23, 5:42 PM - +1 (956) 356-0451: Y los demás delias
6/13/23, 5:43 PM - .olga Perez: Los que tengan otros nombres que sepan que
realmente. Este igual. Pero se atan quedado . Trabajando
6/13/23, 5:43 PM - +1 (956) 609-0308: Apunten alos de producción
6/13/23, 5:43 PM - +1 (956) 609-0308: Ay chingos
6/13/23, 5:47 PM - +1 (956) 356-0451: Y a nosotros en qué nos beneficia que el
abogado sepa de ésas personas que están en la misma situación que nosotros...pero
que aún siguen en la empresa...los van a invitar a unirse a la demanda o se espera
que sean despedidos ?
6/13/23, 5:49 PM - .olga Perez: No, es solo para presionar. Y preguntar por qué te
despidieron a ti y ellos estando en la misma condición se quedaron. A trabajar. .
Es tener   Información para. El bien de la demanda
6/13/23, 5:49 PM - +1 (956) 609-0308: Me imagino es para poder pelar que no
corrieron atodos parejos
6/13/23, 5:50 PM - +1 (956) 609-0308: Pelear**
6/13/23, 5:50 PM - +1 (956) 609-0308: No fue parejo
6/13/23, 5:50 PM - +1 (956) 715-4571: ? Entonses ya contestaron y que dije la Hoja?
6/13/23, 5:51 PM - .olga Perez: Exacto
6/13/23, 5:51 PM - .olga Perez: Ya.
6/13/23, 5:51 PM - .olga Perez: Pues. Van a contestar
6/13/23, 5:51 PM - .olga Perez: Pues. En concreto. No dijeron nada
6/13/23, 6:42 PM - +1 (956) 600-0207: Entonces que ca a pasar
6/13/23, 6:56 PM - +1 (956) 252-9033: El abogado está pidiendo su w2 de cada uno
6/13/23, 6:56 PM - +1 (956) 252-9033: Lo pueden llevar a la oficina u enviarlo vía
email
6/13/23, 7:02 PM - +1 (956) 356-0451: Yo no tengo ninguna w2
6/13/23, 7:05 PM - +1 (956) 356-0451: Yo nunca declare impuestos y todas las 5 que
me llegaron las ronpi
6/13/23, 7:05 PM - +1 (956) 609-0308: Yo si declaré
6/13/23, 7:06 PM - +1 (956) 356-0451: Que bueno
6/13/23, 7:06 PM - +1 (956) 356-0451: El abogado ya sabe la situación de cada quién
ya que dijo que es individual
6/13/23, 7:06 PM - +1 (956) 356-0451: Gracias
6/13/23, 7:06 PM - +1 (956) 356-0451: Esta demanda es individual
6/13/23, 7:14 PM - +1 (956) 600-0207: Yo no tengo ninguna
6/13/23, 8:04 PM - Rosendo: De q año?
6/13/23, 8:15 PM - +1 (956) 252-9033: El que tengan nadamas balde quiere verlos
6/13/23, 8:16 PM - Rosendo: Ok
6/13/23, 10:03 PM - Adan: Pues yo tengo 15 años y nunca declare
6/14/23, 7:31 AM - +1 (956) 356-0451: Buenos dias
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6/14/23, 7:32 AM - +1 (956) 356-0451: Sabe alguien el correo electrónico del abogado
 ?
Porfavor
6/14/23, 8:21 AM - +1 (956) 609-0308: ALGUIEN SABE AQUE HORA HABRÉ VALDE
6/14/23, 9:43 AM - +1 (956) 313-8224: STK-20230614-WA0000.webp (file attached)
6/14/23, 9:43 AM - +1 (956) 313-8224: <Media omitted>
6/14/23, 10:26 AM - +1 (956) 609-0308: YA ENTREGUE LAS W2
6/14/23, 10:27 AM - +1 (956) 609-0308: Ai esta el abogado
6/15/23, 5:46 PM - Hector Manager: Compañeros buenas tardes
6/15/23, 5:46 PM - Hector Manager: Como van con los papeles que pidio el abogado
6/15/23, 5:46 PM - Hector Manager: Recuerden que la demanda es individual no
colectiva
6/15/23, 5:47 PM - +1 (956) 356-0451: Yo ya le mande los talones de paga de los 2
últimos meses
6/15/23, 5:47 PM - Hector Manager:
6/15/23, 5:48 PM - Hector Manager: No se queden afuera, nos va ir bien con el
permiso de Dios
6/15/23, 5:49 PM - +1 (956) 510-5974: Pero por k lo iso individual yo no eh hablado
con el abogado
6/15/23, 5:52 PM - +1 (956) 609-0308: Yo le lleve 3 w2
6/15/23, 5:53 PM - Hector Manager: Es la primera reunion dijo que era individual
porque todos tenemos diferentes trabajando ahi
6/15/23, 5:54 PM - +1 (956) 252-9033: No se trató individual sólo que no quería a
todos juntos nadamas quería 3 a 4 personas porq somos muchos
6/15/23, 5:54 PM - +1 (956) 252-9033: Y nadamas explicó lo que los abogados
respondieron
6/15/23, 5:55 PM - Rosendo: A mi ne dijo el abogado, q si no negociaban, en los 30
dias, entonces va a pedir las W2, para la demanda federal.
6/15/23, 5:56 PM - +1 (956) 252-9033: Y va a mandar otra carta y que más tardar 15
días a una semana va a esperar que contesten
6/15/23, 5:56 PM - +1 (956) 252-9033: Y sino quieren negociar entonces nos vamos ala
corte federal
6/15/23, 5:57 PM - +1 (956) 252-9033: Si pidió la w 2 pero no quería todos nadamas
quería ver una
6/15/23, 6:07 PM - +1 (956) 313-8224: yo se la mande a su correo y le marque para
avisarle!!
6/15/23, 6:09 PM - +1 (956) 598-3675: Yo hablé con el ayer y me dijo que la demanda
Hera individual   y que iba para largo
6/16/23, 5:13 PM - Hector Manager: https://www.tiktok.com/t/ZT81EGrxN/
6/16/23, 5:24 PM - +1 (956) 313-8224: hay que poner uno !!! 🤩🤩🤩🤩
6/16/23, 11:48 PM - .olga Perez: Hola.   Buena tarde. Cómo andan, ☀🌞☀🌞
6/17/23, 10:56 AM - +1 (956) 313-8224: This message was deleted
6/17/23, 11:10 AM - .olga Perez: <Media omitted>
6/17/23, 11:11 AM - +1 (956) 313-8224: STK-20230617-WA0002.webp (file attached)
6/17/23, 11:12 AM - Ofelia: Buenos dias a todos
6/18/23, 8:13 AM - Ofelia: Buenos días feliz dias a todos los papás del grupo k la
pasen bonito en su dia vendiciones
6/18/23, 9:00 AM - .olga Perez: <Media omitted>
6/18/23, 9:00 AM - Rosendo: Gracias.
6/18/23, 9:22 AM - +1 (956) 313-8224: Buenos dias muchas gracias!!
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6/22/23, 2:48 PM - .olga Perez: Buen día al grupo, 🌞🖐
6/22/23, 2:49 PM - +1 (956) 313-8224: STK-20230607-WA0002.webp (file attached)
6/22/23, 3:36 PM - +1 (956) 510-5974: Buenas tardes
6/22/23, 3:44 PM - +1 (956) 252-9033: Buenas tarde grupo
6/22/23, 3:45 PM - +1 (956) 252-9033: Acabo de ablar con el abogado dice que nos
metamos al seguro social con el número que trabajamos en delias aver si existe el
dinero que nos quitaron en el cheque
6/22/23, 3:47 PM - +1 (956) 252-9033: Porq ya contestaron los abogados y dijeron que
el dinero lo avían reportado al seguro asocial
6/22/23, 3:48 PM - +1 (956) 510-9964: 😮
6/22/23, 3:48 PM - +1 (956) 252-9033: El lunes va a ver reunión alas 4:30 en el
Denis de la Nolana no quiere mucha gente balde
6/22/23, 3:55 PM - +1 (956) 356-0451: Ok
6/22/23, 3:58 PM - +1 (956) 313-8224: ok
6/22/23, 4:05 PM - +1 (956) 438-6958: Ok
6/22/23, 4:05 PM - Adan: Ya. Empezaron. Tragedias los. Abogados
6/22/23, 4:06 PM - Hector Manager: Eso no es cierto porque el ss cada tiempo manda
un estado de.cuenta de tu retiro
6/22/23, 4:06 PM - +1 (956) 252-9033: No adan solo quiere q chequeo el abogado pero
el lunes ay reunión
6/22/23, 4:06 PM - Hector Manager: Y eso nunca llego
6/22/23, 4:07 PM - Hector Manager: Es mas Delias tiene que demostrar que si lo
mandaron
6/22/23, 4:07 PM - Hector Manager: De rato checo comiquieta
6/22/23, 4:07 PM - Hector Manager: Quiera
6/22/23, 4:08 PM - +1 (956) 252-9033: De echo sus abogados de delias ya no quiere
que le manden la demanda a ellos
6/22/23, 4:08 PM - +1 (956) 252-9033: This message was deleted
6/22/23, 4:08 PM - Ofelia: El abogado ya contesto dice k todo lo k nos quitaban esta
en el numero social k ellos mo se quedaron con nada
6/22/23, 4:10 PM - +1 (956) 600-0207: Entonces aquíen le van a mandar la demanda
6/22/23, 4:11 PM - Ofelia: Por eso valde quiere k nos metamos a ver si deveras estan
los numeros d nosotros y k tomemos copia y ed como ficen ellos k todo lo k nos
quitaron shi esta
6/22/23, 4:11 PM - +1 (956) 252-9033: A delias
6/22/23, 4:11 PM - +1 (956) 252-9033: Va ir directo a delias a ellos no
6/22/23, 4:13 PM - +1 (956) 600-0207: No pues esto va de mal empeor
6/22/23, 4:14 PM - Adan: Ya a deber comprado al abogado
6/22/23, 4:15 PM - Adan: Ay k resignarnos
6/22/23, 4:16 PM - +1 (956) 609-0308: Ya valió madres
6/22/23, 4:17 PM - +1 (956) 609-0308: Se acabó
6/22/23, 4:18 PM - +1 (956) 252-9033: Así no es vayan ala reunión para que les
expliquen bien
6/22/23, 4:18 PM - +1 (956) 313-8224: segun el abogado ami me dijo que si por ese
lado no se podia iba amenazar que checaria con migracion porque nadamas nos habian
despedido a nosotros siendo que la mayor parte de los empleados estaban en la misma
situacion que nosotros estabamos porque segun me dijo tambien que el trabaja casos
para migracion y conoce gente de ahi .
6/22/23, 4:18 PM - +1 (956) 252-9033: No se adelantes con sus comentarios
6/22/23, 4:18 PM - +1 (956) 252-9033: Adíes armando
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6/22/23, 4:20 PM - +1 (956) 252-9033: Pero el abogado no sea vendido adan solo los
abogados ya no quieren que les mande la demanda ahora se va air directo a delias
6/22/23, 4:21 PM - +1 (956) 313-8224: Por eso la ves que hablo conmigo por telefono
me pidio la lista de los que yo sabia que estaban en esa situacion .para asi el
poder desirles los nombres a delias con seguridad de que el estaba enterado de la
situacion de todos!
6/22/23, 4:23 PM - +1 (956) 313-8224: y si no vamos al 48 y les armamos un
desmadre!!! 🤬🤬🤬🤬
6/22/23, 4:24 PM - +1 (956) 313-8224: STK-20230607-WA0003.webp (file attached)
6/22/23, 4:25 PM - +1 (956) 252-9033: Vayan el lunes ala junta los que puedan el
lunes
6/22/23, 4:25 PM - Hector Manager: Los que han estado en situacionales legales
similares deben de saber que la parte demandada va inventar cualquier cosa con tal
de alargar lo mas que se pueda para crear desesperacion y tirar la toalla
6/22/23, 4:25 PM - .olga Perez: Mmmm me perdí
6/22/23, 4:26 PM - .olga Perez: Que. Paso? Solo era una reunión, el lunes????
6/22/23, 5:32 PM - +1 (956) 598-3675: No quiere a muchas el lunes es en grupo o
individual la demanda no entiendo
6/22/23, 5:44 PM - +1 (956) 600-0207: Hay que preguntar bien el lunes al abogado por
que esto se mira muy desalentador
6/22/23, 5:47 PM - +1 (956) 356-0451: Eso es lo que quieren ellos que nos
deseperemos no ay que bajar la guardia esperemos al lunes ok
6/22/23, 5:48 PM - Hector Manager: Asi es
6/22/23, 6:02 PM - .olga Perez: Yo pienso también que no se desespere nadie, que
todo asu tiempo tengamos paciencia. Y esto así es muy tardado. Y la empresa va a
luchar contra nosotros,
No van a desir si ya.,Ten No va a luchar asta el ultimo también los abogados de
nosotros, es un aver quien gana, pero no es imposible
Y de que ay caso., lo hay
Debemos estar tranquilos
6/23/23, 2:44 PM - +1 (956) 313-8224: STK-20230623-WA0001.webp (file attached)
6/23/23, 3:24 PM - .olga Perez: <Media omitted>
6/23/23, 3:24 PM - .olga Perez: Salu✌
6/23/23, 4:08 PM - +1 (956) 598-3675: <Media omitted>
6/25/23, 9:18 AM - .olga Perez: <Media omitted>
6/25/23, 9:40 AM - +1 (956) 510-5974: Buenos dias a todos
6/25/23, 11:56 AM - +1 (956) 313-8224: STK-20230528-WA0001.webp (file attached)
6/26/23, 9:55 AM - +1 (956) 356-0451: Buenos días compañeros
6/26/23, 9:55 AM - +1 (956) 356-0451: Quiénes irán a la junta ?
6/26/23, 9:56 AM - +1 (956) 598-3675: Yo
6/26/23, 9:56 AM - +1 (956) 600-0207: Pregunta todo Elias se va hacer o no
6/26/23, 10:26 AM - Adan: Bamos. Air. Todos. Oque. Entonces. Onde. Ba. Ser
6/26/23, 10:27 AM - +1 (956) 609-0308: Ala 4 en Dennis
6/26/23, 10:28 AM - +1 (956) 598-3675: La demanda es individual el interesado va ir
6/26/23, 10:28 AM - Adan: Ya. Esta. Grasias
6/26/23, 10:28 AM - +1 (956) 732-2011: en cual dennis
6/26/23, 10:30 AM - +1 (956) 600-0207: Y si es individual por que no quiere tanta
jente el que valla able por todos
6/26/23, 10:33 AM - +1 (956) 356-0451: Es individual la demanda. Pero la información
es grupal. Algunos trabajamos por la tarde y no podremos ir. Porfavor avísenos de
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lo que diga el abogado es importante para todos. Vamos apoyarnos
6/26/23, 10:46 AM - +1 (956) 313-8224: Buenos dias
6/26/23, 10:52 AM - +1 (956) 313-8224: direccion del Denny's ?
6/26/23, 11:37 AM - +1 (956) 356-0451: Denny's de la Nolana
6/26/23, 11:37 AM - +1 (956) 313-8224: gracias
6/26/23, 1:13 PM - .olga Perez: Buenos días 🌞☀
6/26/23, 3:15 PM - Hector Manager: Buenas tardes
6/26/23, 3:16 PM - Hector Manager: Alguien pudo verificar lo del ss
6/26/23, 3:16 PM - Hector Manager: Los que van ir a la reunion por favor diganle al
abogado, yo quise checar en el internet el ss pero me sale ereor
6/26/23, 3:18 PM - +1 (956) 598-3675: Es alas 4 o 430
6/26/23, 3:18 PM - Hector Manager: Error dice que la informacion que ingrese es
incorrecta o no existe
6/26/23, 3:19 PM - +1 (956) 510-9964: Así es
6/26/23, 3:19 PM - +1 (956) 510-9964: No deja
6/26/23, 3:20 PM - +1 (956) 600-0207: 4:00
6/26/23, 3:20 PM - +1 (956) 598-3675: Tu
6/26/23, 3:23 PM - +1 (956) 356-0451: 4:30
6/26/23, 3:23 PM - Hector Manager: Hablenle al abogado para estar seguros
6/26/23, 3:44 PM - Hector Manager: Yo cuando agarre el ss pedi que yo no queria el
numero de alguien mas, que me dieran uno ficticio
6/26/23, 3:45 PM - Hector Manager: Trabaje con el 8 años si en ese tiempo el seguro
fuera de alguien ya habria una inveatigacion por robo de identidad y no he tenido
nada de eso
6/26/23, 3:46 PM - +1 (956) 510-9964: Así es
6/26/23, 3:46 PM - +1 (956) 510-9964: X eso nunca vamos a poder sacar la información
qe necesitamos
6/26/23, 3:46 PM - Hector Manager: Los del Delias estan queriendo sacar cualquie
escusa para alargar esto y es normal pero al final Dios sabe que es lo correcto
6/26/23, 3:47 PM - +1 (956) 510-9964: Y si no existe, obvio que ese dinero se lo
quedo la empresa
6/26/23, 3:47 PM - +1 (956) 510-9964: Correcto!
6/26/23, 3:58 PM - +1 (956) 313-8224: exacto no hay de otra!
6/26/23, 3:59 PM - +1 (956) 715-4571: Nos informan que paso en la junta los que
fueron!!
6/26/23, 4:00 PM - +1 (956) 715-4571: Yo pienso que el abogado es el que tiene que
averiguar sobre los SS. Para eso le pagamos.. nosotros no tenemos x que andar
checando lodel SS..
6/26/23, 4:01 PM - +1 (956) 715-4571: Ai le RECALCAN eso en la JUNTA.
6/26/23, 4:01 PM - +1 (956) 510-9964: Hagan videollamada
6/26/23, 4:02 PM - +1 (956) 510-9964: Quien vaya
6/26/23, 4:02 PM - +1 (956) 510-9964: Xfa
6/26/23, 4:15 PM - +1 (956) 732-2011: ya hay alguien en el dennis?
6/26/23, 4:22 PM - +1 (956) 510-5974: Ak hora siempre
6/26/23, 4:23 PM - +1 (956) 510-5974: 4 30
6/26/23, 4:28 PM - Adan: Aveces. Pienso. Q el Bogado ya. Se. Bolton la. Moneda por
eso. Le. Pagamos para q el. Enbestige. Eso
6/26/23, 6:17 PM - +1 (956) 356-0451: Que fue lo que le dijo el abogado si alguien
tiene información
6/26/23, 8:19 PM - +1 (956) 600-0207: Quien está en el Denys
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6/26/23, 8:19 PM - +1 (956) 598-3675: <Media omitted>
6/26/23, 8:27 PM - .olga Perez: Creo, qué ya salimos.
Pues en resumen ,   Se enviará, la demanda. El fin de semana pues no hubo algún
arreglo , en este tiempo así que   Ahora. Va la real demanda
6/26/23, 8:31 PM - .olga Perez: Y   Los que puedan, meterse, social Security
 Pues. Para ver si tienen algún money. Pero sino pues par imprimirlo. Así adonde
dise k no pueden entrar.
6/26/23, 8:34 PM - .olga Perez: Por qué le dijeron que si. Estaba el dinero 💰
pero dise balde, que no !!!!que es mentira.
6/26/23, 8:36 PM - .olga Perez: Y que. Informará Conforme avance, todo. Y que no
se desesperen pues esto es muy Tardado. Pero. Posible
6/26/23, 8:41 PM - .olga Perez: Compañeros. También debemos tener , en cuenta Es.
Una Demanda Que No Es Cualquier Cosa, así que más que Nada Tener Paciencia.
Pues los que , Conosen de esto Saben que Tampoco se van A Dejar así como Así.
Verdad. La Empresa También se Va A defender asta El( Último )así que a Esperar.
Tranquilos… 😁😂 <This message was edited>
6/26/23, 8:48 PM - +1 (956) 510-9964: Así es
6/27/23, 1:15 AM - Hector Manager: https://www.tiktok.com/t/ZT8eJoGTB/
6/27/23, 6:08 AM - +1 (775) 507-1717: 🙏👍
6/27/23, 8:37 AM - +1 (956) 356-0451: <Media omitted>
6/27/23, 11:23 AM - +1 (956) 313-8224:
6/27/23, 11:23 AM - +1 (956) 313-8224: <Media omitted>
6/27/23, 11:26 AM - .olga Perez: Si 👍. Buen día para todos
☀☀
6/27/23, 11:29 AM - +1 (956) 598-3675: <Media omitted>
6/27/23, 11:31 AM - +1 (956) 510-5974: <Media omitted>
6/30/23, 1:37 PM - .olga Perez: Hola, Bendecido, dia
6/30/23, 1:50 PM - +1 (956) 313-8224: STK-20230630-WA0004.webp (file attached)
7/1/23, 9:56 AM - +1 (956) 313-8224: <Media omitted>
7/1/23, 9:57 AM - +1 (956) 598-3675: <Media omitted>
7/1/23, 11:02 AM - .olga Perez: <Media omitted>
7/1/23, 11:02 AM - .olga Perez: Jajajaja. Buen día
A todos
7/1/23, 5:18 PM - +1 (775) 507-1717: This message was deleted
7/1/23, 5:21 PM - +1 (956) 313-8224: STK-20230701-WA0006.webp (file attached)
7/2/23, 9:24 AM - .olga Perez: Buenos días
7/2/23, 9:24 AM - .olga Perez: <Media omitted>
7/2/23, 9:40 AM - +1 (956) 510-5974: Buenos dias bendiciones a todos feliz domingo
🙏🙏
7/2/23, 9:48 AM - +1 (956) 313-8224: STK-20230702-WA0003.webp (file attached)
7/2/23, 9:48 AM - +1 (956) 313-8224: STK-20230702-WA0004.webp (file attached)
7/2/23, 9:55 AM - Ofelia: Buenos dias grupo animo chicos
7/3/23, 11:01 AM - +1 (956) 313-8224: https://www.tiktok.com/t/ZT8eqSQ5N/
7/3/23, 12:45 PM - .olga Perez: <Media omitted>
7/4/23, 2:26 PM - .olga Perez: <Media omitted>
7/4/23, 2:28 PM - .olga Perez: <Media omitted>
7/4/23, 2:28 PM - .olga Perez: Jejeje
7/4/23, 2:28 PM - Hector Manager: No se porque hoy me siento mas Americano que nunca
7/4/23, 2:29 PM - .olga Perez: <Media omitted>
7/4/23, 2:34 PM - +1 (956) 313-8224: <Media omitted>
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7/6/23, 8:22 PM - .olga Perez: Hola grupo feliz tarde
7/6/23, 8:24 PM - Ofelia: Hola mija feliz tarde todavia no hay nada 🤣
7/6/23, 8:24 PM - +1 (956) 313-8224: STK-20230706-WA0004.webp (file attached)
7/6/23, 8:25 PM - +1 (956) 313-8224: STK-20230706-WA0005.webp (file attached)
7/7/23, 10:56 AM - +1 (956) 598-3675: https://www.tiktok.com/t/ZT8d8EokM/
7/9/23, 10:52 AM - .olga Perez: <Media omitted>
7/9/23, 10:53 AM - .olga Perez: <Media omitted>
7/9/23, 10:54 AM - Ofelia: Buenos días amiguis
7/9/23, 10:54 AM - .olga Perez: Hola amiguis
7/9/23, 11:56 AM - +1 (956) 313-8224: STK-20230702-WA0004.webp (file attached)
7/9/23, 5:17 PM - +1 (956) 510-5974: Buenas tardes a todos
7/9/23, 5:18 PM - +1 (956) 313-8224: STK-20230709-WA0006.webp (file attached)
7/9/23, 5:18 PM - +1 (956) 356-0451: Buenas tardes 🥩🍺
7/9/23, 5:19 PM - +1 (956) 313-8224: 🍻🍻🍻
7/11/23, 1:40 PM - +1 (956) 356-0451: Buenas tardes Bendecida semana Dios Proveerá
no lo olvidemos 🙏 Amén!!!
7/11/23, 1:46 PM - .olga Perez: Hola buen. Día para todos 🥹
7/11/23, 1:46 PM - +1 (956) 313-8224: STK-20230711-WA0004.webp (file attached)
7/11/23, 2:23 PM - +1 (956) 715-4571: Y como va todo esto? Alguna novedad? Siempre
en que quedamos? Con lodel SSC
7/11/23, 2:23 PM - +1 (956) 715-4571: O se está Peliando por otro Lado?
7/11/23, 2:28 PM - +1 (956) 510-5974: Buenas trades k saben de la demanda si le
mandaron
7/11/23, 2:48 PM - +1 (956) 356-0451: No sé nada aún
7/11/23, 2:48 PM - +1 (956) 356-0451: Alguien sabe ?
7/11/23, 2:50 PM - +1 (956) 715-4571: Ya perdimos? De plano?
7/11/23, 2:51 PM - Hector Manager: Has hablado con el abogado?
7/11/23, 2:51 PM - +1 (956) 598-3675: Tu no has hablado
7/11/23, 2:51 PM - +1 (956) 715-4571: Nada desd k le pague...
7/11/23, 2:51 PM - Hector Manager: 😑
7/11/23, 2:52 PM - +1 (956) 715-4571: Nomas m marco pero para Cobrar... 😂 ya d ai
no supe nada
7/11/23, 2:52 PM - +1 (956) 598-3675: Todo bien pide hablar con valde
7/11/23, 2:54 PM - +1 (956) 715-4571: Bueno aver k dia le marco para que me de una
Update. Por que si ando bien perdido.
7/11/23, 6:35 PM - +1 (956) 598-3675: This message was deleted
7/11/23, 6:36 PM - +1 (956) 598-3675: This message was deleted
7/11/23, 6:52 PM - +1 (956) 438-6958: STK-20230701-WA0006.webp (file attached)
7/14/23, 9:49 AM - +1 (956) 313-8224: <Media omitted>
7/14/23, 10:02 AM - .olga Perez: <Media omitted>
7/14/23, 10:18 AM - +1 (956) 510-5974: Buenos dias
7/14/23, 12:26 PM - +1 (956) 313-8224: <Media omitted>
7/14/23, 12:54 PM - +1 (956) 598-3675: Pero llega en la mañana o en la tarde
7/14/23, 12:59 PM - +1 (956) 313-8224: STK-20230714-WA0008.webp (file attached)
7/14/23, 1:00 PM - +1 (956) 600-0207: Donde mero vine aqui lo espero
7/14/23, 1:02 PM - +1 (956) 313-8224: STK-20230714-WA0009.webp (file attached)
7/14/23, 1:53 PM - .olga Perez: <Media omitted>
7/14/23, 4:31 PM - +1 (956) 313-8224: <Media omitted>
7/14/23, 4:50 PM - +1 (956) 598-3675: STK-20230714-WA0016.webp (file attached)
7/14/23, 9:22 PM - Hector Manager: https://www.tiktok.com/t/ZT8dELGor/
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Dios los bendiga compañeros
7/14/23, 9:27 PM - +1 (956) 732-2011: igualmente
7/14/23, 9:28 PM - +1 (956) 356-0451: Amén
7/14/23, 9:50 PM - +1 (956) 313-8224:
7/15/23, 11:32 AM - Hector Manager: https://www.tiktok.com/t/ZT8RJJVoB/
7/15/23, 11:35 AM - +1 (956) 313-8224: STK-20230715-WA0001.webp (file attached)
7/15/23, 11:35 AM - +1 (956) 313-8224: STK-20230715-WA0002.webp (file attached)
7/16/23, 2:07 PM - .olga Perez: <Media omitted>
7/16/23, 3:16 PM - +1 (956) 313-8224: STK-20230716-WA0003.webp (file attached)
7/17/23, 1:40 PM - .olga Perez: <Media omitted>
7/17/23, 3:16 PM - +1 (956) 313-8224: STK-20230601-WA0001.webp (file attached)
7/19/23, 12:31 PM - .olga Perez: Hola buenos días
7/19/23, 12:36 PM - .olga Perez: Cómo están?? Creo que, Ya Es hora de que le,
Marquemos al Abogado o a balde, para saber que ha pasado,    Que información nos
tiene, y que vea que estamos al pendiente , todos, pues cada uno de nosotros ,
llamar y preguntar ,
7/19/23, 1:25 PM - +1 (956) 510-9964: Ya le marqe
7/19/23, 1:25 PM - +1 (956) 510-9964: Hoy x la mañana
7/19/23, 1:26 PM - +1 (956) 598-3675: Y que te digo
7/19/23, 1:26 PM - +1 (956) 510-9964: Espera
7/19/23, 1:29 PM - +1 (956) 313-8224: STK-20230719-WA0003.webp (file attached)
7/19/23, 1:37 PM - +1 (956) 510-9964: Dijo q ya emvio la carta
7/19/23, 1:38 PM - +1 (956) 510-9964: Qe tenemos q esperar 20 días para q haya
respuesta
7/19/23, 1:38 PM - +1 (956) 510-9964: De lo contrario los van a citar a Corte
7/19/23, 1:38 PM - +1 (956) 609-0308: Gracias gaby
7/19/23, 1:38 PM - .olga Perez: También marque.
Dijo los Mismo,
Pero los que faltan sigan marcando para que se vea el interés ,
7/19/23, 1:39 PM - +1 (956) 609-0308: Pos nos vamos a corte
7/19/23, 1:39 PM - .olga Perez: Si. Ya está en eso!!!
7/19/23, 1:39 PM - +1 (956) 609-0308: Para decirles que trabajábamos hast 16 horas
corridas
7/19/23, 1:39 PM - +1 (956) 510-9964: Obviamente al ver la demanda federal, puede q
el abogado de Delias, quiera llegar a un arreglo para no ir a corte
7/19/23, 1:42 PM - +1 (956) 313-8224:
7/28/23, 6:46 PM - Hector Manager: https://www.tiktok.com/t/ZT889E7dX/
7/30/23, 6:35 PM - .olga Perez: Good. Afternoon
7/30/23, 6:35 PM - .olga Perez: STK-20230526-WA0001.webp (file attached)
8/2/23, 6:13 PM - .olga Perez: Hola. Grupo. Cómo están. Cómo. Sigue el caso alguien
ya. A    Llamado al abogado? ?? Bueno. Yo todavía no
8/3/23, 9:40 AM - +1 (956) 685-2140: Yo pase solo me dijo que está preparando la
demanda para la corte
8/3/23, 9:47 AM - +1 (956) 510-9964: Qe la esta preparando?
8/3/23, 9:47 AM - +1 (956) 510-9964: A mi me dijo qe ya la había enviado
8/3/23, 9:48 AM - +1 (956) 510-9964: Habrá qe ir personalmente no creen?
8/3/23, 11:19 AM - Ofelia: Ami m dijo k ya la avia mandado ase dos semanas k estaba
esperando los 20 dias
8/3/23, 11:20 AM - +1 (956) 609-0308: Ya bailamos
     Case 7:23-cv-00343 Document 49-8 Filed on 10/18/24 in TXSD Page 32 of 78



8/3/23, 11:32 AM - +1 (956) 598-3675: STK-20230509-WA0000.webp (file attached)
8/3/23, 11:44 AM - +1 (956) 598-3675: STK-20230803-WA0003.webp (file attached)
8/3/23, 11:58 AM - +1 (956) 313-8224: STK-20230714-WA0008.webp (file attached)
8/3/23, 12:30 PM - .olga Perez: Hola. Buen. Día.
8/3/23, 12:30 PM - .olga Perez: Nombre. Solo. Creo. K le llamaremos.
8/3/23, 12:30 PM - .olga Perez: Le llamaré. Hoy
8/3/23, 12:31 PM - +1 (956) 598-3675: A mí me dijo que hasta noviembre
8/3/23, 12:31 PM - +1 (956) 685-2140: A todo nos dice cosas diferentes
8/3/23, 3:13 PM - +1 (956) 510-9964: A mi tamb
8/3/23, 3:13 PM - +1 (956) 510-9964: El proceso puede durar hasta noviembre
8/3/23, 3:16 PM - +1 (956) 598-3675: STK-20230803-WA0004.webp (file attached)
8/3/23, 4:57 PM - +1 (956) 609-0308: VALDE NOS LLEVÓ AL BAILE
8/3/23, 4:57 PM - +1 (956) 313-8224: STK-20230715-WA0002.webp (file attached)
8/3/23, 4:57 PM - +1 (956) 313-8224: STK-20230803-WA0005.webp (file attached)
8/3/23, 4:58 PM - +1 (956) 609-0308: Nesecitamos ir todos juntos otra vez para que
vea que estamos unidos y al pendiente tenemos que hacer un esfuerzo y ir todos
No estar atenidos que unos van y otros no van
8/3/23, 8:53 PM - .olga Perez: Exacto, si ay que ir
8/3/23, 9:36 PM - +1 (956) 732-2011: abisen cuando pueden ir
8/3/23, 9:37 PM - +1 (956) 510-9964: Lunes
8/3/23, 10:31 PM - +1 (956) 510-5974: Si pero despues de Las 3
8/7/23, 12:05 PM - .olga Perez: STK-20230807-WA0002.webp (file attached)
8/7/23, 12:05 PM - .olga Perez: Buenos días. Grupo
8/7/23, 12:15 PM - +1 (956) 510-9964: ☺
8/7/23, 3:16 PM - +1 (956) 609-0308: QUIEN PUEDE IR AVER AL ABOGADO HOY ALS 4:30
8/7/23, 3:16 PM - +1 (956) 609-0308: QUIEN SE APUTA
8/7/23, 3:33 PM - +1 (956) 356-0451: Estoy en el jale ahorita .
Salgo a las 11. Quién va poder ir ?
8/7/23, 3:34 PM - +1 (956) 510-9964: Oh si pueden el Viernes
8/7/23, 3:34 PM - +1 (956) 510-9964: Solo que sea seguro
8/7/23, 3:34 PM - +1 (956) 609-0308: El viernes en calidad de urgencia 🚨🚨🚨
8/7/23, 3:34 PM - +1 (956) 356-0451: Pero si alguien puede ir hoy
8/7/23, 3:35 PM - +1 (956) 609-0308: Nos están asiendo de chivo
Los tamales 🫔
8/7/23, 3:36 PM - +1 (956) 510-9964: Vamos para preguntar, unas dudas
8/7/23, 3:36 PM - +1 (956) 510-9964: Porque si ocupamos un abogado de inmigración
8/7/23, 3:36 PM - +1 (956) 609-0308: Ay gente que no las mira los mensajes no opina
y no van ni alas juntas
8/7/23, 3:36 PM - +1 (956) 510-9964: Junto con el Abogado Laboral
8/7/23, 3:37 PM - +1 (956) 609-0308: A pero si saliera todo bien fueran los primeros
en estar ai para el billete
8/7/23, 3:38 PM - +1 (956) 609-0308: Nesecitamos una reunión urgente 🚨 para el
viernes en la tarde con el abogado
Porque atodos nos dise cosas diferentes
8/7/23, 3:40 PM - Hector Manager: Como que cosas?
8/7/23, 3:40 PM - Hector Manager: Ya ya entendi que aqui todos decimos cosas
diferentes
8/7/23, 3:40 PM - +1 (956) 510-9964: Siii,
8/7/23, 3:41 PM - +1 (956) 510-9964: Pero hay q ver si ya mando, o apenas esta
preparando la demanda
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8/7/23, 3:41 PM - +1 (956) 510-9964: Por que si vamos a ocupar un abogado de
inmigración
8/7/23, 3:41 PM - +1 (956) 510-9964: El abogado dijo que el se hiba a asesorar con
un colega
8/7/23, 3:41 PM - Hector Manager: Si pero hasta que lo primero este resuelto eso
dijo el
8/7/23, 3:42 PM - +1 (956) 510-9964: Bueno, yo hable con otro abogado, por que tenia
la duda
8/7/23, 3:42 PM - +1 (956) 510-9964: Y dijo que tendría q ser a la misma vez
8/7/23, 3:42 PM - +1 (956) 510-9964: X eso es q queremos ir y preguntar
8/7/23, 3:43 PM - Hector Manager: Hablaste con un abogado de migracion?
8/7/23, 3:43 PM - +1 (956) 510-9964: Laboral
8/7/23, 3:44 PM - +1 (956) 510-9964: Apenas voi a ir a ver el de migración
8/7/23, 3:52 PM - .olga Perez: Adonde se van a reunir
8/7/23, 3:52 PM - .olga Perez: Alas 430
8/7/23, 4:09 PM - +1 (956) 356-0451: Ya hablé con Valde
8/7/23, 4:09 PM - +1 (956) 356-0451: Hace unos minutos
8/7/23, 4:09 PM - Hector Manager: Que te dijo
8/7/23, 4:10 PM - +1 (956) 356-0451: Seré lo más explícito que pueda..
8/7/23, 4:10 PM - +1 (956) 510-9964: Mande audio
8/7/23, 4:10 PM - .olga Perez: Que. Rollo
8/7/23, 4:11 PM - .olga Perez: Que dijo
8/7/23, 4:12 PM - .olga Perez: Gabiie ya no van ir
8/7/23, 4:12 PM - +1 (956) 510-9964: Hoy noo
8/7/23, 4:13 PM - +1 (956) 510-9964: Vamos el viernes
8/7/23, 4:15 PM - .olga Perez: Ha. Ok.
8/7/23, 4:16 PM - +1 (956) 510-9964: Los qe mas puedan, bueno haber qe dice
Esquivel, dice que hablo con Valde ahorita
8/7/23, 4:17 PM - Hector Manager: Se le acabo la pila nomas volviendo a prender el
celular pone lo que hablo
8/7/23, 4:28 PM - .olga Perez: Haaa
8/7/23, 4:38 PM - +1 (956) 356-0451: Ya volvi
8/7/23, 4:38 PM - +1 (956) 356-0451: Dejen escribo
8/7/23, 4:43 PM - +1 (956) 356-0451: Valdepeñas dice...esta semana se terminan los
20 días que tenia la compañía para responder a la 2da ( digamos demanda ) que se le
puso . Respondiendo en esta semana es porque llegará a un acuerdo con nosotros.
Pero si NO responde esta semana que está corriendo....entonces se irá ya directo a
la corte Federal y la reunión a la corte seria   en Noviembre o Diciembre.
Valde me dice que NO nos preocupemos que ÉL nos va avisar para que si en la semana
sale todo bien tengamo la papelería que va a ocupar ...así como talones de cheques
quienes los puedan tener o conseguir. Dice que NO nos desesperamos. Cualquiera que
tenga duda que le llame o que vaya a verlo. El está para aclarar.
8/7/23, 4:43 PM - +1 (956) 356-0451: Valde *
8/7/23, 4:45 PM - +1 (956) 510-9964: No era la segunda
8/7/23, 4:46 PM - +1 (956) 510-9964: Ya hemos pasado 2
8/7/23, 4:46 PM - +1 (956) 510-9964: Y esta era para q se fuera a la corte, osea la
del Estado
8/7/23, 4:47 PM - +1 (956) 510-9964: Eso fue lo que el me dijo, hace 15 días que lo
mire personalmente
8/7/23, 4:47 PM - +1 (956) 356-0451: Entonces los 20 días?
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8/7/23, 4:47 PM - +1 (956) 356-0451: Se terminan esta semana ?
8/7/23, 4:47 PM - +1 (956) 356-0451: Así como me dijo
8/7/23, 4:48 PM - +1 (956) 356-0451: Porque hay que ver que son días hábiles
8/7/23, 4:52 PM - +1 (956) 510-5974: Hola Hola y donde.nos vamos a reunir El
viernes y a k hora
8/7/23, 4:55 PM - +1 (956) 356-0451: O el miércoles
8/7/23, 4:56 PM - +1 (956) 356-0451: Vamos..pero digan..cualquier de esos 2 dias
8/7/23, 4:56 PM - +1 (956) 356-0451: Y nos vemos ahí en las oficinas..afuera
8/7/23, 4:56 PM - +1 (956) 356-0451: Y ya que estemos los que podamos ir...entrMos
juntos
8/7/23, 4:58 PM - +1 (956) 356-0451: Tranquilos porque no vamos a ganar nada si
vamos enojados. Cabeza fría y podremos captar todo porque es asunto legal y
nosotros no sabemos de leyes así que debemos poner atención
8/7/23, 4:59 PM - +1 (956) 356-0451: Les Recuerdo que Valde nos dijo que lo más
tardado podria ser 2 años . Que NO nos deswsperaramos eso nos dijo cuando empezó
todo en mayo
8/7/23, 5:39 PM - .olga Perez: Eso. Es cierto pero si
Ay reunión pues. Digan el día. Y la hora y los que podamos. Vamos,
8/8/23, 12:35 PM - +1 (956) 438-6958: Muy cierto
8/8/23, 12:42 PM - +1 (956) 356-0451: Pongan hora y día y ahí nos vemos para
platicar con Valde. Afuera de sus oficinas.
8/11/23, 5:27 PM - .olga Perez: Hola.
8/11/23, 5:27 PM - .olga Perez: Y quien. Si vino acá. Con. El abogado
8/11/23, 5:32 PM - .olga Perez: Hola
8/11/23, 5:32 PM - .olga Perez: Hola
8/11/23, 5:32 PM - .olga Perez: Hola
8/11/23, 5:32 PM - .olga Perez: Quien anda ahí
8/12/23, 2:31 PM - .olga Perez: Hola. Nadie por aquí 👈 Nadie. Por acá 👈       🤪🤪
🤪
8/12/23, 2:32 PM - Hector Manager:   ♂
8/12/23, 2:33 PM - Hector Manager: He estado teniendo probemas con el tel
8/14/23, 1:07 PM - .olga Perez: Hola buen día , grupo pienso que debes. En esta
semana , ya tener una reunión con el abogado Millan, asta su oficina ya. Para que
diga que está pasando en realidad. Que sea de 3 a 4 de la tarde pues muchos
trabajan, pero ya se debe aser presencia notoria, los que puedan pongan Aki que día
de esta semana,
8/14/23, 2:38 PM - +1 (956) 356-0451: El día que quieran después de las 3 de la
tarde ok yo estoy puesto
8/14/23, 2:41 PM - +1 (956) 438-6958: Yo estaré llegando al valle esta semana dime
qué día y voy
8/14/23, 2:42 PM - .olga Perez: Pongan el día miércoles o jueves o viernes,
recuerden que cierran alas 5 :p m
8/14/23, 3:02 PM - +1 (956) 609-0308: Que sea viernes alas 5 porque salgo alas 4:30
del jale
8/14/23, 3:16 PM - .olga Perez: Al pareser. El miércoles. Pues disen que los demás.
Días está el abogado en la corte,
8/14/23, 3:34 PM - Hector Manager: HorA?
8/14/23, 3:36 PM - .olga Perez: Miren. Yo fui, a ver al abogado Millan, asta la
oficina y resulta que. Me dise , que no an puesto la demanda, aún. Ósea que no
existe la demanda, que nos dijo balde. La que abia que esperar. 20 días al pareser
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mo existió, es por qué nesesito a reunirnos. Con ellos en las. Oficinas .
8/14/23, 3:50 PM - +1 (956) 356-0451: Y quién es Millan el señor grande de edad ? El
que era mayor de Edinburgh ?
8/14/23, 3:51 PM - +1 (956) 356-0451: Mañana salgo a las 3 pm
8/14/23, 3:52 PM - .olga Perez: Si es el. Abogado,
8/14/23, 3:52 PM - Hector Manager: Miercoles a las 4?
8/14/23, 3:52 PM - .olga Perez: Es el que está la oficina,
8/14/23, 3:53 PM - .olga Perez: Solo se podría el miércoles, para que estén. Aya.
Los dos
8/14/23, 3:54 PM - +1 (956) 356-0451: Ok
8/14/23, 3:54 PM - Hector Manager: Podria ser a las 430 para ya estar ahiby que
lleguen loz que salen a las 430 como Mele
8/14/23, 3:54 PM - +1 (956) 356-0451: Ok
8/14/23, 3:55 PM - .olga Perez: Si    El horario. Solo que sea antes de que cierren
8/14/23, 4:00 PM - Hector Manager: Miercoles 430
8/14/23, 4:00 PM - Hector Manager: Ahi estaremos
8/14/23, 4:00 PM - .olga Perez: Si. Ok
8/14/23, 4:00 PM - +1 (956) 356-0451: Ok
8/14/23, 4:06 PM - +1 (956) 609-0308: Ok
8/16/23, 2:46 PM - Hector Manager: Le pregunte a Balde que no me podia recibir hoy y
dijo que hoy no puede, estoy esperando respuesta de cuando
8/16/23, 2:58 PM - +1 (956) 356-0451: Pk
8/16/23, 2:58 PM - +1 (956) 356-0451: Ok
8/16/23, 2:58 PM - +1 (956) 609-0308: Ok
8/16/23, 2:59 PM - +1 (956) 313-8224:
8/16/23, 3:35 PM - .olga Perez: Y. Luego que asemos que piensa a qué opinaba
8/16/23, 3:35 PM - .olga Perez: Opinan
8/16/23, 3:36 PM - Hector Manager: La.cita que me la de y ya les digo
8/16/23, 3:37 PM - .olga Perez: Yo. Le dije que íbamos. !!!
8/16/23, 3:37 PM - .olga Perez: No entiendo
8/16/23, 3:37 PM - .olga Perez: Bueno pues.
8/16/23, 3:37 PM - .olga Perez: Esperamos
8/16/23, 3:45 PM - +1 (956) 600-0207: Hay que ablar con el
8/16/23, 4:12 PM - +1 (956) 600-0207: This message was deleted
8/16/23, 4:38 PM - .olga Perez: Pues. Pero ahora asta que el diga , lo que yo le
pedí. Fue ir ala oficina, y ablar con los dos pues con el único que hemos ablando y
fuera de la oficina es con. Balde , se supone que tenemos derecho a reunirnos con
los dos, no creen???
8/18/23, 2:11 PM - .olga Perez: Hola hola. Que.cuentan.???
 Buen día,
8/18/23, 2:14 PM - +1 (956) 715-4571: This message was deleted
8/18/23, 2:41 PM - +1 (956) 510-9964: Hola Olga buenas Tardes
8/18/23, 2:41 PM - +1 (956) 510-9964: Vamos el Lunes
8/18/23, 2:42 PM - .olga Perez: Hola hola
8/18/23, 2:42 PM - .olga Perez: Si A que     hora??
8/18/23, 2:44 PM - +1 (956) 510-9964: En la mañana
8/18/23, 2:46 PM - .olga Perez: Si pues. Me mandas txt o me llamas, y bamos
8/18/23, 2:46 PM - +1 (956) 510-9964: Si
8/18/23, 2:46 PM - +1 (956) 510-9964: Yo te marvo
8/18/23, 2:46 PM - +1 (956) 510-9964: Marco
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8/18/23, 2:46 PM - .olga Perez: Ok vaaaa
8/18/23, 2:46 PM - +1 (956) 438-6958: Ok
8/22/23, 12:25 PM - .olga Perez: <Media omitted>
8/26/23, 5:25 PM - +1 (956) 609-0308: VALDE NOS LLEVO
AL   BAILE 🕺
8/26/23, 5:25 PM - +1 (956) 609-0308: Nunca llego la junta
8/26/23, 5:26 PM - +1 (956) 715-4571: Ya caminamos....
8/26/23, 5:26 PM - +1 (956) 715-4571: Ya vallan olvidándose d esto... 😂
8/26/23, 5:27 PM - +1 (956) 715-4571: Tengan n mente k igual c puede VENDER alas
personas con 💴 Cambian y si es una buena Oferta d unos 500 MIL... 😕
8/26/23, 5:28 PM - +1 (956) 715-4571: Yo solo digo.. pero tengan Fe...
8/26/23, 5:28 PM - +1 (956) 313-8224: STK-20230803-WA0005.webp (file attached)
8/26/23, 5:29 PM - +1 (956) 609-0308: Es que también es culpa de nosostros por no
reunirnos
8/26/23, 5:30 PM - +1 (956) 609-0308: Y estar de pendiendo de los de más que si van
o no van y al canal nadie va
8/26/23, 5:33 PM - +1 (956) 715-4571: Eso sii no. Nos va Allegar ala mano 🖐 el
caso.. pero igual no es el único caso k tiene valde.... tiene mucho CASOS k nos hace
SPECIAL
8/26/23, 5:34 PM - Hector Manager: Quien de nosotros ha tenido algun caso similar
legalmente???
8/26/23, 5:34 PM - Ofelia: La demanda la iva a meter el jueves no avia podido
porque estaban pidiendo mas investigaciónes como ya ven k tiene dos nombres y
sabemos k como quiera es un buen dinero lo k tienen k soltar esto va tardar
8/26/23, 5:34 PM - Hector Manager: Lo que digo es que esto tarda
8/26/23, 5:35 PM - Hector Manager: Yo estuve en un caso de un choque me tardo tiempo
8/26/23, 5:36 PM - Ofelia: Yo en un choque tarde como dos años para k me dieran
8/26/23, 5:37 PM - +1 (956) 609-0308: Ami me chocaron y me tardaron 1 mes para
pagarme el carro y 5para soltarme un billete
8/26/23, 5:37 PM - +1 (956) 609-0308: Yo creo de lo choque o no choque es muy
independiente
8/26/23, 5:38 PM - +1 (956) 609-0308: Todo de pende el abogado
Le ponga interés al caso
8/26/23, 5:39 PM - Adan: No q dessesparnos q es lo quieren
8/26/23, 5:40 PM - +1 (956) 598-3675: Me comentó valde q hasta noviembre o diciembre
se resuelve el caso puras especulaciones ponen
8/26/23, 5:41 PM - +1 (956) 600-0207: Tengan fe todo va a salir bien
8/26/23, 5:42 PM - +1 (956) 715-4571: 🙏
8/26/23, 5:42 PM - +1 (956) 715-4571: Yo solo decía 😂 jajaja
8/26/23, 5:42 PM - +1 (956) 715-4571: Animo...
8/26/23, 6:19 PM - +1 (956) 313-8224: STK-20230715-WA0002.webp (file attached)
8/26/23, 6:19 PM - +1 (956) 313-8224: STK-20230826-WA0007.webp (file attached)
8/26/23, 7:00 PM - +1 (956) 438-6958: Tengamos fe esto tarda solo es de estar
pendiente
8/26/23, 7:03 PM - +1 (956) 313-8224: STK-20230826-WA0008.webp (file attached)
8/26/23, 7:07 PM - +1 (956) 356-0451: <Media omitted>
8/26/23, 7:44 PM - .olga Perez: 👍🤪🤪
8/30/23, 2:10 PM - .olga Perez: This message was deleted
8/30/23, 2:10 PM - .olga Perez: STK-20230830-WA0002.webp (file attached)
8/31/23, 12:36 PM - .olga Perez: Hola grupo, buen. Día
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8/31/23, 3:06 PM - Hector Manager: Hola hola
8/31/23, 6:49 PM - +1 (956) 438-6958: Que ondas pariente que te dijieron
8/31/23, 7:17 PM - Hector Manager: Ya hay confirmacion de demanda
8/31/23, 7:18 PM - Hector Manager: Ya esta adentro en la corte
8/31/23, 7:18 PM - Hector Manager: Ya no hay vuelta atras
8/31/23, 7:18 PM - Ofelia: Si gracias a dios ys
8/31/23, 7:18 PM - Hector Manager: Ya lo unico que nos queda es esperar ser
pacientes y que sea lo que Dios quiera
8/31/23, 7:19 PM - +1 (956) 600-0207: Entonces no cedieron
8/31/23, 7:19 PM - Hector Manager: Todavia no
8/31/23, 9:35 PM - +1 (956) 438-6958: Como ya ahora si está la demanda o preguntas ?
9/1/23, 11:03 AM - Ofelia: Buenos dias grupo
9/1/23, 11:05 AM - Ofelia: Gracias a dios ya esta la demanda puesta ahora esperar
tienen k asta el 26 d septiembre para contestar
9/1/23, 11:07 AM - Ofelia: Primero dios no hay k desesperarnos
9/1/23, 11:26 AM - +1 (956) 609-0308: Gracias Ofe
9/1/23, 11:44 AM - Ofelia: Si mijo luego t mandovel numero del caso para k sepan
9/1/23, 11:48 AM - .olga Perez: Buenos días, si Aver que pasa,tengamos , mucha fé.

9/1/23, 11:57 AM - Ofelia: Asi es olguita primero dios
9/1/23, 12:01 PM - +1 (956) 313-8224: STK-20230901-WA0001.webp (file attached)
9/4/23, 4:56 PM - .olga Perez: Feliz día del trabajo.
9/4/23, 4:57 PM - .olga Perez: Labor   Day
9/4/23, 4:59 PM - .olga Perez: Que rollo que aciendo
9/4/23, 5:05 PM - Hector Manager: Trabajando
9/4/23, 5:37 PM - +1 (956) 598-3675: <Media omitted>
9/4/23, 5:37 PM - +1 (956) 598-3675: Puro trabajo
9/4/23, 6:46 PM - Ofelia: Gracias a dios
9/7/23, 4:51 PM - .olga Perez: <Media omitted>
9/11/23, 12:31 PM - +1 (956) 609-0308: Alguien sabe algo
9/11/23, 12:45 PM - +1 (956) 600-0207: Todavía nada
9/11/23, 12:51 PM - .olga Perez: No. Nada. Orrin 20. Dias. Todavía    Falta no???
<This message was edited>
9/11/23, 12:51 PM - +1 (956) 510-9964: Fin de mes dijo
9/11/23, 12:52 PM - +1 (956) 600-0207: Ojalá y se resuelva esto pronto
9/16/23, 12:31 PM - .olga Perez: This message was deleted
9/16/23, 12:33 PM - .olga Perez: Hola. Compañeros ,
Buen día , Viva
México
9/16/23, 12:34 PM - Hector Manager: <Media omitted>
9/16/23, 12:35 PM - .olga Perez: <Media omitted>
9/16/23, 12:40 PM - +1 (956) 609-0308: Alguien a ido a comprar tamales a delias
9/16/23, 12:40 PM - Hector Manager: Nel, yo desde ese dia no me paro ahi
9/16/23, 12:40 PM - .olga Perez: ?????   Noooo
9/16/23, 12:41 PM - Hector Manager: Lo que si tengo unas ganas de menudo
9/16/23, 12:41 PM - .olga Perez: Tampoco yo
9/16/23, 12:41 PM - +1 (956) 598-3675: Me empache los comí por 6 años
9/16/23, 12:41 PM - .olga Perez: El menudo. Si esta rico
9/16/23, 12:43 PM - +1 (956) 609-0308: Puede ir uno a comprar
9/16/23, 12:44 PM - Hector Manager: Pss si puedes, se supone que los de las tiendas
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no deben de saber
9/16/23, 12:44 PM - .olga Perez: Yo creo que si eres un cliente y. La tienda es
para todo público
9/16/23, 12:45 PM - Hector Manager: O nomas manda a alguien
9/16/23, 12:46 PM - .olga Perez: Ya comer ahí pues te arriesgas a que te manden
desir. Que. Te retires podría pasar
9/16/23, 12:47 PM - +1 (956) 609-0308: Mejor no voy
9/16/23, 12:47 PM - +1 (956) 609-0308: Jaja
9/16/23, 12:47 PM - Hector Manager: Mejor si ves, por si te mandan sacar los
demandes mas por descriminacion
9/16/23, 12:47 PM - .olga Perez: Cuando hubo un problema    Con otras compañeras a
mi me toco tener que ir a desirle. Que se retirará    Y ya era tarde pero el
manejador me mandó a desirle
9/16/23, 12:47 PM - Hector Manager: En las puertas no hay anuncio de nos reservamos
el derecho de admision
9/16/23, 12:48 PM - Hector Manager: No deben de pedirte que te retires al menos que
estas haciendo un escandalo
9/16/23, 12:48 PM - .olga Perez: Por el drive. Puedes comprar
9/16/23, 12:49 PM - .olga Perez: Bueno pues ve. Y ya nos dises. Para ver si podemos
ir Jajajaja
9/16/23, 12:49 PM - Hector Manager: Si vas a ser el conejiyo de indias
9/16/23, 12:50 PM - .olga Perez: Jajajaja
9/16/23, 12:50 PM - +1 (956) 609-0308: Si mejor no
9/16/23, 12:50 PM - +1 (956) 609-0308: Ya mejor compre frijoles
9/16/23, 12:50 PM - .olga Perez: Si te venden por el drive ai no disen nada
9/17/23, 3:43 PM - .olga Perez: Good afternoon to you guys
9/17/23, 3:43 PM - +1 (956) 598-3675: <Media omitted>
9/17/23, 3:44 PM - .olga Perez: <Media omitted>
9/19/23, 8:44 AM - +1 (956) 356-0451: <Media omitted>
9/19/23, 2:10 PM - +1 (956) 510-5974: Buenas tardes k saben del asunto para cuando
9/19/23, 2:11 PM - Hector Manager: Pal 26 se debe saber algo
9/19/23, 2:11 PM - Hector Manager: De que respondieron ellos
9/19/23, 2:12 PM - +1 (956) 510-5974: Ah 👍
9/19/23, 2:47 PM - .olga Perez: Ha. Horale. Pues. Aver Que nos disen?
9/25/23, 8:39 AM - +1 (956) 356-0451: Buenos dias estamos en oración para que todo
salga favorable para nuestras familias En el nombre de Dios Amen
9/25/23, 8:40 AM - +1 (956) 313-8224: STK-20230925-WA0001.webp (file attached)
9/25/23, 8:40 AM - +1 (956) 313-8224: STK-20230901-WA0001.webp (file attached)
9/25/23, 8:42 AM - +1 (956) 510-5974: Buenos dias a todo el grupo
9/25/23, 9:13 AM - .olga Perez: Buenos días
9/25/23, 10:08 AM - Ofelia: Buenos dias primero dios nos va ayudar 🙏
9/25/23, 6:36 PM - +1 (956) 600-0207: Alguien sabe cómo va la demanda
9/25/23, 6:36 PM - +1 (956) 600-0207: Que ha contestado delias
9/25/23, 7:05 PM - +1 (956) 510-9964: Tenían hasta el.dia de hoy para contestar
9/25/23, 7:06 PM - +1 (956) 510-9964: Mañana le mando msj al abogado para ver q
sucedio
9/25/23, 7:06 PM - +1 (956) 600-0207: Ojalá y contesten a favor de nosotros
9/25/23, 7:07 PM - +1 (956) 510-9964: Creo yo. Qe no les va a qedar de otra
9/25/23, 7:08 PM - +1 (956) 600-0207: Es lo que yo creo tambiem ojalá dios quiera
9/25/23, 7:08 PM - +1 (956) 510-9964: Solo q es un proceso y solo tener paciencia
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9/26/23, 6:02 PM - +1 (956) 609-0308: Alguien sabe algo
9/27/23, 10:58 AM - Ofelia: Buenos dias nadien sabe si hay una respuesta grupo
9/27/23, 10:58 AM - +1 (956) 609-0308: No
9/27/23, 10:59 AM - Hector Manager: No, ayer cheque los pApeles de la corte y hoy es
el ultimo dia para que contesten
9/27/23, 11:00 AM - Ofelia: A okey le iva a mandar mensaje a Valde pero mejor mañana
verda primero dios y tengamos buenas noticias 🙏
9/27/23, 11:24 AM - +1 (956) 609-0308: Ojalá dios quiera sea a favor
9/27/23, 11:31 AM - +1 (956) 600-0207: Amén 🙏
9/28/23, 10:02 AM - +1 (956) 609-0308: Buenos días
9/28/23, 10:49 AM - +1 (956) 438-6958: STK-20230716-WA0003.webp (file attached)
9/28/23, 12:10 PM - Ofelia: Buenos dias acabo d ablar con Valde dice k todavía no
hay respuesta k Alamejor mañana o mas tardar el lunes
9/28/23, 2:24 PM - +1 (956) 600-0207: Yo creo que les estamos dando mucha chansa a
delias
9/28/23, 2:25 PM - +1 (956) 600-0207: Si no han contestado es por qué no tienen la
intención de llegar a un a uerdo
9/28/23, 2:25 PM - +1 (956) 600-0207: Acuerdo
9/28/23, 2:51 PM - +1 (956) 598-3675: Es lo que yo pienso
10/2/23, 10:29 AM - Ofelia: Buenos dias grupo hoy es el día primero dios tengamos
buenas noticias y si no hay k seguir adelante primero dios no nos va soltar d su
mano y a echarle ganas pa delante 🙏no hay k desesperarnos sabemos k aveses esto
tarda k tengan una semana llena d vendiciones
10/2/23, 10:31 AM - +1 (956) 510-5974: Buenos dias k tengan un gran dia 🙏🙏
10/2/23, 10:47 AM - +1 (956) 356-0451: Amén
10/2/23, 10:54 AM - +1 (956) 438-6958: Así es
10/2/23, 10:55 AM - +1 (956) 313-8224: STK-20230901-WA0001.webp (file attached)
10/2/23, 11:01 AM - .olga Perez: Buenos días. Aver Que pasa?
10/2/23, 11:03 AM - +1 (956) 600-0207: Amen
10/2/23, 12:54 PM - +1 (956) 609-0308: Dios quiera
Dios nos ayude
10/2/23, 3:00 PM - +1 (956) 598-3675: 🙌
10/2/23, 6:17 PM - Ofelia: Buenas tardes ablenle a Valde para k les expliqué lo k
respondieron
10/2/23, 6:18 PM - +1 (956) 598-3675: Tu sabes que respondio
10/2/23, 6:20 PM - Ofelia: Si k dijieron k nos despidieron por falta d documentos
10/2/23, 6:22 PM - +1 (956) 598-3675: Y que prosede
10/2/23, 6:22 PM - Ofelia: Pero pues van aser asta donde puedan ellos porque no es
poco el dinero k se esta peliando
10/2/23, 6:22 PM - +1 (956) 598-3675: Pos ya sabemos eso
10/2/23, 6:23 PM - Ofelia: Ablenle para k les explique
10/2/23, 6:23 PM - +1 (956) 609-0308: Y ahora que sigue
10/2/23, 6:23 PM - +1 (956) 600-0207: Mmmmmm
10/2/23, 6:23 PM - +1 (956) 510-9964: Ahora va la vuelta, xqe si nos despidieron x
no tener documentos, siguen trabajando gente con el mismo status q nosotros
10/2/23, 6:24 PM - +1 (956) 510-9964: Valde dijo qe va a enviar una carta con unas
preguntas, y hay q esperar
10/2/23, 6:25 PM - +1 (956) 510-9964: Esto va para largo
10/2/23, 7:42 PM - .olga Perez: Yes
10/2/23, 7:45 PM - .olga Perez: Pero. Pues mientras sigan peleando , y ellos sigan
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contestado recuerden que falta lo del SS y Marycaey que nos, estaban Cobrando
10/2/23, 7:52 PM - .olga Perez: Y si también que tiene ahí gente sin documentos
Osea discrimacion, recuerden que eso entra, y si avía. Maltrato de amenaza por que
te obligaban, sicologicamente a trabajar y amenizaban con despedirte sino. Ibas
algún día, delos festivos , siempre bajo amenazas, Cierto O No??? También eso
debemos desirle a   Valde
10/2/23, 7:53 PM - Ofelia: Eso si
10/2/23, 7:53 PM - +1 (956) 510-9964: Siii
10/2/23, 7:54 PM - +1 (956) 510-9964: Mañana le hablo a Valde para ver si nos
reunimos
10/2/23, 7:54 PM - .olga Perez: Asi es.    Debemos recordar todo y defendernos
10/2/23, 7:54 PM - +1 (956) 510-9964: Para q les explique q es lo q sigue
10/2/23, 8:00 PM - .olga Perez: Exacto. Y dijo que nos paga bien. !!!!Pero. Si
nos obligaban a trabajar por la sicologia. Si no te esperas asta. Que se termine
el trabajo. Te puedes ir pero estás despedido , obligados, quedarnos más tiempo en
los días de festivos y navideños no nos dejaban salir. Por qué    Ahí venía    la
amenasa..
10/2/23, 8:01 PM - .olga Perez: Si se nesesita otra reununion con balde
10/2/23, 8:05 PM - .olga Perez: Y   Aparte si nos hiciera corridos por qué tenemos
papeles, que?? Se dio cuenta después de 20 años. De 15 o 12 o 5. O 25 22, ? ????
10/2/23, 8:05 PM - +1 (956) 510-9964: Así es
10/2/23, 8:06 PM - .olga Perez: Según nos despidió. No por los papeles sino por una
hoja que llego de una auditoría de 2019 que por lo menos yo midiera era de permisos
10/2/23, 8:06 PM - .olga Perez: Ni siquiera
10/2/23, 8:06 PM - .olga Perez: Asi es ,Compañeros
10/2/23, 8:10 PM - .olga Perez: Y si alguien tiene más digan. Debemos ponernos
pilas que no se nos olvide nada .
10/2/23, 8:11 PM - +1 (956) 609-0308: Eso era por los permisos
Pero como ya no avía de permisos no agarro a nosostros
10/2/23, 8:13 PM - .olga Perez: Exacto
10/2/23, 8:14 PM - .olga Perez: This message was deleted
10/2/23, 8:14 PM - .olga Perez: Jajajaj el que vio vio
10/2/23, 8:15 PM - +1 (956) 609-0308: Jajajajajaj
10/2/23, 8:15 PM - .olga Perez: Sorry ese Melo guardaba para Valde
10/3/23, 3:05 PM - +1 (956) 438-6958: Entonces quiere decir que nos despidieron
porque ya teníamos mucho tiempo en la empresa y ya no nos querían ahí porque si dise
que nos despidieron por no tener documentos entonces los demás que 😦 entonces por
eso ellos dejaron a los que ellos quisieron o a los que a ellos les servían mejor
10/3/23, 3:10 PM - +1 (956) 510-5974: Nos despidieron por k ya nos nos queries
aumentar elsalario no queries pagarnos mascots yz tenizmos muchos años de k les
services Claro k si los Nuevo no sir en para nada 😄
10/3/23, 3:30 PM - +1 (956) 438-6958: Eso si
10/3/23, 3:49 PM - .olga Perez: Bueno pues. Debe ablar alguien más con Valde para
desirle. Aparte delos que ya Emos llamado, <This message was edited>
10/3/23, 3:52 PM - +1 (956) 510-5974: Por k asesmos una reunion para Saber bien k
esta pasando oel otro abogado aber k nos dimension se.va apoder o k otra Cosa
podemos aser hablar bien
10/3/23, 6:15 PM - +1 (956) 600-0207: Y entonces por que e no corrió a una
manejadora que está en Edinburg que también tiene muchos años y ustedes saben quién
es nos corrieron a su convenencia
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10/3/23, 6:29 PM - Adan: AY ESTA SANTIAJO Y LUPITA TAMBIEN
10/16/23, 3:29 PM - +1 (956) 356-0451: No se aguiten animo vamos a ganar
10/16/23, 3:30 PM - +1 (956) 356-0451: Delen tienpo
10/16/23, 9:01 PM - .olga Perez: Y que ay de nuevo ??
A
10/17/23, 1:29 PM - +1 (956) 598-3675: https://www.tiktok.com/t/ZPR7VTxQt/
10/17/23, 3:56 PM - .olga Perez: Es mi favorita, que tal. Heeee
10/21/23, 10:20 AM - Ofelia: Buenos dias para k sepan salio lo d la demanda en el
periodico el monitor
10/21/23, 10:22 AM - +1 (956) 313-8224: Buenos dias!! puedes mandar una foto?
10/21/23, 10:22 AM - Ofelia: M acaba d decir valde ahorita
10/21/23, 10:39 AM - +1 (956) 313-8224: <Media omitted>
10/21/23, 10:39 AM - +1 (956) 313-8224: STK-20231021-WA0001.webp (file attached)
10/21/23, 10:47 AM - Hector Manager: Busca la pagina 13A haber que mas dice
10/21/23, 10:55 AM - .olga Perez: Queeeeee?????? Y ahora. Eso es bueno o malo?????
10/21/23, 10:55 AM - +1 (956) 600-0207: Y ahora que sigue
10/21/23, 10:55 AM - .olga Perez: Digan 🤔🤔🤔🤔
10/21/23, 11:01 AM - +1 (956) 313-8224: <Media omitted>
10/21/23, 11:01 AM - +1 (956) 313-8224: <Media omitted>
10/21/23, 11:07 AM - +1 (956) 438-6958: STK-20231021-WA0006.webp (file attached)
10/21/23, 11:08 AM - +1 (956) 438-6958: STK-20231021-WA0007.webp (file attached)
10/21/23, 11:08 AM - +1 (956) 438-6958: STK-20231021-WA0008.webp (file attached)
10/21/23, 11:08 AM - +1 (956) 438-6958: Exelente
10/21/23, 11:11 AM - +1 (956) 598-3675: STK-20230509-WA0000.webp (file attached)
10/21/23, 11:13 AM - Rosendo: De q dia?
10/21/23, 11:18 AM - Hector Manager: De hoy lo acabo ver en la gasolinera
10/21/23, 11:19 AM - Rosendo: Ok
10/21/23, 11:29 AM - +1 (956) 438-6958: Eso es bueno o malo ?
10/21/23, 11:44 AM - +1 (956) 609-0308: AY QUE HABLAR CON EL AVOGADO PARA QUE NOS
DEN UN PERMISO
10/21/23, 11:44 AM - +1 (956) 609-0308: PARA IR ALA CORTE
10/21/23, 11:45 AM - +1 (956) 609-0308: Porque va ser en Houston
10/21/23, 11:59 AM - Ofelia: Van aser k se mueva para aca la movieron los abogados d
delias para k los testigos no podamos ir aya pero primero dios va salir bien
10/21/23, 12:20 PM - +1 (956) 600-0207: Pero balde si puede ir y el. Nos va a
representar
10/21/23, 12:21 PM - +1 (956) 438-6958: Cualquier cosa que no la quieran mover yo
estoy en Houston y si me toca ir yo voy
10/21/23, 12:22 PM - +1 (956) 313-8224: STK-20231021-WA0011.webp (file attached)
10/21/23, 12:36 PM - .olga Perez: Dijo Valde que esa oficina está en MaCAllen
10/21/23, 12:37 PM - Ofelia: Si pero fuimos 5 los k firmamos y estamos anotados ahi
10/21/23, 12:45 PM - +1 (956) 438-6958: A ok
10/21/23, 1:03 PM - .olga Perez: Como. Kiera al ultimo. Los que. Puedan ir. De
testigos.
10/21/23, 1:20 PM - +1 (956) 510-9964: Haber de q me perdi
10/21/23, 4:02 PM - +1 (956) 356-0451: Firmaron dónde?
Anotados dónde?
Disculpe
10/21/23, 4:03 PM - +1 (956) 356-0451: Creo esto es bueno
10/21/23, 4:05 PM - Ofelia: Cuando valde metio la demanda ala corte le pidieron k si
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podiamos firmar algunos las hojas d la demanda k si eramos los d mas tiempo mejor y
firmamos 4 personas para k todo lo k se estaba poniendo en la demanda es cierto
10/21/23, 4:06 PM - +1 (956) 356-0451: Ah ok...
10/21/23, 5:58 PM - +1 (956) 252-9033:
https://www.facebook.com/100051796117274/posts/pfbid02sUBS2xFfj9boMPgVecnSpbEi6BmFiq
Hdbj6N2Gyaqma6AictjXNTAKipuUf2RVb5l/?d=w&mibextid=qC1gEa
10/21/23, 7:17 PM - +1 (956) 510-5974: Y ahora k prosigue tenemos k preguntarle al
abogao tenemos k reunionos ok
10/21/23, 7:17 PM - +1 (956) 510-9964: Estoy hablando con el
10/21/23, 7:18 PM - +1 (956) 510-5974: Ah ok aber k te dice
10/21/23, 7:22 PM - +1 (956) 510-9964: Entre el miercoles y jueves
10/21/23, 7:22 PM - +1 (956) 510-9964: Me confirma para reunirnos
10/21/23, 7:22 PM - +1 (956) 510-9964: Y les explique
10/21/23, 7:38 PM - +1 (956) 510-5974: Ok
10/22/23, 8:55 PM - Lourdes: En Telemundo en las noticias de las 10 de la noche
pasará lo de la demanda no se si ya paso más temprano que descansen compañeros.
10/22/23, 9:02 PM - +1 (956) 715-4571: 🤟
10/22/23, 9:03 PM - +1 (956) 510-9964: 😮😎
10/22/23, 9:03 PM - +1 (956) 510-9964: Vamo a ver
10/22/23, 9:04 PM - +1 (956) 715-4571: Listo para los 3 MILLONES
10/22/23, 9:05 PM - +1 (956) 510-9964: Hahahah
10/22/23, 9:05 PM - +1 (956) 510-9964: STK-20231022-WA0005.webp (file attached)
10/22/23, 9:05 PM - +1 (956) 609-0308: Si lo miran lo graban
10/22/23, 9:05 PM - +1 (956) 609-0308: Y lo suben aquí
10/22/23, 9:05 PM - +1 (956) 609-0308: Porfa
10/22/23, 9:05 PM - +1 (956) 510-9964: Ok
10/22/23, 9:06 PM - +1 (956) 609-0308: Gracias
10/22/23, 10:02 PM - +1 (956) 510-9964: <Media omitted>
10/22/23, 10:02 PM - +1 (956) 510-9964: 😮
10/22/23, 10:03 PM - +1 (956) 715-4571: Hora si despertamos ala Fieras!!!!
10/22/23, 10:04 PM - +1 (956) 510-9964: 😅
10/22/23, 10:04 PM - +1 (956) 510-9964: Ahorita les mando el video
10/22/23, 10:04 PM - Ofelia: Asi es primero dios nos va a ayudar 🙏
10/22/23, 10:04 PM - Ofelia: A okey gaby
10/22/23, 10:04 PM - +1 (956) 609-0308: Ok
10/22/23, 10:04 PM - +1 (956) 715-4571: O nos en PINAN o C DOBLAN.....
10/22/23, 10:05 PM - +1 (956) 715-4571: Es un 50% 50%
10/22/23, 10:05 PM - +1 (956) 510-9964: Ya se
10/22/23, 10:05 PM - +1 (956) 510-9964: Eso si le temo
10/22/23, 10:05 PM - +1 (956) 715-4571: Que sea lo que DIOS QUIERA....
10/22/23, 10:05 PM - +1 (956) 715-4571: 👍👍👍👍👍👍👍👍👍👍👍
10/22/23, 10:06 PM - Ofelia: Asi es d perdido k saquen a todos los k se quedaron
10/22/23, 10:06 PM - +1 (956) 510-9964: Ya se
10/22/23, 10:08 PM - +1 (956) 715-4571: Dios dira!!!
10/22/23, 10:14 PM - +1 (956) 600-0207: El video
10/22/23, 10:16 PM - +1 (956) 715-4571: Saquen el vídeo cuando no AVÍA Luz
10/22/23, 10:17 PM - +1 (956) 600-0207: No entiendo
10/22/23, 10:20 PM - +1 (956) 715-4571: 😄
10/22/23, 10:20 PM - +1 (956) 715-4571: Andas lento MAURICIO
10/22/23, 10:21 PM - +1 (956) 600-0207: Apenas me voy conectando
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10/22/23, 10:35 PM - +1 (956) 598-3675: <Media omitted>
10/22/23, 10:43 PM - +1 (956) 510-9964:
https://youtu.be/hoTzNXnL5x8?si=LsdW61UbkUB3502R
10/22/23, 11:36 PM - .olga Perez: Guarde ese video puede ser útil todos los que
tengan. Algo así paresido guárdenlo
Son pruebas de testigos
10/23/23, 4:48 AM - Ofelia: https://www.tiktok.com/t/ZT8kDk323/
10/23/23, 4:54 AM - +1 (956) 356-0451:
https://www.krgv.com/news/former-employees-file-lawsuit-against-delia-s-tamales/
10/23/23, 10:43 AM - +1 (956) 510-9964: <Media omitted>
Vamos bien
10/23/23, 10:43 AM - +1 (956) 609-0308: El 15 de diciembre
10/23/23, 10:43 AM - +1 (956) 609-0308: Es
10/23/23, 10:45 AM - +1 (956) 510-9964: No creo q llegue a esa fecha
10/23/23, 10:45 AM - +1 (956) 510-9964: 😅
10/23/23, 10:45 AM - +1 (956) 510-9964: Así como estan en todos los medios esto no
tarda
10/23/23, 10:53 AM - +1 (956) 438-6958: STK-20231021-WA0008.webp (file attached)
10/23/23, 10:57 AM - +1 (956) 510-9964: Alguien sabe si han cerrado?
10/23/23, 10:57 AM - Hector Manager: No creo, porque habrian de cerrar
10/23/23, 10:57 AM - +1 (956) 356-0451: No están abiertos
10/23/23, 10:59 AM - +1 (956) 510-9964: Simple curiosidad 😅, cuando nos
despidieron cerraron y ahora con las acusaciones están en la mira
10/23/23, 10:59 AM - +1 (956) 510-9964: De IRS, Migración etc etc
10/23/23, 11:00 AM - .olga Perez: No creo que cierren. Al contrario , ese día
cerraron por el despido y sin gente. Avía que organizarse
10/23/23, 11:00 AM - .olga Perez: Eso creo
10/23/23, 11:00 AM - Hector Manager: Asi es
10/23/23, 11:01 AM - +1 (956) 510-9964: Ahora los q están en el mismo status qe
nosotros tendrán miedo y no irán
10/23/23, 11:01 AM - +1 (956) 510-9964: Van a ver
10/23/23, 11:02 AM - Hector Manager: Puede que eso ocasione que algunos alcen la voz
10/23/23, 11:04 AM - +1 (956) 510-9964: Ojalá
10/23/23, 11:07 AM - Hector Manager: Lo que tambien los del Delias han de andar
todos asustados de que viene la diciembre y se les vayan ir los empleados si de
porsi no estan completos
10/23/23, 11:10 AM - +1 (956) 510-9964: Así es
10/23/23, 11:10 AM - +1 (956) 510-9964: Pues haber q contraten a gente con papeles,
haber si aguantan la friega
10/23/23, 11:20 AM - Ofelia: Nadanas para k sepan nos va estar ablando Valde porque
le están pidiendo la declarasion d cada uno d nosotros
10/23/23, 11:20 AM - Hector Manager: Ok
10/23/23, 11:21 AM - +1 (956) 510-9964: Siii
10/23/23, 11:25 AM - Ofelia: Primero dios con esto k esta pasando Alamejor se va a
mover mas rápido la demanda ahi k pedir mucho a dios k nos ayude mucho por lo k
llege a pasar 🙏
10/23/23, 11:28 AM - +1 (956) 313-8224:
10/23/23, 11:29 AM - .olga Perez: Ok. Y que sea lo que dios. Quiera         ojalá a
nuestro favor
10/23/23, 11:29 AM - .olga Perez: Buen día para todos 😀
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10/23/23, 2:30 PM - +1 (956) 510-5974: Hola buenas tardes y cuando vamos areunirnos
con el abogado
10/23/23, 6:18 PM - +1 (956) 609-0308:
https://m.facebook.com/story.php?story_fbid=pfbid0iaGr1F4hDqvhW1abYXSKAudi8uEJCBJAE6
gxjH5xnMfLU7AnEjFzv8jm1CEKxqCBl&id=100064572348942
10/23/23, 6:18 PM - +1 (956) 609-0308: <Media omitted>
10/23/23, 6:56 PM - +1 (956) 438-6958: STK-20231023-WA0003.webp (file attached)
10/23/23, 6:57 PM - +1 (956) 510-9964: Son han de odiar 😏
10/23/23, 6:59 PM - +1 (956) 356-0451: Y todo lo que emos pasado desde el despido yo
toda via no me puedo recuperar al 100%
10/23/23, 7:08 PM - +1 (956) 313-8224: <Media omitted>
10/24/23, 12:29 AM - .olga Perez: Oigan y somos. 26 dise el periódico 📰 🗞
10/24/23, 12:30 AM - +1 (956) 510-9964: Sii, no?
10/24/23, 12:30 AM - .olga Perez: Al pareser otras personas están queriendo entrar
10/24/23, 12:30 AM - +1 (956) 356-0451: Quienes son los otros 3 ?
10/24/23, 12:30 AM - +1 (956) 356-0451: O son anonymous
10/24/23, 12:30 AM - .olga Perez: No sé.
10/24/23, 12:31 AM - +1 (956) 510-9964: Qe personas, valde nos tiene qe avisar
10/24/23, 12:31 AM - .olga Perez: Claro que si el dijo que sólo los que estamos
10/24/23, 12:31 AM - +1 (956) 356-0451: Tenemos que estar enterados
10/24/23, 12:32 AM - +1 (956) 356-0451: No vaya a ser personas que quieren pasar
information
10/24/23, 12:32 AM - +1 (956) 510-9964: Mañana le hablo
10/24/23, 12:32 AM - .olga Perez: Pues, que nos diga si alguien más     Entraría
10/24/23, 12:32 AM - .olga Perez: Ok
10/24/23, 12:32 AM - +1 (956) 356-0451: Ok
10/24/23, 12:32 AM - .olga Perez: Si que nos diga.
10/24/23, 12:32 AM - +1 (956) 356-0451: Gracias
10/24/23, 12:33 AM - +1 (956) 510-9964: No creo
10/24/23, 12:33 AM - .olga Perez: Pues. Ojalá
10/24/23, 1:04 AM - .olga Perez: Ha. Disculpen la. Hora Bueno mañana lo ven!!
Me comentaron una persona que trabaja    En SJ. que si. Es verdad que siguen
contratando,   gente sin núm SS    Esta Camilo, el cuñado de Maria. Cómo ven y
disen que atrás también ay muchos. Que entraron así
10/24/23, 9:22 AM - Hector Manager: No es por nada pero se las van a ver dificil
este diciembre
10/24/23, 9:24 AM - .olga Perez: Asi es. Buenos días
10/24/23, 9:27 AM - +1 (956) 510-9964:   ♀ ya qe le hacemos
10/24/23, 9:31 AM - +1 (956) 510-5974: Buenos dias compañeros como amanecieron
10/24/23, 9:33 AM - Hector Manager: Pss vamos a ayudarles
10/24/23, 9:34 AM - +1 (956) 510-9964: Hahaha
10/24/23, 9:34 AM - +1 (956) 510-9964: Andale hector
10/24/23, 9:34 AM - +1 (956) 510-9964: Regresamos a la friega
10/24/23, 9:40 AM - +1 (956) 356-0451: Pregunta si la conpañia se hacerca para
negociar que vamos a hacer por que si se negocia es difernte a como la ley bueno eso
so sale todo positivo
10/24/23, 9:51 AM - Hector Manager: El asunto es el siguiente a mi pensar, queremos
que esto se arregle ya?? Entonces si ellos se acercan a arreglar el abogado debe
tener calculada la cantidad adecuada para el arreglo, si decidimos que no arreglamos
entonces se va a juicio eso implica tiempo y deacuerdo a los alegatos se puede
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conseguir mas o menos
10/24/23, 9:51 AM - .olga Perez: Ya. Negociarían. Los Abogados,
10/24/23, 9:52 AM - Hector Manager: Pero si se va a juicio estamos hablando que los
abogados de ellos lo pueden alargar mucho tiempo, estoy hablado meses o hasta dos o
tres años
10/24/23, 9:53 AM - Hector Manager: No estoy diciendo que agarremos lo primero que
nos ofrezcan simplemente hay que pensarlo
10/24/23, 10:01 AM - +1 (956) 356-0451: Hector tu saves cual es la cantidad si es
que saves la cantida que esta pidiendo valde o no
10/24/23, 10:02 AM - +1 (956) 356-0451: O va hacer individual
10/24/23, 10:04 AM - Hector Manager: Va ser individual y la cantidad de cada quien
va ser deacuerdo a los años que trabajamos ahi mas los dañosny perjuicios
10/24/23, 10:22 AM - +1 (956) 609-0308: 2007 entre yo
10/24/23, 10:34 AM - Ofelia: Ayer fui aser mi declaración no se si ya les ayan
ablado amas
10/24/23, 10:34 AM - Hector Manager: Ami no
10/24/23, 10:35 AM - Ofelia: Al pareser va pedir. Sierta cantidad y d ahi si dios
quiere todos van aser partes iguales por lo k entendi y pues es justo todos estamos
por lo mismo
10/24/23, 10:38 AM - Ofelia: Y para k sepan las 2 personas k sugun van a entrar son
unas k trabajaron ase años norma y paty segun ayer iban air mas nose pero a una d
ellas la despidieron creo k agarro dinero pero ahora k esta esto se quieren acomodar
aqui porque según tubieron despido injusto y acoso d robo
10/24/23, 10:38 AM - Ofelia: Avet ustedes k opinan d esto
10/24/23, 10:41 AM - +1 (956) 609-0308: Que no entren
10/24/23, 10:41 AM - +1 (956) 609-0308: Nos va perjudicar
10/24/23, 10:41 AM - +1 (956) 609-0308: Elsa fue de robo
10/24/23, 10:41 AM - +1 (956) 609-0308: Ellas
10/24/23, 10:43 AM - Ofelia: Yo opino lo mismo o k agan otra demanda aparte no se
ustedes
10/24/23, 10:43 AM - Hector Manager: Pues si mejor quenellas junten mas gente y
hagan lo suyo
10/24/23, 10:45 AM - +1 (956) 609-0308: Lo sé elllas es aparte
10/24/23, 10:46 AM - +1 (956) 609-0308: Digan a valde que ellas no
10/24/23, 10:46 AM - +1 (956) 609-0308: Ellas fue por fraude
10/24/23, 10:46 AM - +1 (956) 609-0308: Poreso la corrieron
10/24/23, 10:47 AM - +1 (956) 609-0308: Opinen
10/24/23, 10:47 AM - +1 (956) 609-0308: Aparte ellas ya tienen años que no trabajan
en delias
10/24/23, 10:49 AM - Ofelia: Cierto
10/24/23, 11:45 AM - Ofelia: M acaban d decir k ya fueron las hermanas con el
abogado y las agarro como segun ellas sofia fue la k les dio el social a ellas y k
nos ayuda y mas gente le está ablando k porque están afectados y quieren unirse
ustedes k piensan
10/24/23, 11:49 AM - +1 (956) 609-0308: Nombre
10/24/23, 11:49 AM - +1 (956) 609-0308: Que hagan su demanda aparte
10/24/23, 4:28 PM - +1 (956) 438-6958: Cual hermanas
10/24/23, 4:38 PM - .olga Perez: Nadie. Le dijo al abogado que no agarrara a los
demás gentes pues con esas hermanas podría declinar es caso pues. Así delias. Tiene
pruebas de que ella robo, una de las hermanas , la otra se salió sola , y ntp sea
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tal vez sería un problema pues creo si le avía robado y tendían las pruebas,..
10/24/23, 4:41 PM - +1 (956) 438-6958: Yo pienso que ya nadie debe entrar y el
abogado dijo que después de que pagáramos nadie más puede entrar
10/24/23, 4:45 PM - +1 (775) 507-1717: Eso si esta muy mal ayi si se pierde lo de
nosotro hay que decirle al abogado que ellas si tienen problemas nos afecta a
nosotro.
10/24/23, 4:48 PM - +1 (956) 510-5974: Hay k aser una reunion para hablar con el
abogado y explicarle k ya no agarre mas gente
10/24/23, 4:50 PM - +1 (775) 507-1717: Eso es bueno.
10/24/23, 4:50 PM - +1 (775) 507-1717: Digan el dia que puedan.
10/24/23, 4:52 PM - +1 (956) 510-5974: Yo puedo desires de Las 5
10/24/23, 4:59 PM - +1 (956) 510-5974: despues de la 5
10/24/23, 4:59 PM - +1 (775) 507-1717: Que dia
10/24/23, 5:00 PM - +1 (956) 510-5974: Mañana o el jueves
10/24/23, 5:00 PM - +1 (775) 507-1717: Esta bien.
10/24/23, 5:09 PM - +1 (956) 609-0308: No más nos van a perjudicar si las meten
10/24/23, 5:09 PM - +1 (956) 609-0308: Como ya vieron que vamos avanzados
10/24/23, 5:09 PM - +1 (956) 609-0308: A ellas la corrieron por robo
10/24/23, 5:09 PM - +1 (956) 609-0308: Anosotros no
10/24/23, 5:10 PM - +1 (775) 507-1717: Eso es felonia y es penado.
10/24/23, 5:10 PM - +1 (775) 507-1717: Hay que avisarle al abogado.
10/24/23, 5:11 PM - +1 (956) 609-0308: Si las meten solo le van a entorpecer lo que
vamos avanzando
10/24/23, 5:11 PM - +1 (775) 507-1717: Que no las metan
.
10/24/23, 5:13 PM - Ofelia: Para k sepan ya van como 6 personas k an ablado asta d
reynosa
10/24/23, 5:13 PM - +1 (956) 609-0308: Nombre ya es un desmadre
10/24/23, 5:13 PM - +1 (956) 609-0308: No hablen con balde los más allegados
10/24/23, 5:13 PM - +1 (956) 609-0308: A él
10/24/23, 5:13 PM - +1 (956) 609-0308: Y díganle que no
10/24/23, 5:15 PM - +1 (775) 507-1717: Eso si es lo mejor.
10/24/23, 5:15 PM - +1 (956) 510-5974: Hay k hablar con valdes para vernos los k
puedan mañana
10/24/23, 5:16 PM - +1 (956) 609-0308: Es urgente
10/24/23, 5:33 PM - +1 (956) 510-5974: Hable con valdes y dise k esta tomando
declaraciones si no an ido mañana de 9 en 5 para k vayan el va a estar alli
10/24/23, 5:34 PM - +1 (956) 510-5974: 956 5342369 es el numero de.valdes
10/24/23, 5:39 PM - Adan: No agarren alas ermanas una de ellas robo Ban echar a
perder todo
10/24/23, 6:05 PM - +1 (956) 510-9964: Sii, que ellas hagan por su lado, cuando al
principio del proceso se les aviso y no todos quisieron entrar ahora q ya ven q esto
va enserio, si quieren sorri pero no es justo
10/24/23, 6:06 PM - +1 (956) 609-0308: No es justo
10/24/23, 6:06 PM - +1 (956) 609-0308: Ellas robaron
10/24/23, 6:06 PM - +1 (956) 609-0308: Es muy diferente
10/24/23, 6:12 PM - .olga Perez: Creo   El dijo que no metería. Amas gente entonces,
por qué meter a ellas que llevan más de 8 o 10 años. Que se fueron entonces, ese. Es
un caso , en contra,    pero lo debe llevar aparte,
10/24/23, 6:14 PM - .olga Perez: Pues si esta comprobado el robo pues tenían
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pruebas videos tickets 🎟 resivos de lo que tomo, en ese caso puede perfudicar ,
Nuestro. Caso.. al pareser es la sña paty
10/24/23, 6:14 PM - +1 (956) 356-0451: Paty y su apellido ?
10/24/23, 6:16 PM - +1 (956) 356-0451: Mañana ire a dar mi declaración desp de las 3
pm y le preguntaré si es conveniente la entrada de esas 2 personas
10/24/23, 6:19 PM - .olga Perez: Patricia Conde. Norma Conde
10/24/23, 6:20 PM - .olga Perez: Mmm. No. Estoy al cien. Segura pero al pareser ya
 las agarro, y no se vale
10/24/23, 6:21 PM - .olga Perez: Y para ir a dar la declaración les está lllamando.
O cómo??
10/24/23, 6:21 PM - +1 (956) 356-0451: Si el abogado las aceptó vamos a ver tl vez
NO sea perjudicial
10/24/23, 6:22 PM - .olga Perez: En caso que demuestren delias , que fue por. Robo
se puede caer el caso todo, por mentir
10/24/23, 6:23 PM - +1 (956) 356-0451: .
10/24/23, 6:25 PM - +1 (956) 356-0451: Mañana le pregunto a Valde
10/24/23, 6:25 PM - .olga Perez: Puede alegar que estamos mintiendo además, se
supone que un. caso ,que prosede tiene que tener por mucho tres años. )Eso me dijo
balde, una Ocacion, y elllas tienen muchos. Años que paso? Eso!!!!
10/24/23, 6:26 PM - .olga Perez: Pues los que van apunten todo para preguntarle
10/24/23, 6:26 PM - +1 (956) 356-0451: Si
10/24/23, 6:53 PM - .olga Perez: https://www.tiktok.com/t/ZPR7nqtaT/
10/24/23, 6:54 PM - .olga Perez: https://www.tiktok.com/t/ZPR7n9mPJ/
10/24/23, 6:54 PM - +1 (956) 510-9964: Ok
10/24/23, 6:54 PM - +1 (956) 510-9964: Cehacamos
10/24/23, 6:58 PM - .olga Perez: https://www.tiktok.com/t/ZPR7nWnN9/
10/24/23, 7:08 PM - .olga Perez: Para el que no
Lo vio
10/24/23, 8:35 PM - .olga Perez: <Media omitted>
10/25/23, 6:02 AM - +1 (956) 356-0451: Buenos dias
10/25/23, 6:03 AM - +1 (956) 356-0451: Las personas que ya fueron a rendir su
declaración con Valde qué papelería presentron ?
10/25/23, 8:20 AM - +1 (956) 438-6958: Eso está mal que valde según dijo que los que
no daban el dinero en el tiempo que él dijo después no podían entrar se supone que
él es nuestro aboga y nos tiene que consultar porque no solo es de agarrar y ya hay
que ver los pro y los contra
10/25/23, 8:22 AM - +1 (956) 438-6958: Si no quiere decir que valde puede hacer los
que quiera con la demanda ?????
10/25/23, 9:50 AM - +1 (956) 598-3675: Buenos días hablé con valde el que pueda
horita ir para su oficina para dar su declaración de preferencia 8 personas
10/25/23, 9:53 AM - Hector Manager: Le comentaste de los nuevos que quieran entrar
al grupo?
10/25/23, 9:54 AM - +1 (956) 598-3675: Apenas boy
10/25/23, 10:06 AM - +1 (956) 510-9964: Preguntale Elias, y dile qe debería
consultarnos primero
10/25/23, 10:07 AM - +1 (956) 598-3675: Ok
10/25/23, 10:07 AM - +1 (956) 609-0308: Ellas robaron diles
10/25/23, 10:08 AM - +1 (956) 598-3675: Ok
10/25/23, 10:08 AM - +1 (956) 609-0308: Y que tiene años que ya no trabajan si
10/25/23, 10:08 AM - +1 (956) 609-0308: Ai
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10/25/23, 10:08 AM - +1 (956) 598-3675: Ok
10/25/23, 10:12 AM - Hector Manager: Supe que esas hermanas son parientes de los
garza o estan o estuvieron casadas con parientes de la sra Delia es verdad eso.?
10/25/23, 10:35 AM - Ofelia: Dice k nos ayuda averlas aceptado porque a ellas sofia
fue la k les dio los papeles porque norma trabajaba en su casa y era muy amiga d
ella y personalmente ella les dio los sociales
10/25/23, 10:35 AM - Ofelia: Ellas no eran familia
10/25/23, 10:38 AM - +1 (956) 356-0451: Y algien save cuanto eata pidiendo el
abogado De dinero
10/25/23, 10:38 AM - +1 (956) 510-9964: Ofe pero creo q valde nos debió avisar, x we
nosotros batallamos por qe nadie tenia dinero y tardamos en pagar
10/25/23, 10:39 AM - +1 (956) 510-9964: Y no es justo q ellas vengan y lleguen con
toda la mesa servida
10/25/23, 10:45 AM - Ofelia: Pues si pero si ayuda mas al caso está bien entre mas
rapido sea mejor para todos asi sabemos k va pasar
10/25/23, 10:51 AM - +1 (956) 609-0308: Yo voy mañana como las 4
10/25/23, 10:52 AM - .olga Perez: Buenos días,
Yo pienso, que en primer lugar, Valde tal vez no sabe que su caso ya tiene. Cómo
unos 8 o diez. Años , al pareser ya no prosede, eso creo,
Y a hora. Si bamos , bien y por alguna mentira de cualkier persona .       Se viene
abajo. Todos. Bamos a quedar .. Viendo.
Nos otros conocemos a Sofía. Y desde chava, No Están. Bruta para darle ella los.
SS. Eso yo casi tengo la serresa de que es mentira ahora lo disen para    Poder
entrar. Pero aya ustedes.
Aver Que piensasn ,
La realidad es que si nos pidieron papeles. Pero no. Nos los dieron ellas 🤔🤔🤔🤔
🤔🤔
10/25/23, 10:56 AM - .olga Perez: Y si Valdee dijo que los que No. le avía. Dado
dinero ya no entraban ,   Los mismos del grupo que fueron por primera
Vez,🤔?????????? A ellos . si les debió dar chanse y al último agarrar. El many,
10/25/23, 10:58 AM - Hector Manager: Todo eso se lo debemos decir a Valde para ver
qie nos dice, sera estrategia o que
10/25/23, 10:58 AM - Hector Manager: Porque una cosa si se es que si Delias se
entera que mas gente se va estar uniendo no les conviene a ellos
10/25/23, 10:59 AM - Hector Manager: Y van a querer arreglar rapido antes de que
muchos mas se junten
10/25/23, 11:00 AM - .olga Perez: No Compañeros,
Y. Pues de que nos ayude eso!! Pues no. Por qué ya no es más rápido   Ya el proseso
ya está !!
Es solo cuestión de tiempo.
10/25/23, 11:01 AM - Ofelia: Asi es hector todo esto ayuda para k sea el proceso mas
rapido
10/25/23, 11:01 AM - .olga Perez: Ok lo que creo es que si se reúnen mas     La
empresa puede tardar años en resolver . Por lo mismo
10/25/23, 11:03 AM - .olga Perez: Pues   Ay que platicar con Valde ,
10/25/23, 11:04 AM - .olga Perez: Ojalá todo sea para bien 😊
10/25/23, 11:06 AM - +1 (956) 609-0308: AY QUE OREGUNTARLE A VALDE QUIEN DIO
AUTORIZACIÓN DE METERLAS QUE DIGA
10/25/23, 11:07 AM - +1 (956) 609-0308: AQUIENES LES COMENTÓ
10/25/23, 11:39 AM - +1 (956) 598-3675: This message was deleted
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10/25/23, 11:40 AM - +1 (956) 438-6958: Pero tienen pruebas
10/25/23, 11:40 AM - +1 (956) 609-0308: De ellas ay pruebas porque clonaban tarjetas
10/25/23, 11:40 AM - +1 (956) 609-0308: Tengo entendido
10/25/23, 11:40 AM - +1 (956) 598-3675: This message was deleted
10/25/23, 11:41 AM - Hector Manager: Tiene logica porque no sabemos el porque no
pusieron denuncia
10/25/23, 6:08 PM - Hector Manager: Pregunta pa los que estaban em produccion
10/25/23, 6:09 PM - +1 (956) 609-0308: Yo
10/25/23, 6:09 PM - +1 (956) 609-0308: Mañana voy yo
10/25/23, 6:09 PM - Hector Manager: Saben si habia algun tecnico que checaba las
maquinas ahi con Luis
10/25/23, 6:09 PM - +1 (956) 609-0308: Alas 4
10/25/23, 6:10 PM - Hector Manager: Habia algun tecnico ahi?
10/25/23, 6:21 PM - Ofelia: Pues cambiaban d seguido
10/25/23, 6:52 PM - +1 (956) 438-6958: Como así ?
10/25/23, 7:02 PM - +1 (956) 609-0308: Muchos
10/25/23, 7:03 PM - Hector Manager: Es que me cayo un cable que hace dos semanas mas
o menos despidieron el tecnico de las maquinas y que se fue a HEB
10/26/23, 2:38 PM - .olga Perez: Hola compañeros bien dia
10/26/23, 2:40 PM - +1 (956) 510-9964: Hola Olga
10/26/23, 3:34 PM - +1 (956) 609-0308: Estoy con valde
10/26/23, 3:41 PM - +1 (956) 715-4571: Los que ya fueron a dar su declaración como
es Verbal? Escrito, o como está el show???
10/26/23, 3:42 PM - +1 (956) 609-0308: Escrito
10/26/23, 3:42 PM - +1 (956) 609-0308: Ya cometen nada por aquí Dise
10/26/23, 3:42 PM - +1 (956) 609-0308: Porque ay espías
10/26/23, 3:42 PM - +1 (956) 609-0308: Que ya no digamos nada por aquí
10/26/23, 3:42 PM - +1 (956) 609-0308: Corra. La voz
10/26/23, 3:43 PM - +1 (956) 600-0207: Entonces que
10/26/23, 3:43 PM - +1 (956) 600-0207: This message was deleted
10/26/23, 3:43 PM - +1 (956) 510-9964: Ok
10/26/23, 3:47 PM - +1 (956) 715-4571: 👍
10/26/23, 4:01 PM - .olga Perez: Mmmm?????????????????
10/26/23, 4:02 PM - .olga Perez: De que?????????? Se supone. Que somos el mismo
caso
10/26/23, 4:05 PM - +1 (956) 609-0308: Solo ya no comentar nada por aquí
10/26/23, 4:09 PM - +1 (956) 313-8224: hay que averiguar quien es    y ponerle
una!!!!!🤬🤬🤬
10/26/23, 4:09 PM - +1 (956) 313-8224: STK-20230509-WA0000.webp (file attached)
10/26/23, 4:10 PM - .olga Perez: Se me ase muy. Raro por qué todos estamos igual
Ono?????
10/26/23, 4:29 PM - +1 (956) 438-6958: STK-20230803-WA0004.webp (file attached)
10/26/23, 4:29 PM - +1 (956) 438-6958: STK-20231026-WA0000.webp (file attached)
10/26/23, 4:31 PM - .olga Perez: Jajajaja.
10/26/23, 4:31 PM - .olga Perez: Te pasas
10/26/23, 4:31 PM - .olga Perez: Ay. Que saber con kien platicamos. Pues del grupo.
No creo pero si con kien platicamos
10/26/23, 4:32 PM - .olga Perez: Del tema.
10/26/23, 4:32 PM - .olga Perez: No le comento ni ami mejor amiga. ???
10/26/23, 4:32 PM - +1 (956) 609-0308: El que ido el grupo cheke que estemos todos
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pongan su foto
10/26/23, 4:33 PM - +1 (956) 609-0308: Para saber quien mira
10/26/23, 4:33 PM - +1 (956) 609-0308: Quien opina
10/26/23, 4:33 PM - +1 (956) 609-0308: Para que allá confianza
10/26/23, 4:33 PM - .olga Perez: Verdad
10/26/23, 4:33 PM - +1 (956) 609-0308: Así la que no tenga foto sacarla
10/26/23, 4:34 PM - .olga Perez: No te pases. No tengo foto
10/26/23, 4:36 PM - +1 (956) 609-0308: Pos algo tenemos que hacer
10/26/23, 4:37 PM - +1 (956) 609-0308: Porque no nos conocemos a unos y no saben
quien opina
10/26/23, 4:37 PM - .olga Perez changed the group name from "Asunto Delias" to
"Asunto Delia’s"
10/26/23, 4:38 PM - .olga Perez: Al rato le pongo foto. Ok
10/26/23, 4:38 PM - +1 (956) 438-6958: Ok
10/26/23, 4:42 PM - +1 (956) 313-8224: es buena idea
10/26/23, 4:43 PM - +1 (956) 609-0308: O HACER OTRO CHAT PERO LOS QUE TENGAN FOTO
10/26/23, 4:44 PM - +1 (956) 510-9964: Haber quien es este
10/26/23, 4:45 PM - +1 (956) 510-9964: <Media omitted>
10/26/23, 4:45 PM - Hector Manager: Croenque el abogado se referia a que no
anduvieramos platicando fuera de aqui
10/26/23, 4:45 PM - +1 (956) 510-9964: Si es correcto
10/26/23, 4:45 PM - +1 (956) 609-0308: No dijo tienen un chat
10/26/23, 4:45 PM - Hector Manager: Por mi parte mi familia no sabia nada hasta las
noticias
10/26/23, 4:45 PM - +1 (956) 609-0308: No pongan nada
10/26/23, 4:45 PM - +1 (956) 609-0308: Yo digo que hagamos otro
10/26/23, 4:46 PM - +1 (956) 609-0308: Así nos dejamos de cosas
10/26/23, 4:57 PM - .olga Perez: Yo creo. Si es como dise
Héctor. Se refiere. Aque alguien de nuestro círculo anda contando , ni sabe que
tenia. Un grupo.. Valde ni el abogado,      Yo. No le comento. Del caso a nadie ,
solo los comentarios. De aki
Me han llamado. Y preguntado. Pero les digo no. Se ni sabia. Asta. Ahora de las
noticias.. ahora. Que salió. En los medios. Todos sse quieren enterar .     Pero si
no comentamos. No. Ay problema
10/26/23, 5:33 PM - .olga Perez: Haa. Ahora. Que infiltrados. Esas son las que
metió. el Valde !!!!!!no creen <This message was edited>
10/26/23, 5:34 PM - .olga Perez: Está pensándolo
10/26/23, 5:55 PM - .olga Perez: I es china, Angelica
10/26/23, 5:56 PM - Ofelia: Pero dice k ella no está en el grupo
10/26/23, 5:56 PM - +1 (956) 510-9964: Haber verifiquen
10/26/23, 5:57 PM - .olga Perez: Si es. Su negro pero. No comenta por qué. Su cel.
Es más de antes
10/26/23, 5:57 PM - .olga Perez: Número
10/26/23, 5:58 PM - Ofelia: A okey
10/27/23, 11:26 AM - .olga Perez: Hola compañeros
Buen día , ha soy Olga🤣🤣🤣no he puesto la foto
10/27/23, 11:35 AM - Ofelia: Nesesitamos ver k seas tu identificate 😂
10/27/23, 11:35 AM - Ofelia: Si no bloqueada 😂😂🤣
10/27/23, 11:35 AM - +1 (956) 609-0308: Jajajaj
10/27/23, 11:36 AM - Ofelia: Si ono mele 😂😂
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10/27/23, 11:37 AM - +1 (956) 609-0308: Sii
10/27/23, 11:37 AM - +1 (956) 609-0308: Porque está canijo
10/27/23, 11:40 AM - .olga Perez: Se pasan. 🤣🤣🤣🤣
10/27/23, 12:34 PM - +1 (956) 510-9964: Andale Mele checa eso, tu eres el encargado
de identificar cada integrante
10/27/23, 12:36 PM - Ofelia: No t agas gaby tu también no tienes foto
10/27/23, 12:36 PM - +1 (956) 510-9964: Hahahah
10/27/23, 12:36 PM - +1 (956) 510-9964: Hay les va
10/27/23, 12:37 PM - +1 (956) 510-9964: STK-20231027-WA0001.webp (file attached)
10/27/23, 12:38 PM - +1 (956) 609-0308: Pongan foto
10/27/23, 12:39 PM - +1 (956) 510-9964: Solo es de agregarlos y ya sale la foto
10/27/23, 12:39 PM - +1 (956) 510-9964: STK-20231027-WA0003.webp (file attached)
10/27/23, 12:39 PM - +1 (956) 609-0308: De los 15 años sino quieren poner otra
10/27/23, 12:39 PM - +1 (956) 609-0308: Jajaja
10/27/23, 12:39 PM - +1 (956) 609-0308: 😂🤣😂😂
10/27/23, 12:39 PM - +1 (956) 510-9964: Hahaha
10/27/23, 12:42 PM - +1 (956) 609-0308: La de bautizo
10/27/23, 12:54 PM - +1 (956) 510-9964: Calmate
10/29/23, 10:51 AM - Ofelia: https://www.tiktok.com/t/ZT8BU33V7/
10/29/23, 11:23 AM - .olga Perez: Hooo🤔
10/29/23, 11:26 AM - +1 (956) 313-8224: STK-20231029-WA0001.webp (file attached)
10/29/23, 11:31 AM - Adan: https://www.tiktok.com/t/ZPR73tRKu/
10/29/23, 2:35 PM - +1 (956) 510-9964: Hay no
10/29/23, 2:35 PM - +1 (956) 510-9964:    ♀
10/31/23, 2:57 PM - Ofelia: Quien es jose navarro alguien lo conose
10/31/23, 2:57 PM - Ofelia: Gilda
10/31/23, 2:57 PM - Ofelia: Gonzalo garcia
10/31/23, 2:58 PM - Ofelia: Marcelino cruz
10/31/23, 2:59 PM - Hector Manager: Creo que eres tu o no @19565983675
10/31/23, 3:00 PM - Hector Manager: Ellos que Ofelia?
10/31/23, 3:00 PM - +1 (956) 598-3675: Que paso
10/31/23, 3:04 PM - Ofelia: Elva maravilla quien es
10/31/23, 3:04 PM - +1 (956) 356-0451: Si soy yo
10/31/23, 3:04 PM - +1 (956) 356-0451: Gonzalo
10/31/23, 3:04 PM - Ofelia: Elvia
10/31/23, 3:05 PM - +1 (956) 356-0451: Por que
10/31/23, 3:16 PM - Ofelia: Nesesitan venir a firmar la forta d consentimiento todos
por favor d aqui al viernes tiene k entregarlo
10/31/23, 3:16 PM - Ofelia: La forma
10/31/23, 3:16 PM - +1 (956) 510-9964: Ok
10/31/23, 3:16 PM - +1 (956) 510-9964: A la oficina del abogado
10/31/23, 3:16 PM - +1 (956) 510-9964: ?
10/31/23, 3:23 PM - Ofelia: Si
10/31/23, 3:30 PM - +1 (956) 356-0451: Que forma. ? La declaracion ?
10/31/23, 3:30 PM - +1 (956) 510-5974: K forma
10/31/23, 3:37 PM - .olga Perez: Hola. Aki. Olga. O. Si.foto
10/31/23, 3:37 PM - .olga Perez: Jejej
10/31/23, 4:55 PM - +1 (956) 438-6958: ? Que forma
10/31/23, 5:11 PM - +1 (956) 313-8224: que forma? 🧐
10/31/23, 5:34 PM - +1 (956) 609-0308: Éramos 26 en la demanda
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10/31/23, 5:34 PM - +1 (956) 609-0308: Ahora que somos 30
10/31/23, 5:34 PM - +1 (956) 609-0308: Nos va tocar de 500
10/31/23, 5:35 PM - +1 (956) 715-4571: 😂
10/31/23, 5:35 PM - +1 (956) 715-4571: saldremos -100 jaja
10/31/23, 5:35 PM - +1 (956) 609-0308: Ya ahora todos son descriminados
10/31/23, 5:36 PM - +1 (956) 715-4571: Eso era de verse todos esos que no c
atrevieron.. aora si quieren entrar..
10/31/23, 5:36 PM - Ofelia: Es la firma k ustedes estan dando consentimiento para la
demanda si tienen una pregunta ablenle ael
10/31/23, 6:14 PM - +1 (956) 510-9964: Ahora si olga
10/31/23, 6:14 PM - +1 (956) 609-0308: Quite. A Gaby no pone foto
🤣
10/31/23, 6:14 PM - +1 (956) 510-9964: Jajajaj
10/31/23, 6:15 PM - +1 (956) 609-0308: Jajaja 🤣
11/1/23, 1:49 PM - +1 (956) 252-9033: Los que falten firmar que pasen hoy va a estar
hasta las 4:00pm y mañana va a estar nadamas en la mañana los que no puedan venir
dijo que el se acercaría hasta donde estén porq quiere tener listo todo para
presentar la demanda el lunes
11/1/23, 5:28 PM - +1 (775) 507-1717: Ok
11/1/23, 5:34 PM - +1 (956) 510-5974: A k Hora en la mañana
11/1/23, 6:06 PM - +1 (956) 598-3675: Me comentó que el llega a las 9 30 am
11/1/23, 6:23 PM - +1 (956) 510-5974: Ah ok
11/1/23, 6:50 PM - +1 (956) 313-8224: ok
11/2/23, 8:27 AM - Hector Manager: <Media omitted>
11/2/23, 8:27 AM - Hector Manager: Buenos.dias
11/2/23, 8:35 AM - Ofelia: Buenos dias compañeros
11/2/23, 8:54 AM - +1 (956) 313-8224: STK-20231102-WA0001.webp (file attached)
11/2/23, 9:20 AM - .olga Perez: Buenos días
11/3/23, 12:02 PM - +1 (956) 313-8224: Buenas tardes!
11/3/23, 12:03 PM - +1 (956) 313-8224: yo acabo de firmar la hoja!
11/3/23, 12:27 PM - Ofelia: Buenas tardes k bueno
11/3/23, 12:40 PM - +1 (956) 609-0308: Ya acabo de firmar vino Ami trabajo
11/3/23, 2:43 PM - +1 (956) 438-6958: Yo ya la firme también me la mando por correo
y ya sé la mande
11/3/23, 2:46 PM - Hector Manager:
11/3/23, 8:51 PM - +1 (775) 507-1717: Yo fui ayer a firmar tambien.
11/3/23, 8:52 PM - +1 (956) 510-9964: Creo ya firmaron todos verdad
11/3/23, 8:53 PM - +1 (775) 507-1717: Yo creo que si
11/4/23, 2:01 PM - +1 (956) 356-0451:
11/4/23, 3:11 PM - +1 (956) 510-5974: Yo falte pero hable con Valdes iva Ayer pero
me dijo k el lunes temprano
11/4/23, 4:38 PM - +1 (956) 685-2140: También falto yo dijo que el lunes
11/6/23, 1:58 PM - +1 (956) 356-0451:
https://m.facebook.com/story.php?story_fbid=pfbid025xaeMB6wpwsC1MzZ8YYSLEin3odNpnbC5
GxW5shqhvCtkG9pNsAmKKhg5Jzn8mVGl&id=100064519427332&sfnsn=wa&mibextid=ULOUdE
11/10/23, 11:39 AM - Ofelia: Buenos dias m acaba de decir valde k falta Mauricio en
firmar porfavor k se comunique con el
11/10/23, 11:39 AM - +1 (956) 715-4571: Yo le marco orita
11/10/23, 11:40 AM - Ofelia: Porfavor porque nadamas el falta
11/10/23, 11:50 AM - +1 (956) 600-0207: Yo ya firmé allí estaba Héctor cuando yo fui
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11/10/23, 11:50 AM - Hector Manager: Firmaste la declaracio
11/10/23, 11:51 AM - Hector Manager: Hay otra hoja que firmar
11/10/23, 11:51 AM - +1 (956) 600-0207: Yo firmé la declaración
11/10/23, 11:51 AM - +1 (956) 600-0207: Pero no me dijeron que hay que formar otra
cosa
11/10/23, 11:51 AM - Hector Manager: Si pero hay que firmar otra hoja esa salio unos
dos dias despues que fuimos
11/10/23, 11:52 AM - Ofelia: Me dijo k era mauricio y jessy perez a okey pues si
tienes chanse ablale y dile
11/10/23, 11:52 AM - +1 (956) 600-0207: Le estoy marcando y no contesta balde
11/10/23, 11:52 AM - Ofelia: Si ya firmamate
11/10/23, 12:12 PM - +1 (956) 438-2231: Ok gracias
11/11/23, 11:52 AM - Ofelia: Buenos dias oigan nadamas para decirles k por
recomendación de Valde k si llegan a ablarles d delias o algun abogado k nadamas
digan k ablen con nuestro abogado
11/11/23, 11:53 AM - +1 (956) 609-0308: Ok
11/11/23, 11:53 AM - +1 (775) 507-1717: Ok
11/11/23, 11:54 AM - +1 (956) 252-9033: Ok
11/11/23, 11:54 AM - +1 (956) 438-2231: 👍
11/11/23, 11:56 AM - Ofelia: Cualquier pregunta ablenle
11/11/23, 2:06 PM - +1 (956) 313-8224: STK-20231111-WA0000.webp (file attached)
11/11/23, 2:08 PM - +1 (956) 510-9964: Ok
11/11/23, 5:14 PM - +1 (956) 510-5974: 👍
11/12/23, 5:16 PM - +1 (956) 438-6958: Ok
11/13/23, 7:58 AM - +1 (956) 356-0451: Una pregunta para todos Algien save cuantos
somos en verdad
11/14/23, 11:04 AM - Ofelia: Quien es Ricardo Esquivel
11/14/23, 11:07 AM - +1 (956) 715-4571: Trabajaba en Mission Cocinero
11/14/23, 11:07 AM - Ofelia: Buenos dias no esta en el grupo verda
11/14/23, 11:09 AM - +1 (956) 715-4571: Siii
11/14/23, 11:09 AM - +1 (956) 715-4571: Buenos días perdón 😂
11/14/23, 11:10 AM - Hector Manager: Que con el?
11/14/23, 11:10 AM - Hector Manager: @19563560451 es el
11/14/23, 11:11 AM - Ofelia: Que se comunique von valde es k dice el k no tiene bien
su número
11/14/23, 11:11 AM - Ofelia: No a firmado y le urge verlo
11/14/23, 11:12 AM - Ofelia: Valde tiene k entregar la papelería
11/14/23, 11:13 AM - Hector Manager: Creo que sale a las 2 del trabajo
11/14/23, 11:14 AM - Ofelia: No sabes donde trabaja es k m pregunto para ir a verlo
11/14/23, 11:15 AM - Hector Manager: En el taco de la milla 3
11/14/23, 11:19 AM - Ofelia: A okey deja y le digo
11/15/23, 5:59 PM - Ofelia: Buenas tardes
11/15/23, 6:00 PM - +1 (956) 356-0451: Buenas tardes
11/15/23, 6:00 PM - +1 (956) 510-5974: Buenas tardes
11/15/23, 6:04 PM - Ofelia: Oigan quien estaría dispuesto ablar para las noticias
Don Armando Héctor Rosendo reportense Melesio
11/15/23, 6:04 PM - Ofelia: Quien
11/15/23, 6:04 PM - +1 (956) 609-0308: Porque
11/15/23, 6:04 PM - Ofelia: Jorje
11/15/23, 6:05 PM - +1 (956) 510-5974: Pork
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11/15/23, 6:05 PM - Ofelia: Juanita
11/15/23, 6:05 PM - Ofelia: Quieren una entrevista para el viernes
11/15/23, 6:07 PM - +1 (956) 313-8224: STK-20231115-WA0001.webp (file attached)
11/15/23, 6:08 PM - +1 (956) 356-0451: Jesucristo
11/15/23, 6:09 PM - +1 (956) 715-4571: Eso si va estar cabron, el que c aviente esa
entrevista... TODO el valley lo verá.. aparte tiene k ser una persona muy capacitada
y preparada y saver que decir....
11/15/23, 6:10 PM - +1 (956) 356-0451: Puede ser entrevistado anonimamente.
11/15/23, 6:11 PM - +1 (956) 510-9964: Valgame
11/15/23, 6:11 PM - +1 (956) 510-9964: Haber
11/15/23, 6:11 PM - +1 (956) 510-9964: Quien dice yo
11/15/23, 6:12 PM - +1 (956) 252-9033: Tu Gaby
11/15/23, 6:12 PM - +1 (956) 715-4571: Ñiiiaaa... todos... bien Mudos 😅
11/15/23, 6:13 PM - +1 (956) 356-0451: Puede ser un compañero de los que trabajó
desde 2000 mas o menos
11/15/23, 6:13 PM - +1 (956) 510-9964: Haber para dnd es la entrevista?
11/15/23, 6:13 PM - +1 (956) 510-9964: Telemundo?
11/15/23, 6:13 PM - +1 (956) 510-9964: Canal 5
11/15/23, 6:13 PM - +1 (956) 510-9964: Univision?
11/15/23, 6:13 PM - +1 (956) 715-4571: Esos son los candidatos adecuados los que
tienen más de 15 años...
11/15/23, 6:13 PM - +1 (956) 609-0308: Esto urge y es para el bien de nosostros yo
pienso que vallamos todos los que podamos y sí que decidan cuantos pueden entrar
11/15/23, 6:14 PM - Ofelia: Jorge es cierto por eso digo quien pueda quien tenga la
capacidad d ablar t imaginas yo 🤣
11/15/23, 6:14 PM - +1 (956) 510-9964: Haber de los q fueron a firmar la primera vez
11/15/23, 6:14 PM - Ofelia: Purs también es para noticias 40
11/15/23, 6:14 PM - +1 (956) 609-0308: Aquí es donde vamos agarrar el toro por los
cuernos y a darle
11/15/23, 6:14 PM - +1 (956) 510-9964: La sra china
11/15/23, 6:14 PM - +1 (956) 510-9964: Nooo
11/15/23, 6:16 PM - +1 (956) 356-0451: alguien que hable con coherencia. Que no se
ponga nervioso
11/15/23, 6:16 PM - +1 (956) 356-0451: Yo tartamudeo. 😫
11/15/23, 6:17 PM - +1 (956) 510-9964: Tu mauleon
11/15/23, 6:18 PM - +1 (956) 510-9964: Qe tal si podemos hacer un posible resumen
11/15/23, 6:18 PM - +1 (956) 715-4571: Pues es la oportunidad de decir en esa
entrevista los puntos claves...

-Extensas jordanas de trabajo el 24..   18 horas sin parar.

-Nos hacían trabajar cuando no avía Luz.

Cosas así que hay pruebas..
11/15/23, 6:18 PM - +1 (956) 510-9964: De lo sucedido
11/15/23, 6:18 PM - +1 (956) 510-9964: Y alguiwn q se base en eso
11/15/23, 6:18 PM - +1 (956) 510-9964: No hay q complucarnos
11/15/23, 6:18 PM - +1 (956) 510-9964: Complicarnos*
11/15/23, 6:19 PM - +1 (956) 356-0451: Aunque debemos de estar asesorados por Valde
. las preguntas pueden enredarnos
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11/15/23, 6:19 PM - +1 (956) 715-4571: Apenas tener un Resumen listo antes de la
entrevista.. por que no sabemos que nos van apreguntar n la entrevista...

Preguntar que nos van a preguntar.. hasi ya estás listo con lo respuesta..
11/15/23, 6:19 PM - +1 (956) 510-9964: Si claro
11/15/23, 6:19 PM - +1 (956) 510-9964: Además
11/15/23, 6:20 PM - +1 (956) 510-9964: El.autoriza, qe demos la entrevista
11/15/23, 6:20 PM - +1 (956) 510-9964: O quien te dijo @19562921162
11/15/23, 6:20 PM - +1 (956) 510-9964: Así es
11/15/23, 6:20 PM - +1 (956) 715-4571: No la vállamos a cagar... apleta
entrevista... y t pongas nervios y digas ESCUSMI... no entendí
11/15/23, 6:20 PM - +1 (956) 715-4571: 😅😂
11/15/23, 6:20 PM - +1 (956) 510-9964: Jajaja
11/15/23, 6:21 PM - +1 (956) 510-9964: Vaya
11/15/23, 6:21 PM - +1 (956) 356-0451: Pues si
11/15/23, 6:21 PM - Ofelia: Nesesita unas 5 personas
11/15/23, 6:21 PM - +1 (956) 356-0451: Quien está pidiéndo la entrevista
11/15/23, 6:22 PM - +1 (956) 609-0308: Que valla Ofelia la china Miguel caballaro
Juana Cruz Gaby
11/15/23, 6:22 PM - +1 (956) 356-0451: Valde NO me dijo nada hace rato que lo vi
11/15/23, 6:23 PM - +1 (956) 609-0308: LA CHINA. JUANA. OFELIA   MIGUEL Y GABY
11/15/23, 6:23 PM - +1 (956) 609-0308: SON MIS CANDIDATOS
11/15/23, 6:25 PM - Ofelia: valde m acaba d ablar para preguntarles quién estaría
dispuesto va a decirle a china y a olga pero nesesita otros mas
11/15/23, 6:25 PM - +1 (956) 609-0308: Juana
Gaby
11/15/23, 6:25 PM - +1 (956) 609-0308: El Mike
11/15/23, 6:25 PM - +1 (956) 609-0308: JESSE
11/15/23, 6:25 PM - +1 (956) 609-0308: Luisito
11/15/23, 6:28 PM - +1 (956) 356-0451: Ah ok
11/15/23, 6:29 PM - +1 (956) 356-0451: Los compañeros mas antiguos porfavor .
11/15/23, 6:29 PM - +1 (956) 356-0451: Aalgun manaGer ?
11/15/23, 6:29 PM - +1 (956) 356-0451: Que este acostumbrado a dialogar
11/15/23, 6:34 PM - +1 (956) 313-8224: Carlitos!!! 😎😎
11/15/23, 6:34 PM - +1 (956) 510-9964: @19568009450
11/15/23, 6:34 PM - +1 (956) 510-9964: @19563138224
11/15/23, 6:34 PM - +1 (956) 715-4571: Hector
11/15/23, 6:34 PM - +1 (956) 510-9964: Usted era gerente?
11/15/23, 6:35 PM - +1 (956) 510-9964: También podría ir
11/15/23, 6:35 PM - +1 (956) 715-4571: Es muy bueno para hablar en público
11/15/23, 6:35 PM - +1 (956) 510-9964: Así es
11/15/23, 6:35 PM - +1 (956) 609-0308: Tu Gabiie
11/15/23, 6:35 PM - Hector Manager: Hey si yo lo hago me va afectar en los trabjos
que tengo
11/15/23, 6:36 PM - +1 (956) 510-9964: Lo que yo opino es q se puede dar la
entrevista
11/15/23, 6:36 PM - +1 (956) 510-9964: Pero q sea modo incógnito
11/15/23, 6:36 PM - +1 (956) 510-9964: Osea ellos quieren entrevista, quieren rating
11/15/23, 6:37 PM - Hector Manager: Creo que eso concierne mas a los que tenian mas
antiguedad que fueron los que sufrieron mas
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11/15/23, 6:37 PM - +1 (956) 356-0451: Podría ser anónimo ?
11/15/23, 6:37 PM - +1 (956) 510-9964: Nosotros qeremos nuestra seguridad, podemos
decir q nos sentimos amenazados desde el día q el abogado de la empresa, dijo q
llamarían a Ice
11/15/23, 6:37 PM - +1 (956) 510-9964: Podríamos pedir q sea anónimo
11/15/23, 6:38 PM - +1 (956) 609-0308: Exacto
11/15/23, 6:39 PM - Hector Manager: Como va ser
11/15/23, 6:39 PM - Hector Manager: Si me animo
11/15/23, 6:39 PM - Hector Manager: Inguesu
11/15/23, 6:40 PM - +1 (956) 510-9964: PTT-20231115-WA0002.opus (file attached)
11/15/23, 6:40 PM - +1 (956) 356-0451: Sombreado
11/15/23, 6:40 PM - Ofelia: Bueno entonces nadien acuérdanse 💵 lo k ahi d por
medio aparte lo k nos isieron k d la noche ala mañana nos quitaron el trabajo lo
unico k se aha justicia d perdido k saquen a todos los k se quedaron aver k asen sin
gente
11/15/23, 6:40 PM - +1 (956) 609-0308: Sombreado
11/15/23, 6:40 PM - +1 (956) 510-9964: EXACTO
11/15/23, 6:41 PM - Hector Manager: Hey yo te estoy ciendo que yo
11/15/23, 6:42 PM - +1 (956) 609-0308: TIENES RAZÓN OFELIA
NO AY QUE ECHARNOS PARA ATRÁS
11/15/23, 6:42 PM - +1 (956) 356-0451: No es eso señora Ofelia estamos poniéndonos
deacueredo
11/15/23, 6:42 PM - +1 (956) 356-0451: Podemos hacer ésto muchachos
11/15/23, 6:43 PM - +1 (956) 609-0308: YO TE APOYO OFELIA
11/15/23, 6:43 PM - Ofelia: Bueno yo le dije k no soy muy buena para expressrme pero
 si no hay si voy
11/15/23, 6:43 PM - +1 (956) 356-0451: Vamos todos y los que puedan estar dentro del
foro que estén y otros atrás
11/15/23, 6:43 PM - Hector Manager: Di cuando pa ir
11/15/23, 6:43 PM - +1 (956) 356-0451: Yo no hablo muy bien
11/15/23, 6:43 PM - +1 (956) 609-0308: Vamos todos
11/15/23, 6:44 PM - +1 (956) 609-0308: Y que escojan ya estando ai
11/15/23, 6:44 PM - +1 (956) 609-0308: Pero ay que hacer acto de presencia
11/15/23, 6:44 PM - +1 (956) 356-0451: Pero Dios que nos Bendiga
11/15/23, 6:44 PM - +1 (956) 356-0451: El viernes a que hora ?
11/15/23, 6:44 PM - +1 (956) 356-0451: Inguesu
11/15/23, 6:46 PM - +1 (956) 356-0451: Yo solo se quebrar tamales 😕
11/15/23, 6:48 PM - +1 (956) 252-9033: Exacto todos los que podamos entrar y los
demás afuera si no cabemos
11/15/23, 6:48 PM - +1 (956) 609-0308: Aquí en esta demanda somos 30
11/15/23, 6:48 PM - +1 (956) 609-0308: Y no más comentamos como 10
11/15/23, 6:49 PM - +1 (956) 252-9033: No creo que salgamos en la tele porque los
abogados de delias no salieron en la televisión
11/15/23, 6:49 PM - +1 (956) 609-0308: Hala hora de estirar la mano
Ay si van estar puntuales
11/15/23, 6:49 PM - +1 (956) 609-0308: Yo pienso que ahora secundo tenemos que estar
unidos
11/15/23, 6:49 PM - +1 (956) 609-0308: Porque no somos nada más 10 somos 30
11/15/23, 6:51 PM - +1 (956) 510-5974: Yo los acompaño pero a k Hora va aser
11/15/23, 7:02 PM - Ofelia: M va ablar Valde para preguntarme si hay quien quiera ir
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ya lo les digo porque el se tiene k poner d acuerdo con los del canal
11/15/23, 7:07 PM - +1 (956) 356-0451: Yo voy.
Solo confirmen la hora. Porque del trabajo salgo a las 2. Para irme a echar un baño
de perdido 🫣
11/15/23, 7:54 PM - +1 (956) 356-0451: Porfavor sigamos siendo discretos fuera de
este chat.
11/15/23, 9:02 PM - +1 (956) 438-6958: Yo con gusto lo aria pero sería vía video
llamada ya Esque no estoy en el valle
11/15/23, 9:13 PM - +1 (775) 507-1717: Yo tambien boy pero ponga la hora para cacar
un permiso.
11/15/23, 9:13 PM - +1 (775) 507-1717: En mi trabajo.
11/16/23, 6:41 PM - +1 (956) 438-6958: Alguien sabe porque las noticias tienen todos
los nombres de nosotros
11/16/23, 6:41 PM - +1 (956) 438-6958: <Media omitted>
11/16/23, 6:41 PM - Hector Manager: Porque es record publico
11/16/23, 6:42 PM - Hector Manager: Y lo puedes consultar en linea
11/16/23, 6:44 PM - +1 (956) 438-6958: A ok
11/16/23, 6:44 PM - +1 (956) 438-6958: Porque eso está en una pagina todos los
nombres de nosotros
11/16/23, 6:44 PM - +1 (956) 438-6958: En San Antonio
11/16/23, 6:44 PM - +1 (956) 438-6958: Lo están circulando
11/16/23, 7:11 PM - +1 (956) 510-9964: Quien ira mañana?
11/16/23, 7:11 PM - +1 (956) 510-9964: A la entrevista
11/16/23, 7:13 PM - +1 (956) 313-8224: 😱
11/16/23, 7:14 PM - +1 (956) 510-5974: A k Hora va aser
11/16/23, 7:18 PM - Ofelia: No m ablo Valde y no quise molestar aver k dice mañana
11/16/23, 7:19 PM - +1 (956) 510-5974: Ok por k yo sago de trabajo como alas 4
11/16/23, 7:33 PM - Ofelia: M acaba d ablar valde dice k mañana tiene una reunion
para ponerse d acuerdo y ya nos avisa
11/16/23, 10:03 PM - +1 (956) 510-9964: Ok
11/17/23, 6:49 AM - +1 (956) 356-0451: Buenos días a todos
11/17/23, 6:54 AM - +1 (956) 313-8224: STK-20231117-WA0001.webp (file attached)
11/17/23, 12:10 PM - Ofelia: Buenos dias dice Valde k los k estén dispuestos air k
le able. Ya tiene el dia y la hora
11/17/23, 12:11 PM - .olga Perez: Hola buenos días
Pues te hirviera dicho para poner Aki en el grupo
11/17/23, 12:13 PM - Ofelia: Nadanas m dijo asi
11/17/23, 12:14 PM - .olga Perez: Ok. Pero hoy    No !!será,   la otra semana,
verdad?
11/17/23, 12:14 PM - Ofelia: Alamejor no quiso decirme por la persona k anda
llevando no nos vayan a secuertrar 😂
11/18/23, 2:02 PM - Ofelia added +1 (956) 438-6691
11/18/23, 2:04 PM - +1 (956) 438-6691: Hola
11/18/23, 2:06 PM - Ofelia: La entrevista con el canal va ser el día lunes 27 de
noviembre
11/18/23, 2:07 PM - +1 (775) 507-1717: A que horas.
11/18/23, 2:08 PM - Ofelia: Fue todo lo que me dijo no me dio hora ustedes pueden
ablar para preguntar la hora
11/18/23, 2:14 PM - Ofelia: Me dijo que todavia nose avian puesto de acuerdo los de
los canales
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11/18/23, 2:16 PM - +1 (775) 507-1717: Ok.
11/18/23, 2:18 PM - Ofelia: M acaba d decir k lo pusiera en el grupo
11/18/23, 2:19 PM - +1 (956) 313-8224: ok gracias
11/19/23, 12:51 PM - Hector Manager: <Media omitted>
11/19/23, 12:52 PM - .olga Perez: <Media omitted>
11/19/23, 4:33 PM - +1 (956) 313-8224: <Media omitted>
11/19/23, 4:56 PM - +1 (956) 715-4571: 🙏
11/19/23, 4:57 PM - +1 (956) 715-4571: Ni c acuerdan de NOSOTROS 😂😂... estamos en
el OLVIDO..
11/19/23, 5:06 PM - +1 (956) 313-8224: 🤣🤣
11/19/23, 6:26 PM - Ofelia: Feliz dia chicos espero se la ayan pasado bonito
11/19/23, 6:45 PM - +1 (956) 598-3675: <Media omitted>
11/19/23, 6:50 PM - +1 (956) 313-8224: STK-20231119-WA0005.webp (file attached)
11/19/23, 6:51 PM - Hector Manager: <Media omitted>
11/19/23, 6:51 PM - Hector Manager: No lo siento muy sincero pero es valido
11/19/23, 7:30 PM - .olga Perez: Pues feliz. Tarde a todos los hombressss jejejejej.
Del grupo
11/19/23, 7:37 PM - +1 (956) 715-4571: <Media omitted>
11/19/23, 7:38 PM - +1 (956) 715-4571: Salud
11/22/23, 6:51 AM - +1 (956) 356-0451: Buenos días alguien podría publicar la foto
donde salgan todos los nombres de nosotros se me borró
11/22/23, 6:53 AM - +1 (956) 252-9033: <Media omitted>
11/22/23, 6:53 AM - +1 (956) 252-9033: Buenos días
11/22/23, 6:53 AM - +1 (956) 356-0451: Gracias
11/23/23, 4:36 PM - .olga Perez:
https://www.facebook.com/reel/399772492376933?fs=e&s=7MtrtK&mibextid=jaSYs6
11/23/23, 4:37 PM - +1 (956) 313-8224: <Media omitted>
11/23/23, 4:38 PM - +1 (956) 598-3675: https://www.tiktok.com/t/ZPRvaVRxh/
11/23/23, 4:40 PM - .olga Perez: <Media omitted>
11/24/23, 7:40 PM - Hector Manager: Buenas noches, no notaron que ahora no hubo
tamales del gobernador
11/24/23, 7:40 PM - Hector Manager: Para la.cena del pavo
11/24/23, 7:41 PM - Hector Manager: La politica no es mensa, no le comvenia al
gobernador promocionar un lugar que esta siendo denunciado
11/24/23, 7:42 PM - .olga Perez: Ahora adonde compro el gobernador ahora que vino?
11/24/23, 7:43 PM - .olga Perez: Lo que si me pareció raro que ahora si crrraron
Ayer y también pusieron en miércoles en fb. Que para que sus empleados
descansaran!!!!     Cómo vezzzzzz. 👀
11/24/23, 7:43 PM - Hector Manager: No se pero en los videos de el no promociona
11/24/23, 7:43 PM - Hector Manager: Si tambien dije lo mismo
11/24/23, 7:44 PM - .olga Perez: Así me    Quede 😳😳😳
11/24/23, 7:45 PM - Ofelia: Dijo Valde k no iva a venir m avia comentado pero no le
crei
11/24/23, 7:45 PM - Hector Manager: No les sorprenda que ahora el 24 les den el 25 y
26
11/24/23, 7:45 PM - Ofelia: Asi es
11/24/23, 7:46 PM - .olga Perez: Si. Vino. El Gobernador. Pero ahora no hizo
promoción al delias
11/24/23, 7:46 PM - .olga Perez: Por lo menos. Ya descansan el día del pavo 🦃
Y también. Se ve que si les. Afectó, como dise Héctor…
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11/24/23, 7:54 PM - Ofelia: Si asta en los anuncios k ponen casi no les dan
promoción
11/26/23, 7:12 PM - +1 (956) 609-0308: MAÑANA A QUÉ HORAS
11/27/23, 1:47 AM - .olga Perez: https://www.tiktok.com/t/ZPRvQoe3r/
11/27/23, 10:18 AM - Hector Manager: Hey donde estan los que iban a venir
11/27/23, 10:18 AM - Ofelia: Buenos días
11/27/23, 10:20 AM - +1 (956) 313-8224: STK-20231117-WA0001.webp (file attached)
11/27/23, 10:21 AM - Ofelia: K le ablen quien va ir ahorita yo le dije k ubiera
dicho la hora porque muchos trabajamos acaba d mandar mensaje ahorita k quien va ir
k se reporte k le ablen ael
11/27/23, 10:27 AM - Ofelia: Dice quien pueda ir k vaya ala oficina nadamas hay como
tres personas
11/27/23, 10:28 AM - +1 (956) 609-0308: Yo poreso pregunté
11/27/23, 10:28 AM - +1 (956) 609-0308: Mañana a qué horas
11/27/23, 10:28 AM - +1 (956) 609-0308: Y nadie me dijo nada
11/27/23, 10:28 AM - +1 (956) 609-0308: Yo quería ir
11/27/23, 10:28 AM - Ofelia: Fue lo k le dije
11/27/23, 11:16 AM - .olga Perez: Yo estuve. Esperando. Que dijeran. Y no dijeron
nada
11/27/23, 7:18 PM - .olga Perez: Muchachos. Cómo les fue no han. Dicho
 Nada que paso?
11/27/23, 7:19 PM - .olga Perez: Cuando sale la entrevista
Al aire.
11/27/23, 7:19 PM - .olga Perez: Para estar al pendiente
11/27/23, 7:19 PM - .olga Perez: Y en qué canales
11/28/23, 11:06 AM - Hector Manager: 📸 Look at this post on Facebook
https://www.facebook.com/share/p/MK3KX1g983fNmKCx/?mibextid=qi2Omg
11/28/23, 3:58 PM - Hector Manager: Alguien de ustedes hablo con el abogado para
preguntarle que dia seria la entrevista y a que hora
11/28/23, 3:59 PM - +1 (956) 356-0451: No
11/28/23, 4:00 PM - Ofelia: Ami m dijo k el lunes pero no dijo la hora y ayer m ablo
para decirme k alas 10.30 pero yo estaba trabajando
11/28/23, 4:03 PM - Hector Manager: No supe si alguien mas fue, pero yo solo vi a
las hernanas que no se queria que entraran al grupo y yo
11/28/23, 5:01 PM - .olga Perez: Y. Si a mi me dijo pero dijo que me avisaba por
qué me avía dicho que el lunes anterior
11/28/23, 5:01 PM - .olga Perez: Yo le dije que yo iba pero pues que si en desir
E de este lunes y ni me dijo
11/28/23, 10:42 PM - +1 (956) 356-0451: <Media omitted>
11/28/23, 10:43 PM - Hector Manager: Sepa
11/29/23, 5:15 AM - +1 (775) 507-1717: This message was deleted
11/29/23, 5:16 AM - +1 (775) 507-1717: This message was deleted
11/29/23, 5:16 AM - +1 (775) 507-1717: This message was deleted
11/29/23, 5:19 AM - +1 (956) 313-8224: STK-20230701-WA0006.webp (file attached)
11/29/23, 5:20 AM - +1 (775) 507-1717: Ok
11/29/23, 5:20 AM - +1 (775) 507-1717: 😱
11/29/23, 7:58 AM - +1 (956) 510-5974: Buenos dias a todos yquien Esa persona
alguien sabe
11/29/23, 12:17 PM - .olga Perez: Súbenos días,   Cuál persona.
11/29/23, 12:19 PM - .olga Perez: Alguien. Conoce a Mario Alberto Treviño, que es un
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trabajador, ????? que también. Salió   Yo. No. Lo conozco,
11/29/23, 12:19 PM - Hector Manager: De donde salio?
11/29/23, 12:19 PM - .olga Perez: Y la que borro mensajes quien. Es ???
11/29/23, 12:19 PM - Hector Manager: Creo que se refiere a las hermanas porque ellas
no estan la hoja primera
11/29/23, 12:19 PM - Hector Manager: Gilda era de edinburg
11/29/23, 12:19 PM - .olga Perez: Supuestamente. Despedido
También
11/29/23, 12:20 PM - Hector Manager: En cual estaba?
11/29/23, 12:20 PM - .olga Perez: No, se tal vez alguien aquí lo conozca
11/29/23, 12:21 PM - Hector Manager: Lo corrieron la misma fecha que nosotros?
11/29/23, 12:21 PM - .olga Perez: Supuestamente. que está llamando para entrar ,
ala demanda
11/29/23, 12:21 PM - .olga Perez: Eso dise,
11/29/23, 12:22 PM - .olga Perez: Pero. La verda no se. quien es,
11/29/23, 12:22 PM - +1 (956) 609-0308: No ya nadie entra
11/29/23, 12:22 PM - +1 (956) 609-0308: Valde ya sabe nadie más
11/29/23, 12:22 PM - Hector Manager: Ese nombre no lo recuerdo tal ves con otro
11/29/23, 12:23 PM - .olga Perez: Mmm. Ya vez que eso dise y luego le dirán la
píldora y. Mete gente de ase diez años atrás. Pero bueno. Ya que,
11/29/23, 12:25 PM - .olga Perez: Si talvez tenía otro nombre.
Pues , Yo dije pues es. Don Alberto. Pero ,     Si estuvo ahí trabajando debió Aver
tenido otro Nombre
11/29/23, 12:25 PM - Hector Manager: Pero no sabes de que delias fue?
11/29/23, 12:30 PM - .olga Perez: Ha. No eso pregunté pues le dije que diga de que
tienda era y. Así tal vez alguien lo conozca
11/29/23, 12:30 PM - Hector Manager: Pues si
11/29/23, 12:33 PM - .olga Perez: Pero pues Aver , que pasa
También. Le digo. Bueno ahora si fue. Despedido el mismo día, que todos, entonces si
tiene derecho de entrar, No?
Pues las otras señoras. Nada que ver y ahí las metió
Valde, y le Valió que dijéramos Nosotros.
11/29/23, 12:33 PM - Hector Manager: Pues si
11/29/23, 12:33 PM - .olga Perez: Siendo que ellas , ya tenían diez años. Afuera,
11/29/23, 12:34 PM - Ofelia: Las metio y fueron las unicas k fueron ala entrevista
porque nadien pudo ir nadamas Hector y sirvio mucho lo k declararon
11/29/23, 12:44 PM - +1 (956) 438-6958: En mi tienda no abia ningún Alberto no sé
quién será
11/29/23, 1:45 PM - Ofelia: Quien pueda informarse k segun cayo migración el delias
m acaba d avisar Valde para ver sies cierto
11/29/23, 1:54 PM - +1 (956) 510-9964: 😮
11/29/23, 1:55 PM - +1 (956) 313-8224: a cual Delias?
11/29/23, 5:23 PM - Hector Manager: Apoco ya nadie tenemos concactos dentro para que
confirmen esto
11/29/23, 5:37 PM - +1 (956) 356-0451: En mission estoy seguro que No ha llegado ICE
o migración
11/29/23, 6:17 PM - +1 (956) 510-9964: Pues creo qe no
11/29/23, 7:22 PM - +1 (956) 600-0207: This message was deleted
11/29/23, 7:23 PM - +1 (956) 356-0451: Ya te Vi pelón 🤣
11/29/23, 7:23 PM - +1 (956) 600-0207: Me equivoqué jajaja
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11/29/23, 8:24 PM - .olga Perez: No al parecer fue falsa alarma de alguien
11/29/23, 8:26 PM - +1 (956) 598-3675: Logico si va a caer va a ser en todos no en
uno
11/29/23, 10:49 PM - +1 (956) 438-6958: Y quién inventaría eso
12/1/23, 9:14 AM - +1 (956) 356-0451: Muy Buenos días a todos
12/1/23, 9:15 AM - +1 (956) 313-8224: STK-20230614-WA0000.webp (file attached)
12/1/23, 9:15 AM - +1 (956) 356-0451: Ya faltan 14 días para el gran momento
12/1/23, 9:56 AM - .olga Perez: Buenos días feliz inicio de diciembre
12/1/23, 11:09 AM - Ofelia: Buenos dias a todos oigan m ablo Valde para k les
pusiera en el grupo k fueramos a meter desempleo pero le digo k no pondemos si los
papeles no sonbuenos pero dice k para k nos den una hoja d k d k no son validos k es
otra prueba yo no se k opinen ystedes
12/1/23, 11:09 AM - Hector Manager: No podemos hacer eso
12/1/23, 11:10 AM - Ofelia: No se creo k no es buena idea capaz y le llamen ala
policía 😂
12/1/23, 11:10 AM - Hector Manager: Si mostramos papeles falsos en cualquier parte
es una felonia
12/1/23, 11:10 AM - Hector Manager: No vayan
12/1/23, 11:10 AM - Hector Manager: Asi es
12/1/23, 11:10 AM - Ofelia: Pues quien guste ablarle yo ya le dije k no podemos
12/1/23, 11:10 AM - Hector Manager: Y mas a una institucion de gobierno
12/1/23, 11:11 AM - Ofelia: Si yo se
12/1/23, 11:12 AM - Ofelia: Bueno nadamas les informo y dios quiera nos vaya bien ya
mero es la corte 🙏
12/1/23, 11:58 AM - +1 (956) 510-9964: Así es
12/1/23, 8:30 PM - .olga Perez: https://www.tiktok.com/t/ZPRvpMgTa/
12/1/23, 8:31 PM - .olga Perez: https://www.tiktok.com/t/ZPRvpMPYp/
12/2/23, 5:58 AM - +1 (956) 356-0451: 📸 Mira esta publicación en Facebook
https://m.facebook.com/story.php?story_fbid=pfbid02HTDMnFkh96dKRtxQ3qg8PTmxi68M8UeVs
KfKqXHBbtSWK3NhcR6zPqPpB7ydyMP9l&id=100070177551434&sfnsn=wa&mibextid=VhDh1V
12/2/23, 11:43 AM - +1 (956) 438-6958: Ahorita me encargo de publicarlo en todas las
pulgas del valle
12/2/23, 5:15 PM - +1 (956) 313-8224: STK-20231021-WA0011.webp (file attached)
12/2/23, 7:08 PM - Ofelia added +1 (956) 227-9477 and +1 (956) 658-0513
12/3/23, 11:28 AM - +1 (956) 510-9964: ????
12/3/23, 11:37 AM - +1 (956) 609-0308: !!!!!!
12/3/23, 11:39 AM - .olga Perez: Hola buenos días,
Y de quien. Son los números de cel
12/3/23, 11:40 AM - Ofelia: Son d norma y patty las k entraron al ultimo m pidieron
k las agregara para estar pendientes d lo k fuera pasando okey
12/3/23, 11:43 AM - +1 (956) 658-0513: Hola buenos días a todos los saluda
NORMA CONDE
feliz domingo
12/3/23, 11:53 AM - +1 (956) 227-9477: Patty Conde. Buen dia!Somos las k fuimos a la
entrevista de la TV.
12/3/23, 5:34 PM - Hector Manager: Animo mi gente que ya casi es Domingo
12/3/23, 5:35 PM - Hector Manager: 😳 pss hoy es domingo
12/3/23, 5:35 PM - Hector Manager: Saludos
12/3/23, 5:36 PM - +1 (956) 598-3675: STK-20230607-WA0002.webp (file attached)
12/3/23, 5:44 PM - +1 (956) 356-0451: Saludos a todos Dios Bendice
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12/3/23, 6:50 PM - +1 (956) 356-0451: https://www.tiktok.com/t/ZT8PEucfU/
12/5/23, 6:53 AM - +1 (956) 356-0451: <Media omitted>
Para que todo salga bien
12/5/23, 9:04 AM - +1 (956) 658-0513: Amén
12/5/23, 9:46 AM - Ofelia: Dios quiera llegaran aun acuerdo los abogados m avia
dicho Valde k esta semana tienen una junta los abogados para ver si llegaban aun
acuerdo dios quiera porque ya la otra semana es la corte
12/5/23, 9:46 AM - +1 (956) 609-0308: Dios quiera
12/5/23, 9:47 AM - +1 (956) 658-0513: Primeramente Dios así será
Bendiciones para todos
12/5/23, 9:48 AM - Ofelia: 🙏
12/5/23, 9:59 AM - +1 (956) 609-0308: Ojalá sea una buena noticia este año dios
primero
12/5/23, 10:00 AM - +1 (956) 510-5974: Buenos dias 🙏🙏
12/5/23, 10:30 AM - +1 (956) 438-6958: Sería el mejor regalo que Dios nos diera para
esta navidad después de pasar tantas navidades sin nuestra familias por estar
trabajando en Delias
12/5/23, 10:33 AM - Ofelia: Muy cierto
12/5/23, 7:09 PM - .olga Perez:
https://www.facebook.com/100069463028145/posts/pfbid02hpHVdWpzg25np3f96dJH9GjtyT4tuA
dS9z6EHHWUQgR8eRwfw5U2aXVmjfh4jQ6Yl/?d=w&mibextid=K8Wfd2
12/5/23, 7:13 PM - +1 (956) 510-9964: <Media omitted>
12/5/23, 7:13 PM - +1 (956) 510-9964: 🫢
12/5/23, 7:14 PM - Hector Manager: <Media omitted>
12/5/23, 7:16 PM - +1 (956) 658-0513: Ahora resulta que son las madres Teresas de
Calcuta
12/5/23, 7:18 PM - +1 (956) 510-9964: Algo asi
12/7/23, 6:45 AM - +1 (956) 356-0451: <Media omitted>
Se va llegando la hora
12/7/23, 4:10 PM - +1 (956) 356-0451: Están muy serios
12/7/23, 4:14 PM - Hector Manager: Ya sabes que asi soy
12/7/23, 4:17 PM - +1 (956) 598-3675: STK-20231207-WA0002.webp (file attached)
12/11/23, 8:37 AM - +1 (956) 356-0451: Buenos días ya falta menos Ánimo hay que
confíar en Dios
12/11/23, 8:38 AM - +1 (956) 356-0451: <Media omitted>
12/11/23, 8:38 AM - +1 (956) 510-5974: Buen dia a todos 🙏🙏
12/11/23, 11:07 AM - +1 (956) 438-6958: Saben si los abogados siempre hablaron o no
12/12/23, 10:00 AM - Ofelia: Buenos dias grupo les iva a comentar k quien pueda le
ablen a Valde o mensaje para saber k va pasar el viernes si tenemos k ir ok para k
no pase d la vez pasada d la entrevista k ala mera hora aviso para k vea el k
estamos al pendiente porque ya ven k trabajamos y no podemos ala mera hora salirnos
yo ayer le able quedo d ablarme pero para k vea k estamos pendientes todos y aver
primero dios k pasa
12/12/23, 10:03 AM - +1 (956) 510-9964: Yo le pregunte hace unos dias
12/12/23, 10:03 AM - +1 (956) 510-9964: Pero dijo q al parecer solo ira el
12/12/23, 10:03 AM - +1 (956) 510-9964: Q dejar los documentos
12/12/23, 10:04 AM - +1 (956) 510-9964: Supongo q son las nuevas pruebas y
entrevistas
12/12/23, 10:05 AM - Hector Manager: Ya hable con el, el viernes es solo reunion de
abogados con el juez, se van a definir fechas de pruebas, declaraciones etc, me dijo
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que una ves que tenga eso nos va hablar para darnos una copia a dlcada uno
12/12/23, 10:06 AM - Ofelia: Pued ayer m dijo k me iva a avisar si teníamos k
presentarnos
12/12/23, 10:07 AM - Ofelia: A ok
12/12/23, 11:16 AM - +1 (956) 600-0207: Hay que estar al pendiente de lo que pasé
nosotros no podemos ir pero tengo fe que balde va a pelear por nuestros derechos
12/12/23, 11:26 AM - +1 (956) 356-0451: pienso que si van a juicio vamos a ganar,
ellos están perdidos porque NO tienen a nadie que testifique que la empresa NO
sabía de la gente que estaba contratando en éste estatus. Todos los manager y
Supervisores sabían de esa condición del empleado inclusive de los que aún siguen
ahí. Y por lo tanto de los que ya no están. Vamos a confiar y tener fe de que todo
saldrá bien. Les encargó que NO pasen información a los jefes que están
activos...alguien del grupo está dando información. Mejor que sea prudente. Los
jefes activos NO nos van ayudar ahorita.
12/12/23, 12:10 PM - Rosendo: 👍
12/15/23, 8:39 AM - +1 (956) 609-0308: Buenos días
Hoy es el día
12/15/23, 9:02 AM - +1 (956) 510-9964: Esperemos
12/15/23, 9:02 AM - +1 (956) 510-9964: Qe todo vaya bien el día de hoy, y no le den
tan lejos las fechas a valde para la corte
12/15/23, 9:03 AM - +1 (956) 510-5974: Buenos dias 🙏🙏
12/15/23, 9:04 AM - Rosendo: 👍
12/15/23, 9:13 AM - +1 (956) 658-0513: Hola buenos días a todos
Alguien sabe a qué hora es la reunión
12/15/23, 9:15 AM - +1 (956) 510-9964: El dia de hoy solo irán los abogados
12/15/23, 9:16 AM - +1 (956) 510-9964: Entre el lunes y martes valde hará una
reunión con nosotros
12/15/23, 10:37 AM - Hector Manager:
https://www.valleycentral.com/investigations/exclusive-former-workers-explain-why-th
ey-sued-delias/?utm_source=facebook.com&utm_medium=referral&utm_campaign=socialflow&
fbclid=IwAR1jXeSgPo5yZwIUtKH6FtDeeoc5Hk7NmWAThqclGghg4REgKcgLMOdITlQ
12/15/23, 10:45 AM - +1 (956) 356-0451:
https://www.valleycentral.com/investigations/exclusive-former-workers-explain-why-th
ey-sued-delias/?utm_source=facebook.com&utm_medium=referral&utm_campaign=socialflow&
fbclid=IwAR1jXeSgPo5yZwIUtKH6FtDeeoc5Hk7NmWAThqclGghg4REgKcgLMOdITlQ
12/15/23, 10:54 AM - +1 (956) 715-4571: Muy bien Héctor
12/15/23, 10:55 AM - +1 (956) 715-4571: Otro gran GOLPE...
12/15/23, 10:58 AM - +1 (956) 715-4571: Aique darle credito a Héctor se ocupa
AGALLAS para hablar enfrente de las Cámaras.
12/15/23, 11:07 AM - +1 (956) 609-0308: Muy bien Héctor
12/15/23, 11:07 AM - +1 (956) 609-0308: Y alas hermanas
12/15/23, 11:07 AM - +1 (956) 609-0308: Conde
12/15/23, 11:14 AM - +1 (956) 510-9964: Excelente
12/15/23, 11:14 AM - +1 (956) 510-9964: La cereza del psstel
12/15/23, 11:15 AM - +1 (956) 510-9964: Justo hoy
12/15/23, 11:42 AM - Hector Manager: Dejen ustedes ahora tengo que aguantar los
paparazzi 🤣
12/15/23, 11:44 AM - Rosendo: Mis respetos.
12/15/23, 11:47 AM - Ofelia: Hay Hector gracias por tener el valor d ablar y
representarnos a todos m isiste llorar yo soy bien chillona por eso no quise ir y si
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es cierto muchos pensamos k el mundo se nos venia encima teníamos muchas cosar por
aser yo k mi hija apenas iva a entrar al colegio y a ella no le dan ayuda fue lo
primero k pense el ella y en mi hemana k la tenía enferma pero primero dios se va
ser justicia 🙏muchas gracias y a norma y paty gracias chicas
12/15/23, 11:48 AM - +1 (956) 600-0207: Gracias Héctor
12/15/23, 11:49 AM - +1 (956) 600-0207: Gracias hermanas Conde
12/15/23, 11:52 AM - +1 (956) 609-0308: Gracias hermanas conde
12/15/23, 11:53 AM - +1 (956) 609-0308: Héctor gracias
12/15/23, 11:53 AM - +1 (956) 609-0308: Alguien sabe a qué hora era la reunión de
abogados
12/15/23, 11:54 AM - +1 (956) 658-0513: No fue fácil recordar todo lo que pasamos
ahí mientras trabajábamos y que tontamente creíamos que así era en todas partes por
no tener papeles pero la justicia divina aveces tarda pero llega BENDICIONES
12/15/23, 12:02 PM - +1 (956) 356-0451: Gracias Héctor y señoras Conde por su apoyo.
Bendiciones 🙏
12/15/23, 4:02 PM - Lourdes: Gracias @19568009450, hermanas conde por que aunque
todos pasamos la misma situación el que se presentaran y hablaran ante las cámaras
era necesario mucho valor y lo hicieron ojalá sus voces sean escuchadas
12/15/23, 4:11 PM - +1 (956) 438-6958: Gracias @19568009450 por tener ese valor y
representarnos y a cada uno de los que están apoyando también
12/15/23, 4:16 PM - Hector Manager: <Media omitted>
12/16/23, 6:22 AM - +1 (956) 313-8224: STK-20231216-WA0000.webp (file attached)
12/16/23, 12:53 PM - +1 (956) 609-0308: ALGUIEN SABE ALGO
12/16/23, 12:53 PM - +1 (956) 609-0308: DELA AUDIENCIA DE ALLER
12/17/23, 10:53 PM - Hector Manager: <Media omitted>
12/17/23, 10:55 PM - Ofelia: <Media omitted>
12/17/23, 10:57 PM - .olga Perez: <Media omitted>
12/18/23, 10:16 AM - +1 (956) 356-0451: @19568009450 es un chat serio omite por
favor ese tipo de comentarios y celebraciones .
🥸😅.
12/18/23, 10:16 AM - +1 (956) 356-0451: Y a todo ésto..que novedades ya sabe alguien
la hora de la junta ?
12/18/23, 10:21 AM - +1 (956) 510-9964: No habrá junta
12/18/23, 10:22 AM - +1 (956) 510-9964: El abogado nos avisara
12/19/23, 10:30 AM - Ofelia: Buenos dias m dijo Valde k les comunicara k si pueden
aser un resumen de lo k ganaron el los ultimos 3 Ańos no lleva prisa es para cuando
entre el ańo cualquier pregunta ablenle k tengan bonito dia
12/19/23, 1:28 PM - .olga Perez: Ok
12/19/23, 1:29 PM - Hector Manager: Es facil compañeros los que tengan la w2 ahi
dice el total de año y si tenemos uno de los ultimos chekes de este año ahi dice
tambien
12/19/23, 1:36 PM - +1 (956) 732-2011: pero esos ya los tiene el
12/19/23, 1:37 PM - .olga Perez: No ay foto
12/19/23, 1:37 PM - .olga Perez: ???
12/24/23, 4:32 PM - +1 (956) 313-8224: <Media omitted>
12/24/23, 5:03 PM - +1 (956) 438-6958: <Media omitted>
12/24/23, 5:29 PM - +1 (956) 313-8224: STK-20231224-WA0004.webp (file attached)
12/24/23, 5:32 PM - +1 (956) 510-5974: Feliz Navidad a todos
12/24/23, 5:34 PM - +1 (956) 715-4571: Ora si compañeros a disfrutar el 24.... como
debe de ser!! Después de muchos dic. todos SOMBIES a esta hora..
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12/24/23, 6:20 PM - +1 (956) 732-2011: <Media omitted>
12/24/23, 7:35 PM - +1 (956) 510-5974: 👍
12/24/23, 7:47 PM - +1 (956) 313-8224: hubieramos echo una psada entre nosotros 😅
12/24/23, 7:59 PM - +1 (956) 609-0308: Ay que serla
12/24/23, 8:54 PM - +1 (956) 715-4571: Sii vamos
12/24/23, 8:54 PM - +1 (956) 715-4571: Yo me apunto
12/24/23, 8:55 PM - +1 (956) 715-4571: YO PRESTO MI CASA 🏠
12/24/23, 8:56 PM - +1 (956) 658-0513: Ok si se hace avisan las
Conde nos apuntamos
12/24/23, 9:06 PM - +1 (956) 609-0308: Yo también me apunto
12/24/23, 9:08 PM - +1 (956) 356-0451: Igual yo
12/24/23, 9:17 PM - +1 (956) 510-9964:
12/24/23, 9:17 PM - +1 (956) 510-9964: Una carnita asada
12/24/23, 9:19 PM - +1 (956) 510-5974: Nadamas disen cuando
12/24/23, 9:21 PM - +1 (956) 313-8224:    ♂ yo tambien!!!
12/24/23, 9:21 PM - +1 (956) 510-9964: Haber digan
12/24/23, 9:21 PM - +1 (956) 510-9964: Entre semana q días pueden?
12/24/23, 9:22 PM - +1 (956) 609-0308: Sábado
12/25/23, 11:59 PM - +1 (956) 356-0451: <Media omitted>
12/26/23, 12:28 AM - .olga Perez: Feliz Navidad 🎄. A todos
12/31/23, 9:51 AM - +1 (956) 313-8224: <Media omitted>
12/31/23, 11:54 AM - .olga Perez: <Media omitted>
12/31/23, 3:12 PM - +1 (956) 598-3675: https://www.tiktok.com/t/ZT8Cf5FmE/
12/31/23, 9:17 PM - +1 (956) 438-6958: <Media omitted>
1/1/24, 12:27 AM - +1 (956) 510-5974: ▶ Mira este reel
https://www.facebook.com/share/r/1zUzx6WtuepGNBpr/?mibextid=31ks6x
1/3/24, 9:14 AM - Hector Manager: Buenos dias compañeros, recordemos llevarle la
informacion que nos pidio el abogado
1/3/24, 9:16 AM - +1 (956) 313-8224: STK-20230614-WA0000.webp (file attached)
1/3/24, 9:25 AM - +1 (956) 609-0308: Ok
1/3/24, 10:48 AM - Hector Manager: @19564386958 @19563138224 @19564386691 acabo de
hablar con Balde y necesita que le hablen para que le den su fecha de ingreso al
Delias
1/3/24, 10:51 AM - +1 (956) 438-6958: Listo yo le llamo ahorita
1/3/24, 10:51 AM - Hector Manager: Tu madre tambien
1/3/24, 11:24 AM - +1 (956) 313-8224: listo ya hable con el !
1/3/24, 11:26 AM - +1 (956) 510-5974: El me llamo Ayer ya le.di las fechas
1/3/24, 11:27 AM - +1 (956) 438-6958: Ya hablamos con el gracias
1/3/24, 11:27 AM - Hector Manager:
1/3/24, 12:02 PM - +1 (956) 609-0308: Una pregunta
1/3/24, 12:02 PM - +1 (956) 609-0308: Hasta cuando podemos dar esa información
1/3/24, 12:02 PM - +1 (956) 609-0308: Se podría ir el sábado
1/3/24, 12:03 PM - Hector Manager: Habla con el, yo creo que si el.solo esta
recopilando informacion al momento y esos datos los quiere tener listos para
comparar con los del Delias
1/3/24, 12:03 PM - +1 (956) 609-0308: Aok
1/3/24, 12:03 PM - Hector Manager: Lo que me dijo es que el pido informacion de
todos nosotros al Delias y solo quiere comparar que los datos que ellos tienen sean
iguales
1/3/24, 12:04 PM - +1 (956) 609-0308: Cuando nos empezaron apagar con papeles yo le
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pelee ala gringa por ellos te empezaban desde que te pagan con papeles
1/3/24, 12:05 PM - +1 (956) 609-0308: Y le aleje de mí Alo de entrada
1/3/24, 12:05 PM - +1 (956) 609-0308: Le dije yo no entre en ese tiempo
1/3/24, 12:05 PM - +1 (956) 609-0308: Me avisan puesto que era del 2017
1/3/24, 12:05 PM - +1 (956) 609-0308: Y le dije yo no entre en ese tiempo
1/3/24, 12:06 PM - +1 (956) 609-0308: Dijo si pero con papales así te vamos a poner
1/3/24, 12:06 PM - +1 (956) 609-0308: Les dijo para que tengan cuidado
1/3/24, 3:32 PM - +1 (956) 356-0451: 👍
1/5/24, 10:46 AM - Hector Manager: Oye Melesio tu estas hablando de la sra mayor que
estaba en recursos humanos?
1/5/24, 10:47 AM - Hector Manager: Deborah White
1/5/24, 11:01 AM - .olga Perez: Creo que si de ella abla. 🤫
1/5/24, 11:40 AM - +1 (956) 609-0308: Esto que
1/6/24, 1:44 PM - .olga Perez: <Media omitted>
1/6/24, 1:44 PM - .olga Perez: Y soporten aunque sea una pagina seria
1/6/24, 1:45 PM - +1 (956) 356-0451: <Media omitted>
1/6/24, 1:46 PM - +1 (956) 313-8224: <Media omitted>
1/6/24, 1:47 PM - Hector Manager: Alguien sabe porque el Delias va cerrar temprano
el Lunes 8
1/6/24, 1:54 PM - Hector Manager: Ah ya se
1/6/24, 1:54 PM - Hector Manager: Quiero pensar que por la posada
1/6/24, 1:54 PM - +1 (956) 356-0451: Por la cena que les hacen a los supervisores
1/6/24, 1:57 PM - +1 (956) 356-0451: Y manejadores también dónde se le va a entregar
el bono
1/6/24, 1:58 PM - Hector Manager: Hay que ir, nos deben lo proporcional al año
1/6/24, 6:19 PM - +1 (956) 438-6958: Según que es la cena y que les van a dar su
bono que por el ardo trabajo de diciembre 🥸
1/7/24, 12:04 AM - +1 (956) 510-9964: Nosotros también recibiremos nuestro bono
1/7/24, 12:04 AM - +1 (956) 510-9964: 😅
1/15/24, 5:59 AM - +1 (956) 510-9964: <Media omitted>
1/15/24, 6:00 AM - +1 (956) 609-0308: Buenos días 🌞
1/15/24, 6:00 AM - +1 (956) 510-9964: Solo faltan 30 días más de los 60 que dieron
para que llegarán a un acuerdo, hay vamosss lentos pero seguros
1/15/24, 6:01 AM - +1 (956) 609-0308: Primero Dios todo saldrá a favor
1/15/24, 6:01 AM - +1 (956) 356-0451: Amén 🙏
1/15/24, 7:06 AM - +1 (956) 600-0207: Amen
1/15/24, 7:32 AM - +1 (956) 715-4571: Pregunta? Tienen que ir personalmente a
entregar lo que pidió el abogado? Los ingresos de hace 3 años patras?
1/15/24, 7:32 AM - +1 (956) 715-4571: O selo mandan por mgs?
1/15/24, 8:17 AM - +1 (956) 313-8224: STK-20240115-WA0003.webp (file attached)
1/15/24, 8:19 AM - +1 (956) 510-9964: Al parecer solo era información de los
compañeros qe tenían más tiempo, solo para hacer un estimado de los q les
descontaban de su cheqe
1/15/24, 8:30 AM - +1 (956) 715-4571: Gracia gabiie
1/15/24, 9:54 AM - .olga Perez: Buenos días,   cuídense mucho estos días, estará muy
frío ☃☃☃☃
1/15/24, 1:02 PM - +1 (956) 609-0308: Alguien sabe si no podemos usar la w2 de
Delias
1/15/24, 1:12 PM - +1 (956) 438-6958: Alguien sabe si ya llegaron las w2
1/15/24, 1:13 PM - Hector Manager: Como?
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1/15/24, 1:13 PM - Hector Manager: Todavia no esas te van a llegar por correo
1/15/24, 1:13 PM - +1 (956) 609-0308: Las podemos usar o no
1/15/24, 1:13 PM - +1 (956) 609-0308: Alguien sabe
1/15/24, 1:13 PM - Hector Manager: Para hacer tu declaracion?
1/15/24, 1:14 PM - Hector Manager: Yo creo que si
1/15/24, 1:14 PM - +1 (956) 609-0308: Le hablé al abogado pero contestó para
preguntar
1/15/24, 1:14 PM - +1 (956) 438-6958: Por correo si es a mi casa ya no vivo ahí tú
crees que si llamo que me la den por correo electrónico me la manden
1/15/24, 1:20 PM - +1 (956) 356-0451: Búscala en pay chex
1/15/24, 1:21 PM - Hector Manager: Esa es otra cosa a mi me llego un email
1/15/24, 1:21 PM - Hector Manager: Que mi cuenta de paycheck habia sido cerrada
1/15/24, 1:21 PM - +1 (956) 356-0451: Paychex fexs
1/15/24, 1:21 PM - +1 (956) 356-0451: Ami ya me llegó
1/15/24, 1:22 PM - +1 (956) 356-0451: Paychex flex
1/15/24, 1:24 PM - Hector Manager: Yo no tengo acceso ya me lo canecelaron
1/15/24, 1:32 PM - +1 (956) 356-0451: file_1.pdf (file attached)
1/15/24, 1:33 PM - Hector Manager: Si
1/15/24, 1:33 PM - +1 (956) 356-0451: Ok
1/15/24, 1:34 PM - +1 (956) 356-0451: Me llegó el 4 dé diciembre
1/15/24, 1:35 PM - +1 (956) 356-0451: <Media omitted>
1/15/24, 1:41 PM - Hector Manager: A alguien mas le ha llegado
1/22/24, 5:42 PM - .olga Perez: Algún Carlos Garza fue al Delia’s. Por la w2
1/22/24, 5:42 PM - .olga Perez: O quien fue???? Asta el Felisa
1/22/24, 5:42 PM - .olga Perez: Delias
1/22/24, 5:43 PM - Hector Manager: Y se la dieron?
1/22/24, 5:43 PM - .olga Perez: A quien
1/22/24, 5:43 PM - .olga Perez: ???
1/22/24, 5:43 PM - Hector Manager: ??
1/22/24, 5:44 PM - .olga Perez: No pregunto qué. Quien fue al Delia’s??
1/22/24, 5:44 PM - +1 (956) 609-0308: Quién es ese
1/22/24, 5:44 PM - .olga Perez: No.    Se quien es
1/22/24, 5:44 PM - +1 (956) 609-0308: Delias las manda por correo
1/22/24, 5:44 PM - .olga Perez: Haa ok.
1/22/24, 5:45 PM - .olga Perez: Pues. Por qué. Alde pregunto que. Quien avía. Ido
al Delia’s por la W2 pues. Dise k no tienen que ir
1/22/24, 5:45 PM - +1 (956) 609-0308: Si alguien tiene un contacto
Adentro todavía que pregunte si ya les llegó
1/22/24, 5:45 PM - .olga Perez: Haa. Ok
1/22/24, 5:48 PM - +1 (956) 438-6958: Le pregunté al team leader de Edimburgo y
según que aún no las an dado
1/22/24, 5:48 PM - +1 (956) 438-6958: Yo leande un correo a blanca que me mandará la
mia pero no contesto
1/22/24, 5:48 PM - +1 (956) 609-0308: Alo mejor este viernes
1/22/24, 5:49 PM - +1 (956) 609-0308: Las mandan
1/22/24, 5:49 PM - Hector Manager: Si yo tengo entendido que las mandan
1/22/24, 5:49 PM - +1 (956) 609-0308: Si las mandan por correo
1/22/24, 6:19 PM - +1 (956) 438-6958: Si las mandan por correo pero yo le mandé msj
porque ya no vivo en esa dirección y no tengo acceso
1/22/24, 6:29 PM - .olga Perez: Ya regresé!!!! 🤭🤭🤭
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1/22/24, 6:32 PM - .olga Perez: Ok. Bueno. Cómo estamos en una demanda y los
papeles. Son feik.
 Dise se, Valde Que no Los anden pidiendo pues. No se kien le diría a él si los
abogados denos otros , o los del Delia’s,
1/22/24, 6:34 PM - .olga Perez: Y Recuerden que ya no tenemos amigos ahí, por qué
todo lo que ablamos. Preguntemos , le disen Ali’s maneja dores o a los
supervisores, ahora que estamos en esta demanda debemos tener mucho cuidado de con
kien ablamos que cedimos del caso   Por que se puede Venir abajo, eso dijo, y no
pregúntele a Valde
1/22/24, 6:34 PM - Hector Manager: Esta bien raro, porque a mi me borraron mi cuenta
de paycheck
1/22/24, 6:34 PM - Hector Manager: Yo de plano ya no tengo contactos ahi
1/22/24, 6:35 PM - .olga Perez: Por qué no son buenos creo no los que ellos nos
daban
1/22/24, 6:35 PM - .olga Perez: Yo desde ase mucho casi desde que empezamos , si me
an. Llamado algunos pero yo no menciono. Nada del este caso
1/22/24, 6:38 PM - .olga Perez: Ya les pase lo que dijo Valde, si ay dudas able
con. El.. para Que Los Oriente o les diga,
1/22/24, 6:39 PM - .olga Perez: Pues dijeron que un tal. Carlos andaba preguntando
pero creo el apellido, era Garza,
1/22/24, 6:39 PM - .olga Perez: No se
1/22/24, 6:40 PM - +1 (956) 715-4571: En qué fase va el caso? Estamos esperando 30
díaz para terminar de negociar?
1/22/24, 6:41 PM - Hector Manager: No, a mediados de febrero se acaba el plazo qué
el juez dio a los abodagos de ambos bandos para presentar las preguntas o pruebas
para seguir con el proceso
1/22/24, 6:41 PM - .olga Perez: Al parecer en febrero ay otra reunión entre abogados
, pero. Todos y cada uno de nosotros estemos llamando a Valde para que nos informe,
1/22/24, 6:50 PM - +1 (956) 438-6958: A mí también
1/22/24, 6:50 PM - +1 (956) 438-6958: A mí también
1/22/24, 11:05 PM - .olga Perez: Pues. Si. Borraron eso por que ya no les van a
pagar ellos
1/22/24, 11:05 PM - .olga Perez: Creo
1/23/24, 12:13 PM - +1 (956) 438-6958: Buenos días grupo acabo de hablar con valde y
dise que no pidamos nada porque como tenemos un abogado Delias dise que se la
pidamos a valde y como ellos no le an dado nada de información al nuestro abogado
pues valde no nos puede dar nada entonces dise valde que hagamos las taxas los que
hacemos con los talonarios de choque de esos meses
1/27/24, 12:35 PM - +1 (956) 609-0308: Alguien sabe si podemos usar la w2 de Delias
1/27/24, 1:20 PM - +1 (956) 510-9964: No se
1/27/24, 1:20 PM - +1 (956) 510-9964: Pero yo diría q no
1/27/24, 3:00 PM - .olga Perez: Creo que. Valde dijo que lo afán con los últimos
cheques. Que nos dieron
2/1/24, 6:13 PM - +1 (956) 609-0308: Ya callo la w2
2/1/24, 6:15 PM - +1 (956) 510-9964: Ya
2/1/24, 6:15 PM - +1 (956) 510-9964: Bueno a mi ya
2/1/24, 6:15 PM - +1 (956) 510-9964: Apenas
2/1/24, 6:15 PM - +1 (956) 609-0308: Ami hoy
2/1/24, 6:16 PM - .olga Perez: Trakaaaaaaaaaaaaa
Ay no más. Para. Que. No digan que es falsaaaa. Heeeee
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2/1/24, 6:16 PM - +1 (956) 609-0308: Como
2/1/24, 6:19 PM - .olga Perez: Si. La debieron Aver mandado para que no digamos que
era falsa. Queeeee? Jajaja
2/1/24, 6:23 PM - +1 (956) 510-9964: Haha
2/1/24, 6:24 PM - Hector Manager: Pss a mi nanais
2/1/24, 6:27 PM - +1 (956) 510-9964: Será prudente utilizarla?
2/13/24, 10:54 AM - .olga Perez: Mmm. Nadie saluda, que tal. Heeeeee ,!!!!!!!!!
y bueno que Alguien ha. Tenido algún comentario con Valde. Alguien le a Marcado
para Ver Como Andamos. De Noticias. ???Companeros,
Hola. Buenos días ☀ 🌞🌞 <This message was edited>
2/13/24, 11:09 AM - +1 (956) 313-8224: STK-20231117-WA0001.webp (file attached)
2/13/24, 1:59 PM - +1 (956) 356-0451: Buenas tardes a todos. Una pregunta para todo
el grupo, como bien saben el jueves hay reunión de abogados y se está oyendo un Run
Run de que Delia's quiere negociar. Ya saben que cantidad se va a negociar ? O como
va ser ésto, porque se está oyendo que se van arreglar ya !!!
2/13/24, 3:20 PM - +1 (956) 600-0207: Yo able con balde y fue lo que me dijo que al
parecer ya quieren llegar a un arregló
2/13/24, 3:28 PM - +1 (956) 715-4571: lo más interesante es un PERMISO DE TRABAJO..
muchachos el dinero se gasta y volvemos a lo mismo..
2/13/24, 3:29 PM - +1 (956) 715-4571: Con permiso cambia toda el show.... ese que
nos darán lo puedes hacer trabajando bien...
2/13/24, 3:30 PM - +1 (956) 715-4571: Así pienso yo... obviamente todos tienen
diferentes necesidades..
2/13/24, 3:31 PM - +1 (956) 715-4571: Pero que padre sería poder trabajar legamente
y poder andar bien con licencia, ir donde quieres sin problema...
2/13/24, 3:32 PM - +1 (956) 715-4571: Hay que ponernos pilas con eso del permiso....
mi tía acaba de ganar un cazo asiii con ese y le dieron 50 mil y RECIDENCIA.
2/13/24, 3:33 PM - +1 (956) 715-4571: So si es POSIBLE... lo acabo de comprobar..
2/13/24, 8:04 PM - Hector Manager: Eso te dijo??? Eso es bueno
2/14/24, 1:52 PM - .olga Perez: <Media omitted>
Feliz día 14. Febrero a todos
2/14/24, 2:02 PM - +1 (956) 313-8224: STK-20240214-WA0015.webp (file attached)
2/15/24, 5:11 PM - +1 (956) 356-0451: Alguien tiene una novedad de lo de hoy con los
abogados
2/15/24, 7:06 PM - +1 (956) 313-8224: STK-20240215-WA0013.webp (file attached)
2/15/24, 7:08 PM - .olga Perez: No. Sabía, que hubo hoy??
2/19/24, 5:32 PM - +1 (775) 507-1717: Hola buenas tarde compañero able con el
abogado Balde y no quedaron en nada me dijo a mi que yo le ablara el jueves y que
llevara los talones de cheque para ver si me deben horas y yo le respondi que de eso
no se traraba que el peleara por descriminacion y me dijo que el jueves el me va
decir que dia para darmw una cita en su oficina.esta raro esto.
2/19/24, 5:33 PM - +1 (956) 313-8224: 😳
2/19/24, 6:01 PM - .olga Perez: 🤫🤫🤫🤫
2/19/24, 6:28 PM - +1 (956) 510-5974: Hay k ir hablar con el abogado aver k esta
pasando por k nada Mas nos estan disiendo en trenta dias en 60 dias y nada
2/19/24, 6:29 PM - +1 (956) 600-0207: Es cierto hay que ir por qué ya fue mucho y no
hay respuesta
2/19/24, 9:06 PM - +1 (956) 715-4571: Mmmm 🤔 no olviden que el DINERO cambia asta
al más Onesto... pero si algo NO anda bien.. tenemos que ir
2/22/24, 3:45 PM - +1 (956) 658-0513: Hola buenas tardes
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Alguien tiene alguna noticia de la demanda?
2/22/24, 4:07 PM - +1 (956) 600-0207: Hasta ahora nada en concreto
2/22/24, 4:38 PM - +1 (956) 658-0513: Gracias
2/22/24, 8:43 PM - .olga Perez: This message was deleted
2/22/24, 8:43 PM - .olga Perez: This message was deleted
2/22/24, 8:43 PM - .olga Perez: This message was deleted
2/22/24, 8:44 PM - .olga Perez: This message was deleted
2/22/24, 8:44 PM - .olga Perez: This message was deleted
2/22/24, 8:44 PM - .olga Perez: This message was deleted
2/22/24, 8:44 PM - .olga Perez: This message was deleted
2/25/24, 3:44 PM - +1 (956) 356-0451: Buenas tardes.
2/25/24, 3:44 PM - +1 (956) 313-8224: STK-20230523-WA0000.webp (file attached)
2/25/24, 3:46 PM - +1 (956) 356-0451: Dios Bendiga a cada familia de este chat, Dios
sabe lo que está sucediendo en nuestro corazón, Dios sabe que fuimos buenos
empleados y fieles para la compañía Delia's Tamales. A mí me gustaba mucho mi
trabajo duré poco más de 5 años . Dios sabe todo lo que pasamos en esa empresa Bueno
y Malo .
2/25/24, 3:46 PM - +1 (956) 356-0451: Dios Bendice nos por sobre todas las cosas.
2/25/24, 3:46 PM - +1 (956) 356-0451: Amén 🙏🙏🙏
2/25/24, 3:47 PM - +1 (956) 356-0451: Gloria a Dios en las Alturas 🙏
2/25/24, 3:47 PM - +1 (956) 356-0451: Pasen Bendecido Domingo 🙏 en familia.
2/27/24, 11:57 AM - +1 (956) 658-0513: Hola hola
Saludos a todos espero estén bien
Alguien tiene alguna novedad de la demanda
2/27/24, 12:02 PM - +1 (956) 356-0451: Buenos días
2/27/24, 12:04 PM - +1 (956) 356-0451: Yo no.
2/27/24, 7:49 PM - +1 (775) 507-1717: Able con el abogado aver que dice esta raro
esto solo quieren darle a los de mas que tienen de 5 años en adelante yo le boy a
seguir ablando aver que pasa.
2/27/24, 7:50 PM - +1 (775) 507-1717: Hay que ponernos las pilas.
2/27/24, 8:01 PM - Adan: No s
2/27/24, 8:01 PM - Adan: This message was deleted
2/27/24, 8:03 PM - +1 (956) 609-0308: El abogado está siendo su trabajo
2/27/24, 8:05 PM - Adan: This message was deleted
2/27/24, 8:05 PM - +1 (956) 609-0308: This message was deleted
2/27/24, 8:06 PM - Adan: PTT-20240227-WA0040.opus (file attached)
2/27/24, 8:07 PM - +1 (956) 609-0308: El abogado está bien
2/27/24, 8:07 PM - +1 (956) 609-0308: This message was deleted
2/27/24, 8:07 PM - Adan: This message was deleted
2/27/24, 8:08 PM - +1 (956) 600-0207: This message was deleted
2/27/24, 8:09 PM - +1 (775) 507-1717: Para eso se hizo el grupo asi no es la cosa .
2/27/24, 8:09 PM - +1 (775) 507-1717: Mejor ubieran dicho que individual que cosa de
la vida .
2/27/24, 8:10 PM - Adan: PTT-20240227-WA0042.opus (file attached)
2/27/24, 8:16 PM - .olga Perez: Hola, compañeros. Pues. Nadie. Sabe mucho. Pero
cada. Uno de nosotros. Debenos ir alas oficinas si queremos. Saber, algo más para
infórmanos. Bien debemos ir cada uno, debe ser responsable ,de su caso que es
mismo, de todo el grupo.
Y pues. Nada debemos. Ser pacientes, y esperar. Asta el final,
2/27/24, 8:21 PM - .olga Perez: Y No ,      dividirnos , que estamos en el mismo.
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Barco,
Con más o menos tiempo.
Pero todos. Fuimos despedidos.,discriminardos.Y Amezados , con echarnos migración O
Ice O No.
O sea Nos Echaron vilmente. Así que. Debemos. Seguir unidos. Y esta bien
preguntar,
 Pero también ir. A informarse, allá alas Oficinas. 🤫 <This message was edited>
2/27/24, 8:22 PM - +1 (956) 609-0308: Exacto unos tenemos más tiempo y otros menos
tiempo pero estamos en el mismo barco
2/27/24, 8:24 PM - +1 (956) 356-0451: Si nada más hay que tener paciencia y confiar
en el abogado y en Dios
2/27/24, 8:24 PM - +1 (956) 609-0308: Exacto
2/27/24, 8:24 PM - +1 (956) 609-0308: Dejarlo ser su trabajo
2/27/24, 8:24 PM - +1 (956) 609-0308: Esto no es de la noche a la mañana
2/27/24, 8:25 PM - +1 (956) 313-8224: STK-20240227-WA0043.webp (file attached)
2/27/24, 8:26 PM - +1 (956) 356-0451: Delia's está retrasando todo pero al final va
a tener que ceder
3/3/24, 6:37 PM - Hector Manager: Buenas tardes compañeros, creonque lo mas sano es
que organicemos una reunion todos y los abagados para que todos tengamos la misma
informacion, en estos dias voy hablar con el y decirle que organize algo para el
prpxima miercoles 13 de marzo como las 7pm para que todos todos tengamos oportunidad
de ir
3/3/24, 6:38 PM - +1 (956) 356-0451: Ok
3/3/24, 7:03 PM - +1 (775) 507-1717: This message was deleted
3/3/24, 7:05 PM - +1 (775) 507-1717: Eso esta bien Hector por preocuparse por el
grupo.
3/3/24, 7:16 PM - +1 (956) 609-0308: Yo creo que si ay algo él nos avisará
Dejémoslo trabajar
Como quiera cada quien puede ir a verlo y a clarar sus dudas
3/3/24, 7:19 PM - Hector Manager: Si tienes razon, pero creo que ya ha pasado 6
meses y no hemos tenido un como va el caso, a todos nos dice vosas diferentes,
ahorita anda lo de la lista que segun nomas los de 10 años van a tener algo, a mi me
dijo otra cosa a alguien ma sle dijo otra cosa, a lo que voy es que si a cada rato
le estamos hable y hable el ya ni ha de saber que le.dijo a casa uno
3/3/24, 7:21 PM - +1 (956) 356-0451: Estoy de acuerdo con la cita
3/3/24, 7:21 PM - +1 (956) 356-0451: Gracias Héctor
3/3/24, 7:24 PM - +1 (956) 609-0308: Aquí todos estamos en el mismo caso así tengas
5 10 15 20 a todos nos va tocar lo que nos toca     Si alguien tine duda valla a
verlo
3/3/24, 7:26 PM - +1 (956) 356-0451: Sigamos con la cita Héctor, para platicar
todos.
3/3/24, 7:28 PM - Hector Manager: Nadie dice que no estemos todos dentro, creo que a
algunos los lleno de dudas varios comentarios, ademas el querer una reunion solo
para una actualizacion no va impedir que se atrase algo o que se pierda algo
3/3/24, 9:24 PM - +1 (956) 732-2011: estamos d acuerdo con la cita 👍
3/3/24, 9:52 PM - +1 (956) 510-5974: Donde va a ser la reunion
3/3/24, 9:53 PM - Hector Manager: Se va a cordinar apenas por eso voy a proponer el
13 de marzo para que haya tiempo
3/3/24, 9:54 PM - +1 (956) 510-5974: Ah esta bien gracias
3/4/24, 6:58 AM - +1 (956) 313-8224: STK-20240227-WA0043.webp (file attached)
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3/11/24, 9:44 AM - +1 (956) 609-0308: ME ACABA DE HABLAR VALDE
3/11/24, 9:44 AM - +1 (956) 609-0308: QUIERE QUE YODOS VALLAN APARTIR DE HOY
3/11/24, 9:44 AM - +1 (956) 609-0308: EN CALIDAD DE URGENCIA
3/11/24, 9:44 AM - +1 (956) 715-4571: Hoy
3/11/24, 9:44 AM - +1 (956) 715-4571: A qué hora?
3/11/24, 9:44 AM - +1 (956) 609-0308: APARTIR de hoy
3/11/24, 9:44 AM - +1 (956) 609-0308: Urgencia
3/11/24, 9:45 AM - +1 (956) 715-4571: Sobres chavos URGE...
3/11/24, 9:45 AM - +1 (956) 609-0308: Si quieren hablen
3/11/24, 9:45 AM - +1 (956) 609-0308: Pero urgentemente
3/11/24, 9:45 AM - +1 (956) 609-0308: Porfavor pasen la voy
3/11/24, 9:45 AM - +1 (956) 609-0308: Voz
3/11/24, 9:45 AM - +1 (956) 715-4571: Los que trabajan agan lo posible... pidan
permiso Paque vea VALDE que estamos pendiente..
3/11/24, 9:45 AM - +1 (956) 609-0308: Si
3/11/24, 9:46 AM - +1 (956) 609-0308: APARTIR de hoy vallan
3/11/24, 9:46 AM - +1 (956) 715-4571: Ojalá sean buenas noticias..
3/11/24, 9:46 AM - +1 (956) 609-0308: Es urgente 🚨
3/11/24, 9:46 AM - +1 (956) 609-0308: 🚨🚨🚨🚨🚨🚨🚨🚨🚨
3/11/24, 9:47 AM - +1 (956) 715-4571: Grupal o 1 por 1 o cómo está el show..
3/11/24, 9:47 AM - +1 (956) 715-4571: O tiene noticas para cada uno individual
3/11/24, 9:52 AM - +1 (956) 609-0308: Puedes en grupo
3/11/24, 9:52 AM - +1 (956) 609-0308: Si quieren
3/11/24, 9:52 AM - +1 (956) 609-0308: Pero que pasen APARTIR de hoy
3/11/24, 9:52 AM - +1 (956) 609-0308: 🚨🚨🚨🚨🚨🚨🚨
3/11/24, 9:58 AM - +1 (956) 510-9964: *TIENEN QUE IR HOY ANTES DE LAS 12 A CONTESTAR
UNAS PREGUNTAS*
3/11/24, 9:58 AM - +1 (956) 510-9964: *PORQUE DESPUES DE LA 1 SE VA A OCUPAR*
3/11/24, 10:09 AM - +1 (956) 313-8224: STK-20240227-WA0043.webp (file attached)
3/11/24, 10:18 AM - +1 (956) 356-0451: 👍
3/31/24, 9:29 PM - .olga Perez: VID-20240331-WA0013.mp4 (file attached)
3/31/24, 9:30 PM - +1 (956) 715-4571: Este mes es nuestro mes.. sino vamos para
LARGO 2 años más
3/31/24, 9:31 PM - .olga Perez: Asi es.
4/2/24, 9:35 PM - +1 (956) 313-8224: IMG-20240402-WA0007.jpg (file attached)
4/2/24, 9:35 PM - +1 (956) 313-8224: IMG-20240402-WA0008.jpg (file attached)
4/2/24, 9:44 PM - +1 (956) 356-0451: Amén
4/2/24, 9:45 PM - +1 (956) 510-9964:
4/2/24, 9:45 PM - +1 (956) 510-5974: 🙏🙏
4/2/24, 9:51 PM - +1 (956) 438-6958: Mucha valde anda buscando a María cruz medina
para que firme
4/3/24, 8:18 AM - +1 (956) 510-9964: Quien es?
4/3/24, 8:18 AM - +1 (956) 510-9964: Qe se reporte
4/11/24, 9:52 AM - Ofelia: Buenos días k mañana se presenten para una junta estas
son las personas k tienen k presentarse
4/11/24, 9:53 AM - Ofelia: Héctor Gonzales Armando Jorge Marmoleon Jessy Pérez
Ricardo Esquivel Rafael Zanches
4/11/24, 9:54 AM - Ofelia: Alas 9,45 en la oficina de Richar Alanís
4/11/24, 9:57 AM - Ofelia: Si no pueden ir ablenle a valde porfavor
4/11/24, 9:59 AM - +1 (956) 715-4571: Ok
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4/11/24, 10:06 AM - Hector Manager:
4/11/24, 10:06 AM - Hector Manager: Ahi estaremos
4/11/24, 10:08 AM - +1 (956) 438-2231: 👍
4/11/24, 4:29 PM - +1 (956) 356-0451: 👍
4/11/24, 4:52 PM - +1 (956) 510-5974: Hola van a ir por partes o nada Mas unos
cuanto
4/12/24, 8:24 AM - +1 (956) 356-0451: Buenos días esperemos que hoy sea un gran día
para todos primero Dios y a darle
4/12/24, 8:25 AM - +1 (956) 510-5974: Buen dia a todos 🙏🙏
4/16/24, 9:55 AM - Rosendo: Buen dia, me dijo el sen̈or balde que vallan a llenar un
cuestionario los q falten y a firmar otro documento q falta, esta semana, gracias.
4/16/24, 11:06 AM - +1 (956) 356-0451: Rosendo no te dijo como le fue ayer en la
reunión que tuvo
4/16/24, 1:08 PM - Rosendo: Dijo q iban a tener junta los abogados hoy en houston.
4/16/24, 1:29 PM - +1 (956) 356-0451: Ok
4/17/24, 11:30 AM - +1 (956) 252-9033: IMG-20240417-WA0021.jpg (file attached)
Buenas tardes dice Valde que se presenten a firmar estos son los nombres de las
personas que faltan
4/17/24, 11:30 AM - +1 (956) 252-9033: Que sea hoy o más tardar mañana porque
necesita entregar los papeles para el viernes
4/17/24, 11:57 AM - Rosendo: Gracias
4/17/24, 11:58 AM - +1 (956) 313-8224:
4/17/24, 12:44 PM - +1 (956) 510-5974: Ok gracias hoy boy
4/18/24, 3:09 PM - Lourdes: Ya fui a firmar ✍
4/23/24, 10:23 AM - +1 (956) 313-8224: Buenos Dias. acabo de hablar con Valde dijo
que los de Delias ya le dijeron que no quieren arreglar nada que se iran a corte
hasta el 2025 y que hay muchas personas que no deben estar en la demanda.
4/23/24, 10:51 AM - +1 (956) 715-4571: Puff hora si vamos para largo
4/23/24, 10:54 AM - +1 (956) 438-6958: A mí me dijo lo mismo que lo que ellos
quieren es sacar gente y entre menos quedan mejor es según ellos
4/23/24, 10:57 AM - .olga Perez: Upposssss
4/23/24, 11:12 AM - +1 (956) 313-8224: solo se quedaran en la demanda los que nunca
les pagaron overtime!!   ♂
4/23/24, 11:12 AM - +1 (956) 313-8224: osea que a la mayoria ya nos cargo el 🤡🤡
4/23/24, 11:13 AM - +1 (956) 715-4571: Mmm algo anda raro hay..
4/23/24, 11:15 AM - +1 (956) 510-5974: Buenos dias pues hay k aser una reunion para
k Valdesm nos explique k esta pasando porque nos dise una cosa y al otro dia ya
cambio de opinion y no es asi
4/23/24, 11:21 AM - .olga Perez: Claro. Pues.     La reunión quien la organiza
peroooo. Que todos vallamos. Sin falta todos. Todossssss
4/23/24, 11:25 AM - +1 (956) 609-0308: This message was deleted
4/23/24, 11:27 AM - .olga Perez: Pero que estén los tres abogados. Richard y
Douglas y Valde
4/23/24, 11:28 AM - +1 (956) 438-6958: Pues si
4/23/24, 11:28 AM - +1 (956) 438-6958: Así deve de ser
4/23/24, 11:32 AM - Hector Manager: Alguien ha consultado algun otro abogado? Antes
o durante la demanda? Pregunto esto porque queremos saber si en realidad hay caso o
solo nos han estado jugando el dedo
4/23/24, 11:33 AM - Hector Manager: Porque empezamos que el caso seria por el.dinero
que nos quitaban del IRS y ahora andamos por horas no pagadas, cada uno de nosotros
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sabemos si nos pagaban todo o no
4/23/24, 11:35 AM - Hector Manager: Tal ves Valde lleve bien el caso pero le esta
faltando das un informacion coherente y grupal no me parece que sea a cuenta gotas y
eso causa que cambie la version porque ya no sabe a quien le dice o no
4/23/24, 11:41 AM - +1 (775) 507-1717: Eso no es gusto nosotros peleamos la
discrimination no horas de overtime.
4/23/24, 12:21 PM - +1 (956) 313-8224: debemos ir cuanto antes mejor!!
4/23/24, 12:23 PM - +1 (956) 715-4571: Sii la demanda era del # social que nos
tuvieron quitando dinero por años y DISCRIMINACIÓN en ningún momento hablamos de
OVERTIME
4/23/24, 12:24 PM - +1 (956) 715-4571: se salieron muy feo del tema..
4/23/24, 12:24 PM - +1 (956) 609-0308: Todo lo que dise valde se metió ala demanda y
está bien
4/23/24, 12:28 PM - +1 (956) 510-5974: Pues opinen cuandlo puede reunirse yo puedo
despues de las 4    pero k sea ya
4/23/24, 12:28 PM - +1 (956) 438-6958: Yo le dije eso a el pero quién está peleando
overtime y el dijo que era por qué antes no les pagaban con papeles y que según la
ley de Texas cualquier empresa te puede despedir a la hora que quiera eso me dijo
que en for work podíamos preguntar
4/23/24, 12:29 PM - +1 (956) 438-6958: Entonces le dije que quiere decir que ellos
nos pueden sacar fácil mente de la demanda a la hora que quieran por eso no quieren
negociar
4/23/24, 1:03 PM - +1 (956) 313-8224: si puden marquenle a valde aver si les dise la
misma version a todos o la cambia!!
4/23/24, 3:10 PM - +1 (956) 510-9964: Voi a hablar con Valde creo q es justo qe nos
den una explicación
4/23/24, 3:10 PM - +1 (956) 510-9964: Clara a todos
4/23/24, 3:11 PM - +1 (956) 510-9964: Para una junta
4/23/24, 3:11 PM - +1 (956) 356-0451: Después de las 4
4/23/24, 3:14 PM - +1 (956) 510-9964: Ok
4/23/24, 3:17 PM - +1 (956) 715-4571: Ok hay que hacer la junta antes que termine el
mes.. para así poder hacer todas las preguntas y dudas que tengamos.. que NADIEN
falte es de suma importancia que vea que el grupo esta UNIDO..
4/23/24, 3:18 PM - +1 (775) 507-1717: Esta muy Bien que la tengamos.
4/30/24, 9:36 AM - +1 (956) 356-0451: Entonces en qué quedo
4/30/24, 9:42 AM - +1 (956) 438-6958: En qué ya no hay nada
4/30/24, 9:49 AM - +1 (956) 658-0513: Ya no hay caso?
O que pasó?
4/30/24, 9:53 AM - Hector Manager: Acabo de hablar con el y dice que todo sigue
igual que lo unico que paso es que los abogados de Delias no quisieron las
deposiciones, y que como el 25 se van a juntar con el juez, pero que no se sale
nadie ni hay cambios
4/30/24, 10:09 AM - +1 (956) 438-6958: Que bueno porque a mí me dijo que si Delias
queria nos podía sacar de la demanda porque en Texas hay una ley que te pueden
despedir a la hora que quieran eso me dijo a y a don armando
4/30/24, 10:26 AM - Hector Manager: Si te pueden despedir sin razon en texas, pero
lo que no puedem hacer es intimidarte de que sino te vas los del ielo van a venir a
verte y ademas dijo Valde que esta lo del.dinero que quitaban de las taxas
4/30/24, 10:27 AM - +1 (956) 438-6958: Ojalá Dios quiera
4/30/24, 10:39 AM - +1 (956) 715-4571: Animo rraza esto sigue VIVO..
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asta el FINAL... no se desanimen
4/30/24, 11:08 AM - +1 (956) 313-8224: IMG-20240430-WA0006.jpg (file attached)
4/30/24, 2:27 PM - +1 (956) 510-5974: Asi es🙏🙏
4/30/24, 7:52 PM - +1 (956) 438-6958:
https://www.facebook.com/share/v/xrHW3y8MG7vByDHG/?mibextid=3mVcO6
5/1/24, 1:16 PM - .olga Perez: Hola    Al. Grupo dijo Valde
Que hay. Dos personas que necesitan. Firmar, quieee que vallan ahora,
María Cruz y Armando Morales llanos urge,
5/1/24, 2:02 PM - Lourdes: Para aclarar los nombre de las personas que faltan de
firmar es María Medina y Armando Morales, gracias
5/1/24, 2:37 PM - +1 (956) 313-8224: Listo ya firme
5/4/24, 10:30 AM - +1 (956) 356-0451: A esperar nomás
5/6/24, 11:39 AM - .olga Perez: Good morning    Grupo
Se requiere, la presencia de Rosendo L , Luis, Z       Jorge V, Juana C, Hector G
, Armando.   En la Oficina , Con Valde,    Llamar. Para informarse, gracias.
5/6/24, 11:39 AM - Hector Manager:
5/6/24, 11:40 AM - +1 (956) 313-8224: STK-20230719-WA0003.webp (file attached)
5/6/24, 11:49 AM - Rosendo: Gracias
5/6/24, 12:08 PM - Hector Manager: Quien es Jorge V?
5/6/24, 12:10 PM - +1 (956) 356-0451: Será Jorge Mouleon
5/6/24, 12:10 PM - +1 (956) 356-0451: Todavía faltan más ?
5/6/24, 12:12 PM - +1 (956) 356-0451: Y ahora de que tratará
5/19/24, 11:56 AM - .olga Perez: Hola. A todos del. Grupo
Buen dia ,
5/19/24, 5:35 PM - +1 (775) 507-1717: Hola hola buenos dias a todos.
5/19/24, 8:21 PM - .olga Perez: Esta semana , al parecer tenemos, que firmar unas
hojas,   No sé si ya les ayan dicho? Para Mayor información,
Comuníquense. Con Sr Valde
5/19/24, 8:31 PM - +1 (775) 507-1717: Gracias por la informacion.
5/19/24, 8:37 PM - +1 (956) 377-6769: A mi me dijo que nos iba hacer una junta a
todos para decirnos cómo iba el caso
5/19/24, 8:40 PM - +1 (956) 377-6769 updated the message timer. New messages will
disappear from this chat 90 days after they're sent, except when kept.
5/19/24, 8:40 PM - +1 (956) 377-6769 turned off disappearing messages.
5/19/24, 9:48 PM - .olga Perez: Ok al pareser debemos ir antes del miércoles a
firmar
El papeleo
5/22/24, 1:22 PM - .olga Perez: Hola. Grupo , buen dia
Pide Valde que los que faltemos de firmar favor de presentarse lo más pronto
posible, pues tienen que
Entregar el papeleo,
Recuerden, que el proceso es tardado, pero, habrá resultados ,
5/22/24, 1:23 PM - .olga Perez: Mañana tiene que entregar las hojas 📄
5/22/24, 1:24 PM - .olga Perez: Los que vean el    Msj. Compartan con los que
platiquen a ver si ya fueron
5/22/24, 1:35 PM - Rosendo: Yo ya fui.
5/22/24, 1:37 PM - +1 (956) 510-5974: Yo puedo mañana temprano oh hoy despues de la
5
5/22/24, 7:11 PM - +1 (956) 356-0451: Yo ya fui
5/22/24, 7:13 PM - +1 (956) 715-4571: Yo nooo 🫢
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5/22/24, 7:14 PM - +1 (956) 715-4571: Ya firme como 6 veses ya no c nique ando
firmando
5/22/24, 7:15 PM - +1 (956) 510-5974: Ya se ahora k paperles vamos a firmar
5/22/24, 7:15 PM - +1 (956) 715-4571: Yo loque quiero firmar es el CHEKE 😂...
5/22/24, 7:16 PM - +1 (956) 715-4571: This message was deleted
5/23/24, 2:05 AM - .olga Perez: Jajajajajjaja. Si. Pero. Pues. Así son estas cosas
, y sabemos , que tarde o temprano, tendremos la recompensa, y aún lo que falta,
pues son peticiones de parte de Delias Tamales, sabemos. Que no es fácil, pero
cuando ganemos!!!!! No diremos nada pero abra señales,
No Compañeros No perdamos la fe vamos avanzados, pero nadie se rinde fácil.
Y ellos la están aciendo cansada. Para que nos fastidiemos, pero No,
5/28/24, 12:14 PM - .olga Perez: Buenos días, grupo
Sr. Valde dise que le faltan cuatro personas por firmar para que pueda. Entregar
 los papeles es Urgente se presenten gracias
5/28/24, 12:15 PM - .olga Perez: This message was deleted
5/28/24, 12:23 PM - .olga Perez: Mauricio,Jorge,Luis,Héctor ,Elías,Armando,Lazaro,
5/28/24, 12:24 PM - Hector Manager: Olga disculpa y como sabes de eso, el abogado te
habla o tu hablas con el?
5/28/24, 12:24 PM - Hector Manager: Aclaracion es Hector Sanchez
5/28/24, 12:27 PM - .olga Perez: Ho. No angelica , pero dise k no le sirve su cel,
entonces me dijo que dijo Valde les diga a sus compañeros
5/28/24, 12:28 PM - .olga Perez: Pero bueno , yo cada que les digo algo, también
les digo que se comuniquen, con Valde para saber Mayor información. <This message
was edited>
5/28/24, 12:29 PM - Hector Manager: Te pregunto porque nonse si el abogado les ha
hablado directamente para hacerles saber lo que necesita
5/28/24, 12:29 PM - Hector Manager: Yo siempre termino enterandome por alguien mas y
no por el
5/28/24, 12:30 PM - .olga Perez: Mira. Aki no me , llama
5/28/24, 12:32 PM - .olga Perez: Ami. Me disen pon esto por favor. Y lo pongo, pero
si ay algún problema, me disen y ya no pongo nada, jajajajaja
Yo también me entero por qué me avisan, de echo yo firme la semana pasada,
5/28/24, 12:32 PM - Hector Manager: Nombre no te estoy preguntando por eso
5/28/24, 12:33 PM - .olga Perez: Y bueno. Este. Chat. Se cero. Para infórmanos
cualkier cosa al igual si saben algo, lo pueden poner
5/28/24, 12:46 PM - Rosendo: Ya le avise a lazaro, porq el no esta en el chat.
5/29/24, 3:09 PM - +1 (956) 715-4571: Chavos ya me tope con Valde
5/29/24, 3:09 PM - +1 (956) 715-4571: Y firme el documento
5/29/24, 3:10 PM - +1 (956) 715-4571: Al parecer solo falta lazaro
5/29/24, 3:15 PM - +1 (956) 313-8224: no te menciono como va el caso?
5/29/24, 3:31 PM - +1 (956) 715-4571: Me comentó que en julio tienen una junta en
personal con la señora Delia y sus abogados
5/29/24, 3:31 PM - +1 (956) 715-4571: Y 5 personas d nosotros..
5/29/24, 3:32 PM - +1 (956) 715-4571: Nose quien sean pero ellos escogieron a 5
personas y Valde escojio a 5.. delias Sofia's Lorena Alberto Lorena...
5/29/24, 3:33 PM - +1 (956) 715-4571: Así esta el show... vamos para largo... años
5/29/24, 3:34 PM - +1 (956) 438-6958: Ok pero si van a sentarse hablar porque dise
que vamos para largo
5/29/24, 3:34 PM - +1 (956) 438-6958: Con que motivo dise valde van hablar ellos
5/29/24, 3:35 PM - +1 (956) 715-4571: La verdad no se, que rollo solo así me
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dijo... mejor pregúntenle es que no le entendí bien 😄
5/29/24, 3:35 PM - +1 (956) 715-4571: No les quiero dar inf incorrecta
5/29/24, 3:36 PM - +1 (956) 715-4571: Yo solo firme..
5/29/24, 3:40 PM - +1 (956) 609-0308: Ami me dijo que para el 20 de junio era lo
último
5/29/24, 3:40 PM - +1 (956) 715-4571: Aaa Entonses es Junio
5/29/24, 3:41 PM - +1 (956) 715-4571: Sii algo así que es la última chance d
areglar...
5/29/24, 3:41 PM - +1 (956) 313-8224: Dios quiera
5/29/24, 3:41 PM - Adan: Yo firme ayer el 2o de junio
5/29/24, 3:42 PM - Rosendo: Ya le llame, dijo saliendo del trabajo va con valde.
5/29/24, 3:43 PM - +1 (956) 715-4571: Toda vía hay una última chance de que esto se
arregle en este mes que viene.. 👍
5/29/24, 3:44 PM - +1 (956) 313-8224: ya aunquesea que nos den para las caguamas!!!
😬😬😅😅
5/29/24, 3:45 PM - +1 (956) 715-4571: 😄
6/16/24, 4:24 PM - .olga Perez: Hola grupo feliz día. Del padre para todos. Los
barones de este , chat
6/16/24, 4:25 PM - .olga Perez: Que tengan , excelente celebration happy fader’s
day
6/16/24, 4:25 PM - .olga Perez: VID-20240616-WA0013.mp4 (file attached)
6/16/24, 5:21 PM - +1 (956) 609-0308: ALGUIEN SABE CUANDO ES LA AUDIENCIA DE ESTE
MES DE JUNIO
6/16/24, 5:39 PM - +1 (956) 510-9964: 28
6/16/24, 5:54 PM - +1 (956) 609-0308: Gracias Gaby
6/16/24, 5:57 PM - +1 (956) 313-8224: el 26
6/16/24, 5:57 PM - +1 (956) 313-8224: Muchas gracias 😎🍻
6/17/24, 1:55 PM - .olga Perez: Hola. Buen, día .
Mando, Valde para compartirlo ,con ustedes, atención!!!! Jejejeje,
Lista para, para los que tienen que ir ala entrevista , el día Viernes, alas 2:00 de
la tarde, que serán,
Migue,l C. .Luis Z. Elías, G. Carlos,M.Armando,LL. Olga, P. Osea , Yo .
Y que por favor le llamen o manden su número de teléfono , para mayor información.
Directamente, llamarle a él, Gracias <This message was edited>
6/17/24, 2:00 PM - .olga Perez: Corran la voz. Por favor
6/17/24, 2:00 PM - +1 (956) 356-0451: This message was deleted
6/17/24, 2:01 PM - .olga Perez: El día. Viernes 2:00 🕑 pm
6/17/24, 2:01 PM - +1 (956) 356-0451: Ya lo ví gracias perdon
6/17/24, 2:05 PM - +1 (956) 356-0451: Para los que les tocó ir no se vayan a dejar
intimidar ni ceder en nada firmes en todo y si se llega a un arregló mejor es la
última oportunidad que tenemos en arreglar y si no es mejor irnos a juicio por qué
ésto de estar llendo a cada rato es un gorrito y es mejor si ganamos o perdemos
6/17/24, 2:05 PM - +1 (956) 356-0451: En mi opinión gracias
6/18/24, 7:15 AM - Hector Manager added Lazaro
6/21/24, 8:16 AM - +1 (956) 609-0308: Buenos días hoy es el día
6/21/24, 9:12 AM - +1 (956) 356-0451: Buenos días y si hoy es el día los que les
tocó ir échenle coco ni más ni menos lo justo y si no que sea lo que Dios quiera
Animó
6/21/24, 9:14 AM - +1 (956) 510-5974: Buenos dias 🙏🙏
6/21/24, 10:19 AM - +1 (956) 438-6958: Hoy es el día de que no entendí porque según
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asta la otra semana es la junta con los abogados de Delias, o ya hay que ir por el
cheque ?? No entendí
6/21/24, 10:20 AM - Hector Manager: Segun tengo entendido hoy los van a preparar
para la entrevista del miercoles que va ser la junta con los anogados del Delias
6/21/24, 10:23 AM - +1 (956) 609-0308: Solo es para una entrevista para asesorarlos
que van a decir
6/21/24, 10:23 AM - +1 (956) 609-0308: La buena es el 28
6/21/24, 10:23 AM - +1 (956) 609-0308: Otro viernes es
6/21/24, 10:49 AM - +1 (956) 356-0451: Pos hasta el otro viernes
6/21/24, 10:49 AM - +1 (956) 313-8224: va ser el miercoles!!
6/21/24, 10:50 AM - +1 (956) 438-6958: Miércoles dijieron
6/21/24, 11:37 AM - +1 (956) 609-0308: Que el 28
6/21/24, 12:03 PM - +1 (956) 356-0451: Pos el miércoles si ya nos esperamos un año
que más da unos días
